      Case 1:17-bk-12408-MB            Doc 438 Filed 02/09/18 Entered 02/09/18 13:18:51         Desc
                                       Main Document     Page 1 of 111


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12
12                                UNITED STATES BANKRUPTCY COURT
                                   CENTRAL DISTRICT OF CALIFORNIA
13
13                                  SAN FERNANDO VALLEY DIVISION

14
14    In re:                                                  Lead Case No.: 1:17-bk-12408-MB
                                                              Jointly administered with:
15
15    ICPW Liquidation Corporation, a California              1:17-bk-12409-MB
      corporation1,                                           Chapter 11 Cases
16
16
               Debtor and Debtor in Possession.               DEBTORS’ AND OFFICIAL COMMITTEE
17
17    ____________________________________                    OF EQUITY SECURITY HOLDERS’
      In re:                                                  JOINT PLAN OF LIQUIDATION DATED
18
18                                                            FEBRUARY 9, 2018
      ICPW Liquidation Corporation, a Nevada
19
19    corporation2,
20                                                            Plan Confirmation Hearing:
20
               Debtor and Debtor in Possession.               Date:    February 12, 2018
21
21    ____________________________________                    Time:    1:30 p.m.
                                                              Place:   Courtroom “303”
22
22         Affects both Debtors                                       21041 Burbank Blvd.
                                                                      Woodland Hills, CA
23
23      Affects ICPW Liquidation Corporation, a
      California corporation only
24
24
         Affects ICPW Liquidation Corporation, a Nevada
25
25    corporation only

26
26
      1
27
27        Formerly known as Ironclad Performance Wear Corporation, a California corporation.
      2
          Formerly known as Ironclad Performance Wear Corporation, a Nevada corporation.
28
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     Case 1:17-bk-12408-MB                Doc 438 Filed 02/09/18 Entered 02/09/18 13:18:51                                               Desc
                                          Main Document     Page 2 of 111


 1                                                   TABLE OF CONTENTS

 2
      I.    INTRODUCTION ................................................................................................................ 2
 3
            A.        Disclaimer................................................................................................................ 4
 4

 5          B.        Purpose of this Plan ................................................................................................. 5

 6          C.        Deadlines for Objecting to this Plan; Date of Plan Confirmation Hearing. ............ 6

 7                    1.         Time and Place of the Plan Confirmation Hearing. ..................................... 6

 8                    2.         Deadline for Objecting to the Confirmation of this Plan. ............................ 6
 9          D.        Identity of Persons to Contact for More Information Regarding this Plan. ............ 6
10    II.   BACKGROUND .................................................................................................................. 7
11          A.        Description and History of the Debtors’ Business and the Debtors’ Sale
12                    Process which Led to the Filing of the Debtors’ Chapter 11 Cases. ....................... 7

13          B.        Events Leading To The Filing Of The Debtors’ Chapter 11 Bankruptcies
                      And The Debtors’ Chapter 11 Goals. ...................................................................... 9
14
            C.        The Asset Sale Process. ......................................................................................... 12
15
            D.        The Radians APA. ................................................................................................. 13
16
            E.        The Final DIP and Cash Collateral Order. ............................................................ 14
17
            F.        The Auction and the Sale Closing. ........................................................................ 16
18

19          G.        Significant Events Which Have Occurred During the Bankruptcy Cases. ........... 21

20                    1.         Formation of the Official Committee of Unsecured Creditors (the
                                 “OCUC”). ................................................................................................... 21
21
                      2.         Formation of the Official Committee of Equity Security Holders (the
22                               “OCEH”). ................................................................................................... 21
23                    3.         Operational Issues. ..................................................................................... 22
24                    4.         Administrative Matters. .............................................................................. 24
25
                      5.         Employment of Professionals. .................................................................... 25
26
                      6.         Executory Contracts and Unexpired Leases. .............................................. 26
27
                      7.         The OCEH’s Objection to the Radians’ Claims and Lawsuit Against
28                               Radians. ...................................................................................................... 26

                                                                        i
     Case 1:17-bk-12408-MB                  Doc 438 Filed 02/09/18 Entered 02/09/18 13:18:51                                                Desc
                                            Main Document     Page 3 of 111


 1    III.   CLAIMS SUMMARY ....................................................................................................... 27
 2           A.         Secured Claims. ..................................................................................................... 27
 3           B.         Administrative Claims. .......................................................................................... 27
 4
             C.         Pre-Petition Priority Wage Claims. ....................................................................... 28
 5
             D.         Pre-Petition Priority Tax Claims. .......................................................................... 29
 6
             E.         General Unsecured Claims. ................................................................................... 29
 7
      IV.    CLASSIFICATION AND TREATMENT OF CLAIMS AND INTERESTS ................... 33
 8
             A.         What Creditors and Shareholders Will Receive Under this Plan. ......................... 33
 9
             B.         Unclassified Claims. .............................................................................................. 33
10
                        1.         Administrative Expenses. ........................................................................... 33
11
                        2.         Priority Tax Claims. ................................................................................... 36
12

13           C.         Classified Claims and Interests. ............................................................................ 37

14                      1.         Class of Secured Claims – Class 3. ............................................................ 37

15                      2.         Class of Priority Unsecured Claims – Class 4. ........................................... 38

16                      3.         Class of General Unsecured Claims – Class 1. .......................................... 39
17                      4.         Class of Shareholders – Class 2.................................................................. 40
18    V.     MEANS OF EFFECTUATING THIS PLAN AND IMPLEMENTATION OF THIS
             PLAN .................................................................................................................................. 45
19

20           A.         Funding for this Plan. ............................................................................................ 45

21           B.         Effective Date Resignation of the Management and Board of Directors of
                        the Debtors............................................................................................................. 46
22
             C.         Dissolution of the OCUC. ..................................................................................... 46
23
             D.         Dissolution of the OCEH....................................................................................... 46
24
             E.         Dissolution of the Debtors. .................................................................................... 46
25
             F.         Creation of the Trust.............................................................................................. 47
26

27           G.         Appointment of Disbursing Agent. ....................................................................... 47

28           H.         Exemption from Transfer Taxes. ........................................................................... 50


                                                                           ii
     Case 1:17-bk-12408-MB                  Doc 438 Filed 02/09/18 Entered 02/09/18 13:18:51                                                  Desc
                                            Main Document     Page 4 of 111


 1            I.        Executory Contracts and Unexpired Leases. ......................................................... 51
 2            J.        Changes in Rates Subject to Regulatory Commission Approval. ......................... 51
 3            K.        Administrative Claims Bar Date. .......................................................................... 51
 4
              L.        Assignment of all Causes of Action, Including Avoidance Actions, to the
 5                      Trust. ...................................................................................................................... 52

 6            M.        Objections to Claims. ............................................................................................ 54

 7    VI.     THE TRUST ....................................................................................................................... 55

 8            A.        Transfer of Property to the Trust. .......................................................................... 55
 9            B.        The Trust Agreement. ............................................................................................ 57
10            C.        Funding of the Trust. ............................................................................................. 57
11
              D.        Management of the Liquidating Debtor by the Trustee and Primary
12                      Functions of the Trust............................................................................................ 57

13            E.        Operations of the Trust. ......................................................................................... 58

14            F.        Limitation of Liability of the Trustee and the Trust Board. .................................. 60

15            G.        Compensation for the Trustee and the Trust Board Members after the
                        Effective Date. ....................................................................................................... 61
16
              H.        Employment of Professionals By the Trustee and Payment of
17
                        Professional Fees and Expenses By the Trustee Incurred after the
18                      Effective Date. ....................................................................................................... 61

19    VII.    PAYMENTS AND DISTRIBUTIONS IN GENERAL ..................................................... 62

20            A.        Distribution Procedures & Reserve Provisions. .................................................... 62

21            B.        Delivery of Payments. ........................................................................................... 62
22            C.        Rounding. .............................................................................................................. 63
23            D.        Unclaimed Property. .............................................................................................. 63
24    VIII.   TAX CONSEQUENCES OF THIS PLAN ........................................................................ 63
25
      IX.     CONFIRMATION REQUIREMENTS AND PROCEDURES ......................................... 64
26
              A.        Who May Vote to Accept/Reject this Plan............................................................ 65
27
              B.        What Is an Allowed Claim/Interest. ...................................................................... 65
28

                                                                           iii
     Case 1:17-bk-12408-MB                 Doc 438 Filed 02/09/18 Entered 02/09/18 13:18:51                                                 Desc
                                           Main Document     Page 5 of 111


 1           C.        What Is an Impaired Claim/Interest. ..................................................................... 65
 2           D.        Who Is Not Entitled to Vote. ................................................................................. 66
 3           E.        Treatment of Non-Accepting Classes. ................................................................... 66
 4
             F.        Request for Confirmation Without Any Voting on this Plan. ............................... 67
 5
             G.        Liquidation Analysis. ............................................................................................ 67
 6
             H.        Feasibility. ............................................................................................................. 69
 7
      X.     RISK FACTORS REGARDING THIS PLAN .................................................................. 70
 8
      XI.    EFFECT OF CONFIRMATION OF THIS PLAN ............................................................ 70
 9
             A.        Retention of Jurisdiction........................................................................................ 70
10
             B.        Discharge. .............................................................................................................. 72
11
             C.        Binding Effect of this Plan. ................................................................................... 72
12

13           D.        Revesting of Property Free and Clear. .................................................................. 72

14           E.        Exculpations and Releases. ................................................................................... 73

15           F.        Injunctions. ............................................................................................................ 74

16           H.        Modification of this Plan. ...................................................................................... 75
17           I.        Post-Confirmation Status Reports. ........................................................................ 75
18           J.        Post-Confirmation Conversion/Dismissal. ............................................................ 75
19           K.        Final Decrees. ........................................................................................................ 76
20
      XII.   MISCELLANEOUS ........................................................................................................... 76
21
             A.        Severability of Plan Provisions. ............................................................................ 76
22
             B.        Governing Law and Headings. .............................................................................. 77
23
             C.        Language Interpretation......................................................................................... 77
24
             D.        Exhibits. ................................................................................................................. 77
25
             E.        Notices. .................................................................................................................. 78
26
             F.        Computation of Time Periods. .............................................................................. 78
27

28           G.        Defects, Omissions and Amendments. .................................................................. 78


                                                                         iv
     Case 1:17-bk-12408-MB          Doc 438 Filed 02/09/18 Entered 02/09/18 13:18:51                                             Desc
                                    Main Document     Page 6 of 111


 1         H.    Filing of Additional Documents. ........................................................................... 79
 2         I.    Successors and Assigns. ........................................................................................ 79
 3         J.    Implementation. ..................................................................................................... 79
 4
           K.    Certain Actions. ..................................................................................................... 79
 5

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     Case 1:17-bk-12408-MB          Doc 438 Filed 02/09/18 Entered 02/09/18 13:18:51                Desc
                                    Main Document     Page 7 of 111


 1                                          I.   INTRODUCTION
 2           ICPW Liquidation Corporation, a California corporation, formerly known as Ironclad

 3    Performance Wear Corporation, a California corporation (“ICPW California”), and ICPW
 4    Liquidation Corporation, a Nevada corporation, formerly known as Ironclad Performance Wear
 5
      Corporation, a Nevada corporation (“ICPW Nevada” and collectively with ICPW California, the
 6
      “Debtors”) are the Debtors in pending chapter 11 bankruptcy cases. The Debtors filed voluntary
 7
      petitions under chapter 11 of 11 U.S.C. §§ 101 et seq. (the “Bankruptcy Code”) on September 8,
 8

 9    2017 (the “Petition Date”).

10           Chapter 11 allows the Debtors, and, under some circumstances, creditors and other parties

11    in interest, to propose a plan of liquidation. This document is the Joint Plan of Liquidation Dated
12    February 9, 2018 (“Plan”) that is being jointly proposed by the Debtors and the Official
13
      Committee of Equity Security Holders (the “OCEH”).              The Debtors and the OCEH are
14
      collectively referred to herein as the “Plan Proponents”.
15
             The effective date of this Plan (the “Effective Date”) will be the first business day which
16

17    is at least fifteen days following the date of entry of the Court order confirming this Plan (the

18    “Plan Confirmation Order”) and the satisfaction or waiver by the Debtors and the OCEH of all of

19    the following conditions to the effectiveness of this Plan: (a) there shall not be any stay in effect
20
      with respect to the Plan Confirmation Order; (b) the Plan Confirmation Order shall not be subject
21
      to any appeal or rehearing; and (c) this Plan and all documents, instruments and agreements to be
22
      executed in connection with this Plan shall have been executed and delivered by all parties to
23
      such documents, instruments and agreements. Following the Effective Date, the Debtors will be
24

25    referred to herein as the “Liquidating Debtor.” If the Court confirms this Plan at the currently

26    scheduled hearing of February 12, 2018 (the “Plan Confirmation Hearing”), the Plan Proponents
27    estimate that the Effective Date will occur on or around February 28, 2018.
28

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     Case 1:17-bk-12408-MB         Doc 438 Filed 02/09/18 Entered 02/09/18 13:18:51                Desc
                                   Main Document     Page 8 of 111


 1           The Plan Proponents believe that this Plan represents the optimal outcome for these
 2    chapter 11 bankruptcy cases (the “Cases”). The Plan Proponents believe that the confirmation of
 3
      this Plan provides the best vehicle for maximizing the distribution to the Shareholders (defined
 4
      below); getting a significant distribution made to the Shareholders on the earliest date possible
 5
      under the circumstances; and getting the Debtors’ remaining creditors (holding not yet allowed
 6

 7    claims) paid in full with post-petition interest in the fastest and most efficient manner possible.

 8    Any pre-petition claims that become allowed prior to Plan confirmation (the “Allowed Claims”)

 9    in these bankruptcy estates (the “Estates”) that are not paid prior to Plan confirmation will be paid
10
      in full on the Effective Date, together with post-petition interest. Any claims that become
11
      Allowed Claims after the Effective Date will be paid in full together with post-petition interest.
12
      Pursuant to § 1124(1) of the Bankruptcy Code, all classes of claims therefore are deemed not to
13
      be impaired under this Plan and are not required to vote on this Plan. As holders of unimpaired
14

15    claims are conclusively presumed to have accepted this Plan, solicitation of acceptances to this

16    Plan from such claim holders is not required, pursuant to § 1126(f) of the Bankruptcy Code.
17           After appropriate reserves have been made for all allowed administrative expenses to be
18
      paid in full, along with any remaining disputed claims and expected post-confirmation litigation
19
      and other expenses (as further explained below), the balance of the funds in the Estates will be
20
      distributed to the record shareholders of ICPW Nevada (the “Shareholders”) in the manner
21

22    described below. The Plan Proponents currently estimate the initial distribution to Shareholders as

23    of the Record Date will be $9,659,669.00 or approximately 11.28 cents per share.

24           A liquidating trust (the “Trust”) is being established under this Plan. On the Effective
25    Date, the Debtors and the trustee of the Trust (the “Trustee”) will enter into a grantor trust
26
      agreement (the “Trust Agreement”) for the benefit of the Shareholders. The Trustee will, among
27
      other things, investigate and, if appropriate, pursue all claims and causes of action that belong to
28

                                                       3
     Case 1:17-bk-12408-MB        Doc 438 Filed 02/09/18 Entered 02/09/18 13:18:51               Desc
                                  Main Document     Page 9 of 111


 1    the Estates and are assigned to the Trust for the benefit of the Shareholders. The Plan Proponents
 2    believe that Shareholders are not impaired under this Plan. Therefore, Shareholders are not
 3
      required to vote on this Plan because they are conclusively presumed to have accepted this Plan,
 4
      and solicitation of acceptances to this Plan from the Shareholders is not required, pursuant to §
 5
      1126(f) of the Bankruptcy Code. Further information about the Trust, the Trustee and the
 6

 7    projected distribution to Shareholders is provided below.

 8    A.     Disclaimer.

 9           THE INFORMATION CONTAINED IN THIS PLAN IS INCLUDED HEREIN FOR
10
      PURPOSES OF DESCRIBING TREATMENT UNDER THIS PLAN. THE INFORMATION
11
      CONTAINED HEREIN MAY NOT BE RELIED UPON FOR ANY PURPOSE OTHER THAN
12
      TO DESCRIBE TREATMENT UNDER AND TERMS OF THIS PLAN. NO PERSON MAY
13
      GIVE ANY INFORMATION OR MAKE ANY REPRESENTATIONS REGARDING THIS
14

15    PLAN, OTHER THAN THE INFORMATION AND REPRESENTATIONS CONTAINED IN

16    THIS PLAN.
17
             ALL CREDITORS, SHAREHOLDERS AND PARTIES IN INTEREST ARE ADVISED
18
      AND ENCOURAGED TO READ THIS PLAN IN ITS ENTIRETY. PLAN SUMMARIES AND
19
      STATEMENTS MADE IN THIS PLAN ARE QUALIFIED IN THEIR ENTIRETY BY
20

21    REFERENCE TO THIS PLAN AND THE EXHIBITS ANNEXED TO THIS PLAN. THE

22    STATEMENTS CONTAINED IN THIS PLAN ARE MADE ONLY AS OF THE DATE
23    HEREOF AND THERE CAN BE NO ASSURANCE THAT THE STATEMENTS
24
      CONTAINED HEREIN SHALL BE CORRECT AT ANY TIME AFTER THE DATE HEREOF.
25
      ANY ESTIMATES OF CLAIMS AND INTERESTS SET FORTH IN THIS PLAN MAY VARY
26
      FROM THE AMOUNTS OF CLAIMS AND INTERESTS ULTIMATELY ALLOWED BY
27

28    THE COURT.


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     Case 1:17-bk-12408-MB         Doc 438 Filed 02/09/18 Entered 02/09/18 13:18:51                Desc
                                   Main Document    Page 10 of 111


 1           THE FINANCIAL DATA RELIED UPON IN FORMULATING THIS PLAN IS BASED
 2    ON THE DEBTORS’ BOOKS AND RECORDS WHICH, UNLESS OTHERWISE
 3
      INDICATED, ARE UNAUDITED.                    THE INFORMATION AND STATEMENTS
 4
      CONTAINED          IN     THIS      PLAN,      INCLUDING,         WITHOUT          LIMITATION,
 5
      INFORMATION ABOUT THE DEBTORS, THEIR FORMER BUSINESS AND THEIR
 6

 7    BANKRUPTCY ESTATES AND ASSETS, HAVE BEEN PROVIDED SOLELY BY THE

 8    DEBTORS, AND SUCH INFORMATION HAS NOT BEEN INDEPENDENTLY

 9    VERIFIED OR AUDITED BY ANY OTHER PARTY.
10
      B.     Purpose of this Plan.
11
             This Plan summarizes what is in this Plan and tells you certain information relating to this
12
      Plan and the process the Court follows in determining whether or not to confirm this Plan.
13
             READ THIS PLAN CAREFULLY IF YOU WANT TO KNOW ABOUT:
14
             (1)     WHAT THE TREATMENT OF YOUR CLAIM IS (i.e., what your claim will
15

16    receive if this Plan is confirmed) AND HOW THIS TREATMENT COMPARES TO

17    WHAT YOUR CLAIM WOULD RECEIVE IN A CHAPTER 7 LIQUIDATION OF THE
18    DEBTORS;
19
             (2)     THE HISTORY OF THE DEBTORS AND SIGNIFICANT EVENTS
20
      DURING THEIR BANKRUPTCY CASES;
21
             (3)     THINGS THE COURT WILL LOOK AT TO DECIDE WHETHER OR
22

23    NOT TO CONFIRM THIS PLAN;

24           (4)     THE EFFECT OF PLAN CONFIRMATION; AND

25           (5)     WHETHER THIS PLAN IS FEASIBLE.
26           This Plan cannot tell you everything about your rights. You should consider consulting
27
      your own lawyer to obtain more specific advice on how this Plan will affect you and what is the
28

                                                       5
     Case 1:17-bk-12408-MB          Doc 438 Filed 02/09/18 Entered 02/09/18 13:18:51               Desc
                                    Main Document    Page 11 of 111


 1    best course of action for you.
 2           Be sure to read this Plan and the Trust (for Shareholders) in their entirety. If there are any
 3
      inconsistencies between this Plan and the Trust, the Trust provisions will govern.
 4
      C.     Deadlines for Objecting to this Plan; Date of Plan Confirmation Hearing.
 5
             THE COURT HAS NOT YET CONFIRMED THIS PLAN. IN OTHER WORDS, THE
 6

 7    TERMS OF THIS PLAN ARE NOT YET BINDING ON ANYONE. HOWEVER, IF THE

 8    COURT LATER CONFIRMS THIS PLAN, THEN THIS PLAN WILL BE BINDING ON ALL

 9    CREDITORS AND SHAREHOLDERS IN THE CASES.
10
             1.      Time and Place of the Plan Confirmation Hearing.
11
             The Plan Confirmation Hearing will take place on February 12, 2018, at 1:30 p.m., before
12
      the Honorable Martin R. Barash, United States Bankruptcy Judge for the Central District of
13
      California, San Fernando Valley Division, in Courtroom 303, located at 21041 Burbank Blvd.,
14

15    Woodland Hills, California.

16           2.      Deadline for Objecting to the Confirmation of this Plan.
17           Objections to the confirmation of this Plan must, by February 5, 2018, be filed with the
18
      Court and served by same day service upon counsel to the Debtors – Ron Bender, Esq. and Krikor
19
      Meshefejian, Esq., Levene, Neale, Bender, Yoo & Brill L.L.P., 10250 Constellation Blvd., Suite
20
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25    D.     Identity of Persons to Contact for More Information Regarding this Plan.
26
             Any interested party desiring further information about this Plan should contact either
27
      counsel to the Debtors – Ron Bender, Esq. or Krikor Meshefejian, Esq., Levene, Neale, Bender,
28

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     Case 1:17-bk-12408-MB        Doc 438 Filed 02/09/18 Entered 02/09/18 13:18:51                Desc
                                  Main Document    Page 12 of 111


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 3
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 4
      Los Angeles, California 90017-5704, fax (213) 623-9924, email: samuel.maizel@dentons.com;
 5
      tania.moyron@dentons.com.
 6

 7                                        II.     BACKGROUND

 8    A.     Description and History of the Debtors’ Business and the Debtors’ Sale Process

 9    which Led to the Filing of the Debtors’ Chapter 11 Cases.
10
             On the Petition Date of September 8, 2017, the Debtors each filed a Voluntary Petition
11
      under chapter 11 of the Bankruptcy Code. Since the Petition Date, the Debtors have operated
12
      their business and managed their affairs as debtors in possession pursuant to §§ 1107 and 1108 of
13
      the Bankruptcy Code. With the Court’s approval, the Debtors’ two chapter 11 Cases are being
14

15    jointly administered. Other than owning all of the shares in the California entity, the Nevada

16    entity had no business.     All operations of the Debtors effectively functioned through the
17    California entity.
18
             Until the recently consummated sale of substantially all of their assets (discussed in detail
19
      below), the Debtors were a leading, technology-focused developer and manufacturer of high-
20
      performance task-specific gloves and apparel for the “industrial athlete” in a variety of end
21
      markets, including construction, manufacturing, oil and gas (“O&G”), automotive, the sporting
22

23    goods, military, police, fire, and first-responder. The Debtors’ business was headquartered in

24    Farmers Branch, Texas. ICPW Nevada is publicly-traded with its common stock quoted on the
25    OTC Markets under the symbol “ICPW”.            As of December 29, 2017, ICPW Nevada had
26
      85,646,354 shares of common stock, par value $0.001 per share, issued and outstanding. As of
27
      August 30, 2017, the Debtors had approximately 41 full time employees, with 9 of these
28

                                                       7
     Case 1:17-bk-12408-MB         Doc 438 Filed 02/09/18 Entered 02/09/18 13:18:51                 Desc
                                   Main Document    Page 13 of 111


 1    employees working overseas. The Debtors effectively terminated all of their employees upon the
 2    closing of the Debtors’ recent sale of its business and nearly all of the Debtors’ former employees
 3
      were hired by the buyer. From the Petition Date through the closing of the sale of the Debtors’
 4
      business, there were five members of the Debtors’ board of directors (the “Board”) (consisting of
 5
      Ben Padnos, David Jacobs, Emmett Murphy, Robert Steckler and Mike DiGregorio). Following
 6

 7    the closing of the sale of the Debtors’ business, three of those members voluntarily resigned from

 8    the Board leaving only Ben Padnos and Mike DiGregorio as currently serving Board members.

 9    L. Geoffrey Greulich (the Debtors’ Chief Executive Officer) and Matthew Pliskin (the Debtors’
10
      Chief Financial Officer) have served as the Debtors’ senior management during the entire
11
      duration of the Cases. See discussion of management changes at 43 and 54, infra.
12
             The Ironclad business was founded in 1998 by Ed Jaeger. Mr. Jaeger was inspired to
13
      build gloves that offered protection and performance without sacrificing one for the other. From
14

15    the beginning, the Debtors built gloves using materials that offered excellent fit to make them an

16    extension of the hand and to make jobs easier for the “industrial athlete”. By 2006, the Debtors

17    offered 35 different task-specific glove types for people wearing gloves as part of their daily jobs.
18
             In 2008, the Debtors launched the KONG (King of Oil ‘N’ Gas) line to address the high
19
      number of hand injuries in the O&G field. By 2010, the KONG line was comprised of 46
20
      different gloves. Additionally, the Debtors expanded their presence in the retail and non-
21
      professional markets with the launch of the EXO brand in June 2015. EXO offered lower cost
22

23    gloves for automotive, DIY, and outdoor sporting applications. The Debtors offered 30 different

24    EXO glove types.
25           The Debtors’ task-specific technical glove products were specially designed for individual
26
      user groups. The Debtors offered over 160 distinct types of gloves for a variety of markets,
27
      including industrial, construction, DIY, carpentry, machining, package handling, plumbing,
28

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     Case 1:17-bk-12408-MB         Doc 438 Filed 02/09/18 Entered 02/09/18 13:18:51             Desc
                                   Main Document    Page 14 of 111


 1    welding, roofing, O&G, mechanics, hunting, and gardening. Products came in a multitude of
 2    colors and catered to the specific demands and requirements of the users based on ease of motion,
 3
      grip, water and chemical resistance, visibility, and protection from abrasions, cuts, flames,
 4
      impacts, temperature, and vibration. Since inception, the Debtors employed an internal research
 5
      and development (“R&D”) department responsible for identifying and creating new products and
 6

 7    applications, and improving and enhancing existing products. The Debtors continually evaluated

 8    new base materials for gloves, and grip was another key area of focus for R&D. The Debtors

 9    often partnered with industry-leading organizations to develop new products. The Debtors had 13
10
      U.S. patents issued and 11 foreign patents, as well as five pending U.S. patent applications and
11
      several pending foreign patent applications. The Debtors also used trademarks to strengthen and
12
      protect their recognizable brand names. The Debtors owned 52 registered U.S. trademarks, 39
13
      registered international trademarks, and 13 and 43 trademarks pending in the U.S. and
14

15    internationally, respectively.

16           The Debtors sold their product through approximately 10,000 outlets for professional

17    tradesmen as well as “Big Box”, hardware, auto parts, and sporting goods retailers. The sales
18
      force was organized by 3 business segments: Industrial, Retail, and International. Glove products
19
      were manufactured by multiple suppliers operating in China, Bangladesh, Cambodia, Vietnam
20
      and Indonesia.
21
      B.     Events Leading To The Filing Of The Debtors’ Chapter 11 Bankruptcies And The
22

23    Debtors’ Chapter 11 Goals.

24           Despite the development and success of the Debtors’ products over the years, the Debtors’
25    revenue and cash flow from operations became insufficient beginning in mid-2013 to support
26
      their business operations as well as their continued growth. There were many reasons for this
27
      including heavy competition, loss of a major international distributor, incomplete and/or
28

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     Case 1:17-bk-12408-MB        Doc 438 Filed 02/09/18 Entered 02/09/18 13:18:51                Desc
                                  Main Document    Page 15 of 111


 1    ineffective expansion and distribution of all of their product lines and development of new
 2    customers, and higher than anticipated administrative production, manufacturing and warehousing
 3
      costs. In addition, it was discovered in early-2017 that under then management, the Debtors had
 4
      failed to provide materially complete and accurate financial statements as required under their
 5
      loan documents to their primary secured lender for the fiscal years ended December 31, 2015 and
 6

 7    2016, and for the fiscal quarters ended March 31, June 30, September 30, 2016 and March 31,

 8    2017. These same financial irregularities were also publicly filed and disclosed through the

 9    Company’s SEC and other public filings. The Plan Proponents understand that an investigation
10
      of the foregoing may now be underway by federal authorities. As a result of this discovery, the
11
      Debtors’ then chief executive officer and other officers voluntarily resigned, and L. Geoffrey
12
      Greulich was employed as the Debtors’ new chief executive officer effective July 6, 2017. Prior
13
      to assuming this position, Mr. Greulich had no prior connection or relationship with the Debtors
14

15    as an insider, equity holder or otherwise. As a Senior Advisor, Operations at Corridor Capital,

16    LLC, where he leads operations through portfolio engagement as well as conducting due

17    diligence, Mr. Greulich was highly qualified to serve as the Debtors’ new chief executive officer,
18
      and, as indicated below, did and is continuing to do an extraordinary job for the Debtors during
19
      their Cases.
20
             The Debtors filed the Cases to consummate a sale of substantially all of their assets
21
      (excluding cash, causes of action and other assets) for the most money possible. Just prior to their
22

23    chapter 11 bankruptcy filings, the Debtors entered into an asset purchase agreement (the “Radians

24    APA”) with the Debtors’ then pre-petition secured creditor, Radians Wareham Holdings, Inc.
25    (“Radians”), for a cash purchase price of $20 million or $15 million, subject to an overbid
26
      process. Radians’ agreement to pay a cash purchase price of either $20 million or $15 million
27
      was dependent upon whether the Debtors would be able to obtain the consent of a key customer to
28

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     Case 1:17-bk-12408-MB        Doc 438 Filed 02/09/18 Entered 02/09/18 13:18:51               Desc
                                  Main Document    Page 16 of 111


 1    extending the term of their contract with the Debtors. The Debtors were able to obtain that
 2    consent prior to the auction, which resulted in the Radians’ purchase price being $20 million.
 3
      Radians had acquired the Debtors’ secured bank debt several months before the Petition Date.
 4
      The Plan Proponents believe that Radians did this with the goal of acquiring the Debtors’ business
 5
      – either consensually or through a hostile manner.
 6

 7           The Debtors’ business was actively marketed for sale for a number of months prior to the

 8    Debtors’ bankruptcy filings by the Debtors’ financial advisor/investment banker – Craig Hallum

 9    Capital Group LLC (“C-H”). Prospective buyers were provided with the opportunity to purchase
10
      assets or equity. While a number of prospective buyers expressed pre-petition interest in possibly
11
      purchasing the Debtors’ assets or stock, the Debtors ran out of time to continue with their pre-
12
      bankruptcy marketing process because (i) the Debtors were out of funds, (ii) the Debtors could
13
      not continue to operate without both access to their own cash receipts as well as receipt of
14

15    additional financing, and (iii) Radians (which as described above was also the Debtors’ secured

16    creditor having purchased the Debtors’ pre-bankruptcy secured bank debt) had exercised its

17    secured creditor rights and was sweeping all of the Debtors’ cash on a daily basis and was no
18
      longer willing to continue to forbear or advance additional needed financing to the Debtors absent
19
      a global resolution with the Debtors which was accomplished with the Radians APA and the DIP
20
      financing agreement the Debtors entered into with Radians (discussed more below).
21
             The purchase offer provided to the Debtors by Radians was determined by the Board to be
22

23    the best offer the Debtors had received by the Petition Date, and Radians was ready to proceed

24    with its purchase and lend the Debtors sufficient funds to enable the Debtors to operate their
25    business through a bankruptcy auction to take place in late October, 2017, with a sale closing to
26
      occur shortly thereafter. Consistent with the Bankruptcy Code, Radians permitted the Debtors to
27
      proceed with a robust post-bankruptcy marketing and overbid process (and corresponding auction
28

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     Case 1:17-bk-12408-MB        Doc 438 Filed 02/09/18 Entered 02/09/18 13:18:51                Desc
                                  Main Document    Page 17 of 111


 1    – defined below as the “Auction”) to insure that the highest and best price was paid for the
 2    Debtors’ assets. Given the breadth of the Debtors’ pre-bankruptcy marketing process and the fact
 3
      that C-H, the Debtors’ pre-bankruptcy investment banker/financial advisor (who was already very
 4
      familiar with the various likely prospective overbidders) would be serving as the Debtors’ post-
 5
      bankruptcy investment banker/financial advisor and leading the overbid sale process, and the fact
 6

 7    that the likely overbidders were already deep into the due diligence process, the Debtors were

 8    confident that providing prospective overbidders with approximately six weeks to decide whether

 9    to participate in the Auction was a sufficient amount of time for the Debtors to achieve the highest
10
      and best price for their assets. Also, and very importantly, if not for the recent closing of the
11
      Debtors’ sale of their assets, the Debtors’ believe that their liquidity needs would have expanded
12
      significantly during the last two months of the year, consistent with the Company’s normal
13
      business cycle. If the Debtors had continued to operate their business through the end of the year
14

15    or significantly beyond October 31, 2017, the Debtors’ borrowing needs likely would have

16    increased significantly. Even if the Debtors were able to obtain the necessary post-petition

17    financing (which was not at all clear), any such additional borrowing (and the costs of such
18
      additional borrowing) would have reduced the ultimate recovery for the Debtors’ Shareholders on
19
      a dollar-for-dollar basis. It was for these reasons that it was very important that the Debtors were
20
      able to implement their proposed sale timeline.
21
      C.     The Asset Sale Process.
22

23           At a continued hearing held on September 25, 2017, the Court granted the Debtors’ bid

24    procedures motion by order entered on September 28, 2017 as Docket Number 71 (the “Bidding
25    Procedures Order”). The Bidding Procedures Order was approved by the Debtors, Radians, the
26
      Official Committee of Unsecured Creditors (the “OCUC”) and the OCEH. Both the OCUC and
27
      the OCEH hired counsel and a financial advisor (although both the Debtors and the OCEH
28

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     Case 1:17-bk-12408-MB        Doc 438 Filed 02/09/18 Entered 02/09/18 13:18:51               Desc
                                  Main Document    Page 18 of 111


 1    opposed the employment of a financial advisor to the OCUC since creditors were being paid in
 2    full). The Bidding Procedures Order explained to prospective overbidders how a prospective
 3
      overbidder became qualified to participate in the Auction and how the Auction would proceed in
 4
      the event that there was one or more qualified overbidders. In addition, C-H had established an
 5
      extensive data room for prospective overbidders to obtain diligence information, and the Debtors’
 6

 7    senior management had made themselves available to meet with prospective overbidders and

 8    provide management presentations.      To assist in the overbid process, the Debtors’ counsel

 9    prepared an asset purchase agreement template for prospective overbidders to use if they wanted,
10
      and delivered that template to C-H to distribute to prospective overbidders.
11
      D.     The Radians APA.
12
             The Radians APA was the result of extensive pre-bankruptcy negotiations and
13
      documentation between the Debtors and Radians. Under the Radians APA, Radians had agreed
14

15    to purchase the vast majority of the Debtors’ assets for the cash purchase price of $20 million or

16    $15 million, depending upon whether the Debtors would be able to obtain the consent of a key
17    customer to extending the term of their contract with the Debtors. As indicated above, the
18
      Debtors were able to obtain that consent prior to the auction, which resulted in the Radians’
19
      purchase price being $20 million. Radians provided the Debtors with a $1 million deposit which
20
      was held in a trust account by the Debtors’ bankruptcy counsel, Levene, Neale, Bender, Yoo &
21

22    Brill L.L.P. (“LNBYB”). At the time of the Debtors’ bankruptcy filings, Radians’ outstanding

23    secured debt was in the amount of approximately $3.5 million. The Debtors borrowed a total of

24    $1.1 million post-petition from Radians in accordance with the terms of the Final DIP Order
25    (defined below). Radians agreed to make a severance payment to each of the Debtors’ employees
26
      who were not offered employment by Radians, other than the Debtors’ officers and any employee
27
      subject to an employee retention agreement, at comparable terms to their then employment with
28

                                                      13
     Case 1:17-bk-12408-MB        Doc 438 Filed 02/09/18 Entered 02/09/18 13:18:51                 Desc
                                  Main Document    Page 19 of 111


 1    the Debtors, with each such severance payment to be consistent with the most generous current
 2    severance policy of Radians for similarly situated employees. Radians was provided with the
 3
      right to designate which of the Debtors’ executory contracts and unexpired leases that it wished to
 4
      assume with the payment of all related cure amounts to be the responsibility of Radians.
 5
      E.     The Final DIP and Cash Collateral Order.
 6

 7           On October 6, 2017, as docket number 87, the Court entered the Final Order: (I)

 8    Authorizing The Debtors To (A) Obtain Postpetition Financing Pursuant To 11 U.S.C. §§ 105,

 9    361, 362 And 364, And (B) Utilize Cash Collateral Pursuant To 11 U.S.C. §§ 361, 362, 363 And
10
      364; (II) Granting Adequate Protection Pursuant To 11 U.S.C. §§ 361, 362, 363 And 364; And
11
      (III) Granting Related Relief (the “Final DIP Order”). The Debtors had obtained interim use of
12
      cash collateral and DIP financing on an emergency basis pending entry of the Final DIP Order
13
      pursuant to an order entered on September 13, 2017 as docket number 31, and then further interim
14

15    use pursuant to a second order entered on September 27, 2017 as docket number 70. The Final

16    DIP Order as well as the preceding interim cash collateral/dip financing orders were critical to the
17    Debtors’ ability to continue to operate their business post-bankruptcy and to have the necessary
18
      funding to do so. An important component to the Final DIP Order negotiated between the OCUC
19
      and the OCEH, on the one hand, and Radians, on the other hand, is the “Challenge Rights of
20
      Official Committee of Unsecured Creditors and the Official Committee of Equity Security
21

22    Holders” (the “Challenge Rights”). Per the terms of the Final DIP Order, the parties agreed that

23    on or before the date that is sixty days from the date of entry of the Final DIP Order (i.e.,

24    December 5, 2017 – the “Lookback Period”), the OCUC and the OCEH have standing
25    individually and on behalf of the Estates to object to, challenge, or seek to avoid the amount,
26
      validity, or enforceability of Radians’ pre-bankruptcy secured debt (or any portion thereof) or any
27
      of the liens and security interests created under the Radians’ pre-bankruptcy secured debt and to
28

                                                      14
     Case 1:17-bk-12408-MB          Doc 438 Filed 02/09/18 Entered 02/09/18 13:18:51                    Desc
                                    Main Document    Page 20 of 111


 1    bring any other claim that they have against Radians, individually or on behalf of the Estates
 2    (separately and collectively, a “Challenge”). If no such action, objection or other Challenge is
 3
      commenced by either the OCUC or the OCEH within the Lookback Period, then the Radians’
 4
      pre-bankruptcy secured debt will be deemed and adjudicated finally and indefeasibly as valid and
 5
      enforceable, the liens and security interests created under the Radians’ pre-bankruptcy secured
 6

 7    debt will be deemed and adjudicated finally and indefeasibly as valid, enforceable and perfected

 8    liens and security interests in that collateral, and any affirmative claim(s) or cause(s) of action of

 9    any kind against Radians with respect to the Radians’ pre-bankruptcy secured debt, or otherwise,
10
      and the liens and security interests securing the Radians’ pre-bankruptcy secured debt, or any
11
      payment received by Radians will be forever barred. As provided in the Final DIP Order, the
12
      Debtors have waived and released, and shall be forever barred from asserting, any right to object
13
      to, challenge or seek to avoid, the amount, validity, or enforceability of the Radians’ pre-
14

15    bankruptcy secured debt or the liens and security interests in the collateral securing the Radians’

16    pre-bankruptcy secured debt. Except as otherwise may have been determined by the Court in the
17    proceedings referenced above, and subject to further order of the Court, in the event any payment
18
      made to, or other amount or value received by Radians from or for the account of any of the
19
      Debtors is avoided, rescinded, set aside or must otherwise be returned or repaid by Radians,
20
      whether in the Cases or any other proceedings, the indebtedness repaid shall be allowed as a claim
21

22    in accordance with existing law. Any of Radians’ claims, liens, rights, and remedies under the

23    Radians loan documents which survive such action shall be reinstated and fully preserved. As

24    explained below, in accordance with the Sale Order, the full amount of the Radians’ secured debt plus
25    the $500,000 breakup fee owing to Radians under the Radians APA has already been paid in full.
26
      Since it is now clear that all Allowed Claims will be paid in full, it is only the Shareholders that would
27
      be affected by any recovery obtained from Radians. As a result, the OCEH has not waived its
28

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     Case 1:17-bk-12408-MB          Doc 438 Filed 02/09/18 Entered 02/09/18 13:18:51                    Desc
                                    Main Document    Page 21 of 111


 1    Challenge Rights and is handling the investigation. See discussion of Challenge at p.26, infra.
 2    F.      The Auction and the Sale Closing.
 3
              Pursuant to the Bidding Procedures Order, the Auction was scheduled to be held before
 4
      the Court on October 30, 2017, at 10:00 a.m. Approximately 20 prospective overbidders signed
 5
      NDA’s and accessed the data room. Many of them spent extensive time in the data room and
 6

 7    with C-H and the Debtors’ management team. The Debtors’ management team provided multiple

 8    management presentations to prospective overbidders. Prior to the Auction, the Debtors filed a

 9    declaration of Steve Rickman of C-H, who is the Managing Director of Investment Banking
10
      Mergers and Acquisitions at C-H and who served as the lead professional at C-H providing
11
      services on this engagement, in which Mr. Rickman declared that he believed that serious
12
      prospective overbidders were well informed as to the overbid opportunity and the impending
13
      Auction process, and that he was not aware of any serious prospective overbidder who did not
14

15    comply with the requirements to be eligible to participate in the Auction because they did not

16    have access to sufficient information or required additional time.
17            In order to become qualified to participate in the Auction, prospective overbidders were
18
      required to do each of the following three things: (1) deliver a $1 million deposit to a segregated
19
      trust account maintained by LNBYB which would be non-refundable if the prospective
20
      overbidder was the winning bidder at the Auction; (2) deliver a redlined version of the Radians
21

22    APA showing the prospective overbidder’s proposed changes to the Radians APA; and (3) be

23    determined to be financially qualified by C-H to fund the transaction without any further

24    financing or due diligence contingency. Two prospective overbidders satisfied all three
25    requirements, consisting of Brighton-Best International, Inc. (“BBI”) and Protective Industrial
26
      Products, Inc. (“PIP”). This sale process was an extremely fluid process as there were a number
27
      of constantly moving parts.
28

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     Case 1:17-bk-12408-MB        Doc 438 Filed 02/09/18 Entered 02/09/18 13:18:51                Desc
                                  Main Document    Page 22 of 111


 1           As a result, between Radians (as the stalking horse bidder) and BBI and PIP (as
 2    prospective overbidders), there were three qualified bidders at the Auction. The Auction was an
 3
      extraordinary success. Through great efforts by Mr. Greulich and LNBYB, the Debtors were able
 4
      to satisfy the condition referenced in the side letter filed under seal which required Radians to
 5
      commence the Auction with an opening bid of $20 million instead of $15 million. Thus, before
 6

 7    any overbid was even submitted, the sale price had already increased by $5 million. After very

 8    robust bidding by BBI and PIP (Radians never submitted any overbid beyond its initial $20

 9    million opening bid), BBI was determined to be the winning bidder at the Auction with a
10
      purchase price of $25,250,000, and PIP consented to be a backup bidder with a backup purchase
11
      price of $25,000,000. The final form of the sale order and the final form of the APA with BBI
12
      were heavily negotiated and agreed to by the Debtors, BBI, the OCUC and the OCEH, and the
13
      Court entered the final form of the sale order on November 3, 2017, as docket number 177 (the
14

15    “Sale Order”), after conducting two follow-up hearings on the Sale Order on November 1, 2017,

16    and then again on November 3, 2017.
17           The sale to BBI closed on November 14, 2017 (the “Sale Closing”). In connection with
18
      the Sale Closing, after taking into account various deposits and pro rations, BBI wire transferred a
19
      Sale Closing payment of $25,328,919, which is in addition to the $1,000,000 deposit that BBI had
20
      provided to the Debtors in advance of the Auction (the “BBI Deposit”) and is inclusive of the
21

22    $820,000 “Supplemental Payment” which, pursuant to the Sale Order, is to be maintained by

23    LNBYB (the “Escrow Agent”) at First Republic Bank in a segregated trust account separate from

24    the balance of the sale proceeds pending further order of the Court. In connection with the Sale
25    Closing, a payment in the amount of $180,000 was made to Grainger to compensate Grainger for
26
      what all of the parties agreed was the minimum amount owing to Grainger. The $820,000
27
      Supplemental Payment from BBI is to provide a source of funding of any further payment that
28

                                                      17
     Case 1:17-bk-12408-MB        Doc 438 Filed 02/09/18 Entered 02/09/18 13:18:51                Desc
                                  Main Document    Page 23 of 111


 1    may be owing to Grainger as a result of the Debtors’ rejection of their two supplier agreements
 2    with the Grainger entities (Grainger Global Sourcing a division of Grainger International, Inc.
 3
      (“GGS”) and W.W. Grainger, Inc. (“Grainger”)). BBI had the opportunity to take an assignment
 4
      of the Debtors’ supplier agreements with GGS and Grainger, but BBI decided that it did not want
 5
      to do so, and the Sale Order provides for the Debtors’ supplier agreements with GGS and
 6

 7    Grainger to be rejected upon further order of the Court (with the Debtors and BBI to work

 8    together in an effort to minimize any rejection damage claim in favor of GGS and Grainger). In

 9    the event that GGS and Grainger end up with allowed rejection damage claims in excess of the
10
      $180,000 that was paid to the Grainger entities in connection with the Sale Closing but not more
11
      than $1 million, the excess will be paid to the Grainger entities out of the $820,000 Supplemental
12
      Payment with any remaining balance to be returned to BBI. In the event that GGS and Grainger
13
      end up with allowed rejection damage claims in excess of $1 million (which the Debtors do not
14

15    believe will be the case), the entire $820,000 Supplemental Payment will be paid to the Grainger

16    entities, and the Debtors will be liable for any amount owing to the Grainger entities in excess of
17    $1 million. The Debtors have filed a motion with the Court to reject the Debtors’ supplier
18
      agreements with GGS and Grainger. Following the entry of an order of the Court granting the
19
      Debtors’ rejection motion, GGS and Grainger will then have thirty days to file any rejection
20
      damage claim they contend they have against the Debtors, with the Debtors, the OCEH and BBI
21

22    all having the standing to file any response to any rejection damage claim asserted by GGS and/or

23    Grainger.

24           After adding in the BBI Deposit and deducting the Supplemental Payment, a total of
25    $25,511,469 of sale proceeds was deposited into the segregated trust account (the “Trust Account”)
26
      maintained by the Escrow Agent.
27

28

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     Case 1:17-bk-12408-MB           Doc 438 Filed 02/09/18 Entered 02/09/18 13:18:51                    Desc
                                     Main Document    Page 24 of 111


 1            In accordance with the Sale Order, all of the following “Designated Cure Amounts” were paid
 2    by the Escrow Agent out of the Trust Account concurrently with the Sale Closing:
 3
              Nantong Changbang Gloves Co. - $1,228,307.56
 4
              Woneel Midas Leathers - $785,358.50
 5
              Mercindo Global Manufaktur - $444,674.64
 6

 7            Marusan – Mimasu Tshusho Co. Ltd. - $382,811.28

 8            Grainger - $180,000.00

 9            Advantage Media Services - $178,522.75
10
              PT JJ Gloves Indo - $162,917.76
11
              PT Sport Glove Indonesia - $144,238.66
12
              Windspeed Sports Shanghai Co., Ltd. - $152,830.453
13
              Ka Hung Glove Industrial Co. Ltd. - $38,934.90
14

15            Synetra - $37,972.33

16            AML United Limited - $28,330.56
17            1920 Hutton Court - $13,257.09
18
              PT Seok HWA Indonesia - $13,174.86
19
              Design Gallery (Pvt.) Ltd. - $12,801.60
20
              Desun Garments, Ltd. - $7,691.75
21

22            Konica Minolta - $1,152.31

23            Pitney Bowes - $452.99

24

25

26

27    3
       This figure was $144,198.43 in the Sale Order but was increased to $152,830.45 pursuant to an order of the
28    Court entered on November 13, 2017, as Docket Number 207.


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     Case 1:17-bk-12408-MB          Doc 438 Filed 02/09/18 Entered 02/09/18 13:18:51                     Desc
                                    Main Document    Page 25 of 111


 1            Also in accordance with the Sale Order, the Escrow Agent paid out of the Trust Account to
 2    Radians the full amount of Radians’ outstanding debt plus a breakup fee of $500,000 and an early
 3
      termination fee of $120,000, which amounted to a total payment of $5,343,988.19.
 4
              After taking into account all of the foregoing (and excluding the Supplemental Payment),
 5
      the final initial remaining balance in the Trust Account following the Sale Closing was
 6

 7    $16,354,050.82. The professional fees and expenses that were allowed by the Court pursuant to

 8    the order entered on December 13, 2017 as Docket Number 337 were paid out of the Trust

 9    Account, reducing the balance in the Trust Account of $14,776,072.73.
10
              In accordance with an order of the Court entered on December 14, 2017, as Docket
11
      Number 345 pursuant to which the Court granted the Debtors’ motion for authority to pay the
12
      Debtors’ undisputed pre-petition claims pursuant to an established protocol, the Debtors and the
13
      OCEH jointly filed a notice with the Court indicating their intent to pay all remaining undisputed
14

15    claims with post-petition interest through the date of payment, and their intent to pay post-petition

16    interest to all of the creditors who were paid the Designated Cure Amounts in connection with the
17    Sale Closing as itemized immediately above.4                All of these payments, which totaled
18
      approximately $318,995.20, were paid out of the Trust Account on or about December 22, 2017.
19
      The Debtors and the OCEH also reached settlement agreements with a number of disputed claims
20
      which have since been paid with the consent of the formerly disputed creditors in accordance with
21

22    the Court approved protocol. After payment of all of the foregoing creditors, the current balance

23    in the Trust Account as of January 12, 2018 is approximately $13,829,001 (the “Remaining Estate

24    Funds”). The Remaining Estate Funds will continue to be maintained in the Trust Account by
25

26    4
        The Debtors also paid interest to and the undisputed portion of the claims of the seven claimants whose
27    claims the Debtors have objected to with the interest paid to that portion of the disputed claim that the
      Debtors have not objected to so that the Debtors will have paid all post-petition interest through December
28    22, 2017 in the event the Debtors prevail on all seven claims objections.


                                                          20
     Case 1:17-bk-12408-MB         Doc 438 Filed 02/09/18 Entered 02/09/18 13:18:51                 Desc
                                   Main Document    Page 26 of 111


 1    LNBYB, as Escrow Agent, pending further order of the Court. All of the Remaining Estate Funds are
 2    unencumbered.
 3
      G.     Significant Events Which Have Occurred During the Bankruptcy Cases.
 4
             The following is a list of many of the significant events which have occurred during the
 5
      Cases beyond that set forth above:
 6

 7           1.       Formation of the Official Committee of Unsecured Creditors (the “OCUC”).

 8           The United States Trustee (the “UST”) formed the OCUC at the very outset of the Cases

 9    to represent the interests of general unsecured creditors. The OCUC was composed of the
10
      following three members: Resources Global Professionals, Winspeed Sports (Shanghai) Co., Ltd.
11
      and PT Sports Glove Indonesia. As indicated above, both Windspeed Sports Shanghai Co., Ltd.
12
      and PT Sport Glove Indonesia were paid in full (without post-petition interest) in connection with the
13
      Sale Closing, leaving Resources Global Professionals as the sole remaining member of the OCUC.
14

15    The Debtors subsequently paid post-petition interest to both Windspeed Sports Shanghai Co., Ltd. and

16    PT Sport Glove Indonesia, and the Debtors paid the full claim of Resources Global Professionals with
17    post-petition interest. All three members of the OCUC have therefore been paid in full with post-
18
      petition interest. The Debtors have therefore requested the UST to disband the OCUC. The OCUC
19
      employed Brown Rudnick LLP as its counsel, and the OCUC employed Province, Inc. as its financial
20
      advisor.
21

22           2.       Formation of the Official Committee of Equity Security Holders (the

23    “OCEH”).

24           Also at the very outset of the Cases, the UST formed the OCEH to represent the interests
25    of the equity holders of ICPW Nevada (i.e., the “Shareholders”). The OCEH is composed of the
26
      following three members: Scott Jarus, Ron Chez and Patrick O'Brien. The OCEH employed
27
      Dentons US LLP as its general and bankruptcy counsel, and the OCEH employed Michael D.
28

                                                       21
     Case 1:17-bk-12408-MB           Doc 438 Filed 02/09/18 Entered 02/09/18 13:18:51          Desc
                                     Main Document    Page 27 of 111


 1    Schwarzmann as its financial advisor. The OCEH subsequently employed Solomon & Cramer LLP
 2    as its special litigation counsel.
 3
               3.     Operational Issues.
 4
                      i.      Use of Cash Collateral and Post-Petition Borrowing.
 5
               In order for the Debtors to continue to operate their business and manage the Estates
 6

 7    through the Auction process and Sale Closing, the Debtors had to be able to use their cash and

 8    post-petition operating revenue, and the Debtors had to be able to borrow a sufficient amount of

 9    additional money to fund their projected post-petition cash flow shortfalls. As explained above,
10
      Radians was the Debtors’ secured creditor at the time of the Debtors’ bankruptcy filings.
11
      Concurrently with entering into the Radians APA with the Debtors’ just prior to the Debtors’
12
      bankruptcy filings, Radians entered into a cash collateral/dip financing agreement with the
13
      Debtors pursuant to which Radians consented to the Debtors’ use of cash collateral, and Radians
14

15    agreed to lend the Debtors up to $1.5 million of post-petition financing. The Debtors ultimately

16    borrowed only $1.1 million post-petition from Radians. The entire Radians secured debt was paid
17    in full in connection with the Sale Closing.
18
                      ii.     Emergency Motion to Jointly Administer the Debtors’ chapter 11
19
      Cases.
20
               At the commencement of the Cases, the Debtors filed emergency motions for authority to
21

22    jointly administer the Cases. On September 12, 2017, the Court granted the Debtors’ emergency

23    joint administration motions pursuant to docket number 7 in the Nevada case and docket number

24    25 in the California case.
25                    iii.    Emergency Motion to Pay the Debtors’ Pre-Petition Priority Wages
26
      and Related Employee Expenses.
27
               At the commencement of the Cases, the Debtors filed an emergency motion for authority
28

                                                     22
     Case 1:17-bk-12408-MB         Doc 438 Filed 02/09/18 Entered 02/09/18 13:18:51                 Desc
                                   Main Document    Page 28 of 111


 1    to pay the Debtors’ pre-petition priority wages and related benefits in the ordinary course of
 2    business to avoid the disruption to the Debtors’ business from failing to do so. The Court granted
 3
      the Debtors’ emergency wage motion pursuant to an ordered entered on September 13, 2017 as
 4
      docket number 29.
 5
                     iv.     Emergency Motion to Provide Adequate Assurance of Payment to the
 6

 7    Debtor’s Utilities.

 8           At the commencement of the Cases, the Debtors filed an emergency motion for an order

 9    authorizing the Debtors to provide adequate assurance of future payment to certain utility
10
      companies pursuant to § 366(c) of the Bankruptcy Code.            The Court granted the Debtors’
11
      emergency utilities motion pursuant to an ordered entered on September 13, 2017 as docket
12
      number 30.
13
                     v.      Emergency Motion to Maintain Cash Management Systems.
14

15           At the commencement of the Cases, the Debtors filed an emergency motion for authority

16    to maintain their cash management systems, which was imperative to avoid significant disruption
17    to the Debtors’ business operations.         The Court granted the Debtors’ emergency cash
18
      management systems motion pursuant to an ordered entered on September 14, 2017 as docket
19
      number 36.
20
                     vi.     Pre-Petition Claims Bar Date & Other Bar Dates.
21

22           The Court established, among other things, a claims bar date of October 20, 2017, as the

23    last day for creditors to file pre-petition claims against the Debtors, pursuant to an ordered entered

24    on September 14, 2017, as docket number 37 (the “Bar Date Order”). The Bar Date Order further
25    provides that for claims of “governmental units,” as that term is defined in 11 U.S.C. § 101(27),
26
      proofs of claim are timely filed: (a) before 180 days after the date of the order for relief in the
27
      Cases, or (b) October 20, 2017, whichever is later.
28

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     Case 1:17-bk-12408-MB        Doc 438 Filed 02/09/18 Entered 02/09/18 13:18:51               Desc
                                  Main Document    Page 29 of 111


 1                  vii.    Motion to Honor Pre-Petition and Post-Petition Employee Bonus
 2    Incentive Agreements.
 3
             Both prior to the commencement of the Cases and following the commencement of the
 4
      Cases, the Debtors negotiated various performance based bonus programs and targets with their
 5
      key employees because their performance with the business and cooperation with the sale process
 6

 7    were going to be crucial towards the successful consummation of the sale of the business to BBI

 8    and effectuate a smooth transaction of the business to BBI. Pursuant to an order entered on

 9    November 17, 2017, as docket number 224, the Court authorized the Debtors to pay a total of
10
      $457,500 of employee bonuses on account of pre-bankruptcy employee bonus agreements, and
11
      the Court authorized the Debtors to pay a total of $52,500 of employee bonuses on account of
12
      post-bankruptcy employee bonus agreements for a total amount of employee bonuses of
13
      $510,000, all of which were paid in connection with the Sale Closing.
14

15                  viii.   Debtors’ Name Change Following the Sale Closing.

16           As part of the Debtors’ sale agreement with BBI, the Debtors were required to effectuate a
17    name change following the Sale Closing. Pursuant to an order entered on November 15, 2017, as
18
      docket number 218, the Court authorized the Debtors to effectuate a change of their corporate
19
      name to ICPW Liquidation Corporation without further action by the Board or Shareholders.
20
             4.     Administrative Matters.
21

22           The Debtors were required to address the various administrative matters attendant to the

23    commencement of the Cases, which required an extensive amount of work by the Debtors’

24    employees and management and their bankruptcy counsel, LNBYB. These matters included the
25    preparation of the Debtors’ Schedules of Assets and Liabilities and Statement of Financial Affairs
26
      and the UST compliance package. The Debtors have subsequently filed a number of amendments
27
      to their bankruptcy schedules. The Debtors have made every effort to comply with their duties
28

                                                     24
     Case 1:17-bk-12408-MB          Doc 438 Filed 02/09/18 Entered 02/09/18 13:18:51                    Desc
                                    Main Document    Page 30 of 111


 1    under 11 U.S.C. §§ 521, 1106 and 1107 and all applicable UST guidelines, including the filing of
 2    the Debtors’ monthly operating reports. The Debtors attended their initial interview with the UST
 3
      and the meeting of creditors required under 11 U.S.C. § 341(a).
 4
              5.      Employment of Professionals.
 5
              A total of nine professionals have been employed in the Cases.               The Debtors have
 6

 7    employed four professionals: LNBYB as their bankruptcy counsel; Stubbs Alderton & Markiles,

 8    LLP as their special corporate and securities, special trademark, and special litigation counsel;

 9    Craig Hallum Capital Group LLC as their financial advisor; and BPE&H An Accountancy
10
      Corporation as the Debtors’ certified public accountant to, among other things, (i) analyze the
11
      2015 federal and state tax returns and determine whether they need to be amended, (ii) prepare
12
      and file the Debtors’ 2016 federal and state tax returns, (iii) prepare an estimate of whether any
13
      taxes are owing in 2017 resulting from the Debtors’ asset sale to BBI and, if so, how much.5 The
14

15    OCEH has employed three professionals: Dentons US LLP as its bankruptcy counsel; Michael D.

16    Schwarzmann as its financial advisor; and Solomon & Cramer LLP as special litigation counsel to
17    handle certain litigation matters for the OCEH prior to the Effective Date. The Trustee is expected
18
      to employ Dentons US LLP as its general counsel and Solomon & Cramer LLP and to handle
19
      certain litigation for the Trust after the Effective Date.           The OCUC has employed two
20
      professionals: Brown Rudnick LLP as its bankruptcy counsel and Province, Inc. as its financial
21

22    advisor.

23               The Debtors requested the law firm of Skadden, Arps, Slate, Meagher & Flom LLP

24    (“Skadden”) to provide certain post-petition legal services to the Debtors and/or the independent
25    board of directors of the Debtors which served as Skadden’s pre-petition client. As of the date of
26

27    5
       The Trust will have the responsibility of preparing the 2017 and 2018 tax returns for the Debtors as well
28    as any tax returns that the Trust itself may be required to file.


                                                         25
     Case 1:17-bk-12408-MB        Doc 438 Filed 02/09/18 Entered 02/09/18 13:18:51                Desc
                                  Main Document    Page 31 of 111


 1    this Plan, the Debtors have not yet filed an application to employ Skadden with the Court. In late
 2    December, 2017, the Debtors, the OCEH and Skadden entered into an agreement pursuant to
 3
      which Skadden was paid the full amount of its pre-petition claim in the amount of $342,141.79,
 4
      and the parties all agreed that Skadden shall have an allowed post-petition administrative claim
 5
      against the Debtors’ estates in the fixed amount of $107,858.21 related to post-petition legal fees
 6

 7    incurred by Skadden on behalf of the Debtors, which, subject to the approval of the Court, shall

 8    be paid in full, and the parties all agreed to work in good faith to determine the optimal manner in

 9    which to obtain a Court order authorizing the Debtors to pay this fixed amount of $107,858.21 to
10
      Skadden.
11
             6.      Executory Contracts and Unexpired Leases.
12
             In connection with the Sale Closing, BBI had the right to designate which executory
13
      contracts and which unexpired leases that BBI desired to take an assignment of, and all of those
14

15    designated executory contracts and unexpired leases were deemed assumed by the Debtors and

16    assigned to BBI effective as of the Sale Closing. Pursuant to the Sale Order, all of the Debtors’
17    executory contracts and unexpired leases that were not assumed and assigned to BBI were
18
      deemed rejected as of the Sale Closing, with the exception of the two supplier agreements with
19
      GGS and Grainger whose rejection can happen only following the entry of an order of the Court
20
      approving such rejection. As indicated above, the Debtors have filed a motion to reject the two
21

22    supplier agreements with GGS and Grainger. [See p. 18-19, supra].

23           7.      The OCEH’s Objection to the Radians’ Claims and Lawsuit Against Radians.

24           On December 5, 2017, the OCEH completed its Challenge analysis and timely filed an
25    objection to Radians’ claim and a lawsuit against Radians for (1) Duress, (2) Breach of the
26
      Covenant of Good Faith and Fair Dealing, (3) Unjust Enrichment, and (4) avoidance and recovery
27
      of property transfer (the “Radians Claim Objection and Lawsuit”).
28

                                                      26
     Case 1:17-bk-12408-MB        Doc 438 Filed 02/09/18 Entered 02/09/18 13:18:51                Desc
                                  Main Document    Page 32 of 111


 1                                      III. CLAIMS SUMMARY
 2    A.      Secured Claims.
 3
              As a result of the fact that Radians was paid in full in connection with the Sale Closing,
 4
      there is no remaining secured debt in the Cases. However, Radians contends that if it prevails in
 5
      the Radians Claim Objection and Lawsuit, it will be entitled to payment of its legal fees and costs
 6

 7    incurred in connection with that litigation. Although neither Radians’ Claim No. 20-1 (Case No,

 8    17-bk-12408) nor Claim No. 7-1 (Case No. 17-bk-12409) seek contingent indemnification, the

 9    Plan Proponents have classified this contingent and disputed claim as the sole class 3 claim under
10
      this Plan.
11
      B.      Administrative Claims.
12
              Separate and apart from the Remaining Estate Funds, as of the date of this Plan (i.e.,
13
      February 9, 2018), the Debtors have approximately $470,000 remaining in their debtor-in-
14

15    possession accounts which the Debtors use to pay their operating expenses and costs of

16    administering the Estates. In connection with the sale to BBI, the Debtors retained all of their
17    cash, and the Debtors’ used that cash to pay their non-professional fee administrative claims,
18
      consisting primarily of trade debt to vendors who extended post-bankruptcy trade debt to the
19
      Debtors.     As of the date of this Plan, the Debtors are not aware of any outstanding non-
20
      professional fee administrative expenses as the Debtors believe they have already paid all such
21

22    non-professional fee administrative expenses in full other than continuing quarterly fees owing to

23    the UST and any accrued but unpaid income tax claims resulting from the Debtors’ sale to BBI.

24    The Debtors therefore currently believe that the only administrative claims left to be paid in the
25    Cases will be the final outstanding allowed fees and expenses of the professionals employed in
26
      the Cases which will be paid out of the Remaining Estate Funds, their operating expenses and
27
      costs of administering the Estates, continuing quarterly fees owing to the UST and any tax claims
28

                                                      27
     Case 1:17-bk-12408-MB        Doc 438 Filed 02/09/18 Entered 02/09/18 13:18:51                Desc
                                  Main Document    Page 33 of 111


 1    resulting from the Debtors’ sale to BBI. The Debtors project that if the Effective Date of this Plan
 2    is February 28, 2018, the Debtors will have approximately $350,000 left in their debtor-in-
 3
      possession accounts which the Debtors will turn over to the Trust on the Effective Date.
 4
             Based upon a preliminary analysis, the Debtors’ accountant (BPE&H) estimates that the
 5
      Debtors will owe approximately $130,000 in federal income taxes and approximately $60,000 in
 6

 7    state income taxes (divided evenly between California and Texas) resulting from the Debtors’

 8    asset sale to BBI.

 9           The Court must approve all professional fees and expenses before they may be paid. For
10
      all professional fees and expenses, except fees owing to the Clerk of the Bankruptcy Court and
11
      fees owing to the UST, the professional in question must file and serve a properly noticed final
12
      fee application, and the Court must rule on the final fee application. Only the amount of fees and
13
      expenses allowed by the Court will be paid under this Plan. The Court hearing on the final
14

15    applications filed by the professionals employed in the Cases will be after the Effective Date,

16    since the final fees and expenses being requested by the professionals will include fees and
17    expenses incurred through the Effective Date. As detailed below, this Plan provides a total
18
      estimated amount of final fees and expenses of all of the professionals employed in the Cases of
19
      between $1,219,558 and $1,419,558.
20
      C.     Pre-Petition Priority Wage Claims.
21

22           The Debtors believe that they have paid all of their outstanding scheduled pre-petition

23    priority wage claims and post-petition wage claims and that none of the Debtors’ former

24    employees are entitled to be paid any further money. Jeffrey Cordes and William Aisenberg
25    (“Cordes and Aisenberg”), two former employees of the Debtors, each filed a priority wage claim
26
      in the amount of $12,850. As explained below, the Debtors and the OCEH have entered into the
27
      Cordes/Aisenberg Assignment Stipulation (defined below) pursuant to which the Debtors
28

                                                      28
     Case 1:17-bk-12408-MB        Doc 438 Filed 02/09/18 Entered 02/09/18 13:18:51                Desc
                                  Main Document    Page 34 of 111


 1    assigned to the OCEH all rights and standing of the Estates against Cordes and Aisenberg. The
 2    OCEH has filed (i) an objection to the claims filed by Cordes and Aisenberg against the Estates,
 3
      and (ii) an action against Cordes and Aisenberg seeking damages for pre-petition harm arising
 4
      from their conduct.
 5
      D.     Pre-Petition Priority Tax Claims.
 6

 7           The Debtors’ scheduled owing the following priority tax claims: $600 to the California

 8    Board of Equalization and $2,294 to the California Comptroller of Public Accounts. The Internal

 9    Revenue Service filed Claim no. 2 in the Nevada case asserting a priority tax claim in the amount
10
      of $2,000. The IPFS Corporation filed Claim no. 3 in the California case asserting a secured
11
      claim in the amount of $30,725.49, which claim has been reduced and paid in full. The California
12
      Franchise Tax Board filed a priority tax claim in the amount of $829.28. Once the Debtors
13
      complete their tax returns, the Debtors will either pay these filed priority tax claims or whatever
14

15    taxes the Debtors actually owe and, if appropriate, will file objections to any tax claims the

16    Debtors dispute. One of the primary purposes for the Debtors’ employment of an accounting firm
17    at this time was to provide a preliminary estimate of whether the Debtors owe any pre-petition
18
      taxes. The Debtors’ accountant (BPE&H) preliminarily estimates that the Debtors will owe
19
      approximately $5,000 of pre-petition taxes to the State of Texas.
20
      E.     General Unsecured Claims.
21

22           As of the date of this Plan (i.e., February 9, 2018), the only outstanding general unsecured

23    claims not yet allowed consist of that portion of the seven claims the Debtors have filed

24    objections to that the Debtors dispute (since the Debtors have already paid that portion of those
25    claims the Debtors do not dispute together with post-petition interest on those portions of the
26
      claims), and a small number of claims the OCEH will be handling - – (collectively, the “Disputed
27
      Class 1 Claims”). Attached hereto as Exhibit “1” is a detailed master claims chart (the “Claims
28

                                                      29
     Case 1:17-bk-12408-MB        Doc 438 Filed 02/09/18 Entered 02/09/18 13:18:51                Desc
                                  Main Document    Page 35 of 111


 1    Chart”), which shows all known claims in the Cases and their current status. The Claims Chart
 2    contains seventeen columns, as follows:
 3
                   the far column to the left lists the name of the respective creditor;
 4
                   the next column to the right indicates whether the creditor’s claim was filed or
 5                  scheduled as a claim against ICPW California, ICPW Nevada or both Debtors;

 6                 the next four columns to the right pertain to proofs of claim filed by the creditors,
                    including the claim number, the amount of the claim asserted, and the priority of
 7                  the asserted claim (i.e., secured, priority or general unsecured);

 8                  the next four columns to the right pertain to the claims that were scheduled by the
                    Debtors, including the amount of the scheduled claim, the priority of the scheduled
 9                  claim (i.e., secured, priority or general unsecured), and whether the Debtors
                    believe the claim to be contingent, unliquidated or disputed;
10
                    the next column to the right indicates the allowed amount of each claim not
11                  including any post-petition interest;

12                 the next column to the right indicates the amount of post-petition payments made
                    by the Debtors to the holders of allowed claims, inclusive of post-petition interest
13                  paid to the claimants;

14                 the next column to the right indicates the amount that each outstanding claim (or
                    portion thereof) would be allowed at only if the claim is allowed in the amount
15                  scheduled by the Debtors (meaning that the Debtors are successful with all of their
                    pending objections to claims and all other claims the Debtors will object to – i.e.,
16                  the “best case scenario” for the Estates and the Shareholders);

17                 the next column to the right indicates the amount that each outstanding claim (or
                    portion thereof) would be allowed at if the claim is allowed in the amount
18                  scheduled or asserted (meaning that no objection is ever filed to the claim or an
                    objection is filed but the claimant prevails – i.e., the “worst case scenario” for the
19                  Estates and the Shareholders);

20                 the next column to the right indicates the remaining claims in the Cases (excluding
                    post-petition interest) after taking into account all of the claims and post-petition
21                  interest that was paid by the Debtors on December 22, 2017 and with the
                    assumption that the Debtors prevail on all of their seven pending claim objections;
22
                   the next column to the right indicates the total amount of the Disputed Class 1
23                  Claims at the amounts asserted by the holders of the Disputed Class 1 Claims with
                    post-petition interest through the projected Plan Effective Date of February 28,
24                  2018, with the assumption that the Debtors prevail on all of their seven pending
                    claim objections, which, indicated, totals $356,348.14; and
25
                   the far column to the right indicates the total amount of the Disputed Class 1
26                  Claims at the amounts asserted by the holders of the Disputed Class 1 Claims with
                    post-petition interest through December 31, 2018, which totals $359,998.81. The
27                  OCEH (or the Trustee of the Trust following the Effective Date) intends to file
                    objections to all Disputed Class 1 Claims unless the OCEH is able to negotiate
28                  mutually acceptable resolutions with the holders of Disputed Class 1 Claims, and


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     Case 1:17-bk-12408-MB        Doc 438 Filed 02/09/18 Entered 02/09/18 13:18:51                Desc
                                  Main Document    Page 36 of 111


 1                  the OCEH believes that the final amount of the Disputed Class 1 Claims which are
                    ultimately allowed by the Court if the claims are adjudicated or if they are settled
 2                  will be less than the amounts set forth in the Claims Chart.
             Unless the Trustee chooses to have someone other than the Escrow Agent serve as the
 3
      disbursing agent for Disputed Class 1 Claims, after the Escrow Agent pays the final allowed fees
 4

 5    and expenses of the professionals employed in the Cases and before the Escrow Agent delivers to

 6    the Trustee the balance of the Remaining Estate Funds, the Escrow Agent will retain in the Trust
 7    Account a sum of money equal to the total amount of the Disputed Class 1 Claims with post-
 8
      petition interest through December 31, 2018, which, as indicated above, totals $359,998.81 (the
 9
      “Residual Estate Funds”). The Escrow Agent will pay any Disputed Class 1 Claim, together with
10
      post-petition interest at the rate of 1.23% per annum (which was the applicable interest on the
11

12    Petition Date according to the bankruptcy court website: (http://www.cacb.uscourts.gov/post-

13    judgment-interest-rates) (the “Applicable Interest Rate”), only after an order of the Court is

14    entered (whether such order is the result of a settlement reached between the holder of the
15    Disputed Class 1 Claim and the OCEH or the Trustee or following a contested claim objection
16
      hearing) that turns the Disputed Class 1 Claim into an allowed class 1 claim (“Allowed Class 1
17
      Claim”) and such order becomes a final order of the Court not subject to any pending appeal (a
18
      “Final Order”). Each time a Disputed Class 1 Claim becomes an Allowed Class 1 Claim and the
19

20    Escrow Agent pays the Allowed Class 1 Claim, together with post-petition interest at the

21    Applicable Interest Rate, out of the Residual Estate Funds, the Escrow Agent will deliver to the

22    Trustee the difference between the amount of the Disputed Class 1 Claim and the amount of the
23
      Allowed Class 1 Claim that is paid, together with post-petition interest at the Applicable Interest
24
      Rate. For example, if a particular class 1 claimant filed a class 1 claim in the amount of $75,000
25
      that the OCEH or the Trustee disputed, and the holder of the Disputed Class 1 Claim ultimately
26
      ends up with an Allowed Class 1 Claim in the amount of $25,000 (whether as a result of a
27

28    settlement reached between the class 1 claimant and the OCEH or the Trustee or following a


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     Case 1:17-bk-12408-MB        Doc 438 Filed 02/09/18 Entered 02/09/18 13:18:51               Desc
                                  Main Document    Page 37 of 111


 1    contested claim objection hearing), the Escrow Agent will pay out of the Residual Estate Funds to
 2    the class 1 claimant on account of the class 1 claimant’s Allowed Class 1 Claim the sum of
 3
      $25,000 plus post-petition interest at the Applicable Interest Rate computed through the date of
 4
      payment, and the Escrow Agent will deliver the balance of the Residual Estate Funds to the
 5
      Trustee, which would be in the amount of $50,000 less the amount of post-petition interest paid to
 6

 7    the holder of the Allowed Class 1 Claim.

 8           On November 21, 2017, as docket number 241, the Debtors (with the full support of the

 9    OCEH) filed a motion with the Court in which the Debtors requested the Court to exercise its
10
      broad judicial powers under § 105(a) of the Bankruptcy Code to permit the Debtors (with the
11
      support of the OCEH) to implement the “Claims Allowance Protocol” described below (the
12
      “Claims Protocol Motion”). On December 14, 2017, as docket number 345, the Court granted the
13
      Claim Protocol Motion. Below is a summary of how pre-petition claims that the Debtors and the
14

15    OCEH agree should be paid as Allowed Claims can be paid in accordance with the Claim

16    Protocol Motion.
17                                 CLAIMS ALLOWANCE PROTOCOL
18
                If the Debtors and the OCEH agree with the amount and priority of a scheduled or
19
                 filed claim without any modification, the Debtors and the OCEH will file a joint notice
20
                 with the Court signed by counsel to both the Debtors and the OCEH advising the
21

22               Court of the same. Each such notice will identify the name of the creditor, the claim

23               number if it pertains to a proof of claim filed by the creditor, and the amount and

24               priority of the claim that will be deemed allowed. Once that notice has been filed with
25               the Court, the claim will be deemed permanently allowed in that amount and with that
26
                 priority, and the Escrow Agent will be deemed authorized to pay the allowed claim out
27
                 of the Remaining Estate Funds.
28

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     Case 1:17-bk-12408-MB         Doc 438 Filed 02/09/18 Entered 02/09/18 13:18:51                Desc
                                   Main Document    Page 38 of 111


 1               If the Debtors and the OCEH are able to reach an agreement with a particular creditor
 2                on the amount of a claim which is less than the amount or of a different priority than
 3
                  the scheduled or filed claim, the Debtors and the OCEH will file a joint stipulation
 4
                  signed by the Debtors, the OCEH and the creditor advising the Court of the same.
 5
                  Each such stipulation will identify the name of the creditor, the claim number if it
 6

 7                pertains to a proof of claim filed by the creditor, and the amount and priority of the

 8                claim that will be deemed allowed. Once that stipulation has been filed with the

 9                Court, the claim will be deemed permanently allowed in that amount and with that
10
                  priority without the need for any Court order, and the Escrow Agent will be deemed
11
                  authorized to pay the allowed claim out of the Remaining Estate Funds.
12
           IV.     CLASSIFICATION AND TREATMENT OF CLAIMS AND INTERESTS
13
      A.     What Creditors and Shareholders Will Receive Under this Plan.
14

15           As required by the Bankruptcy Code, this Plan classifies claims and interests in various

16    classes according to their right to priority. This Plan states whether each class of claims or
17    interests is impaired or unimpaired. This Plan sets out the treatment each class will receive.
18
      B.     Unclassified Claims.
19
             Certain types of claims are not placed into voting classes; instead they are unclassified.
20
      They are not considered impaired and they do not vote on this Plan because they are
21

22    automatically entitled to specific treatment provided for them in the Bankruptcy Code. As such,

23    the Plan Proponents have not placed the following claims in a class.

24           1.      Administrative Expenses.
25           Administrative expenses are claims for costs or expenses of administering the Cases
26
      which are allowed under Bankruptcy Code § 507(a)(2). The Bankruptcy Code requires that all
27

28

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     Case 1:17-bk-12408-MB          Doc 438 Filed 02/09/18 Entered 02/09/18 13:18:51                     Desc
                                    Main Document    Page 39 of 111


 1    administrative claims be paid in full on the Effective Date unless a particular claimant agrees to a
 2    different treatment.
 3
              The following chart lists all of the Debtors’ § 507(a)(2) known administrative claims and
 4
      their treatment under this Plan.6
 5

 6           Name                              Amount Owed                    Treatment
             Clerk's Office Fees               $0                             Paid in full on the
 7                                                                            Effective Date out of the
                                                                              Remaining Estate Funds
 8
             Office of the U.S. Trustee        $0                             Paid in full on the
 9           Fees                                                             Effective Date out of the
                                                                              Remaining Estate Funds
10           Levene, Neale, Bender,            $250,000-$300,000 (est.),      Paid in full out of the
             Yoo & Brill L.L.P.                which would be in              Remaining Estate Funds
11           (“LNBYB”), bankruptcy             addition to the post-          within five days following
             counsel to the Debtors            petition fees and expenses     the date of entry of an
12                                             paid to LNBYB by the           order of the Court
                                               Debtors                        allowing such fees and
13                                                                            expenses
             Stubbs Alderton &                 $100,000 (est.), which         Paid in full out of the
14           Markiles, LLP (“SAM”),            would be in addition to        Remaining Estate Funds
             special corporate and             the post-petition fees and     within five days following
15           securities, special               expenses paid to SAM by        the date of entry of an
             trademark, and special            the Debtors                    order of the Court
16           litigation counsel for the                                       allowing such fees and
             Debtors                                                          expenses
17           Dentons US LLP                    $550,000-$700,000 (est.),      Paid in full out of the
             (“Dentons”), counsel to the       which would be in              Remaining Estate Funds
18           OCEH                              addition to the post-          within five days following
                                               petition fees and expenses     the date of entry of an
19                                             paid to Dentons by the         order of the Court
                                               Debtors                        allowing such fees and
20                                                                            expenses
             Michael D. Schwarzmann            $10,000 (est.), which          Paid in full out of the
21           (“MDS”),         financial        would be in addition to        Remaining Estate Funds
             advisor to the OCEH               the post-petition fees and     within five days following
22                                             expenses paid to MDS by        the date of entry of an
                                               the Debtors                    order of the Court
23                                                                            allowing such fees and

24    6
        For all of the reasons explained above, the Debtors expect that by the time of Plan Confirmation Hearing,
25    all allowed administrative claims other than the remaining outstanding fees and expenses of the
      professionals employed in the Cases will have been paid in full by the Debtors out of the Debtors’
26    operating funds (other than additional taxes owing as a result of the asset sale to BBI). Also, this chart
      does not include any fees or expenses owing to either Craig Hallum Capital Group LLC, financial advisor
27    to the Debtors, or to Province, Inc., financial advisor to the OCUC, because their fees and expenses have
      been allowed by the Court on a final basis and have already been paid in full
28

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     Case 1:17-bk-12408-MB         Doc 438 Filed 02/09/18 Entered 02/09/18 13:18:51               Desc
                                   Main Document    Page 40 of 111


 1                                                                        expenses
             Brown Rudnick LLP               $50,000 (est.), which        Paid in full out of the
 2           (“BR”), counsel to the          would be in addition to      Remaining Estate Funds
             OCUC                            the post-petition fees and   within five days following
 3                                           expenses paid to BR by       the date of entry of an
                                             the Debtors                  order of the Court
 4                                                                        allowing such fees and
                                                                          expenses
 5           BPE&H An Accountancy            $18,700 (est.), which        Paid in full out of the
             Corporation as the Debtors’     would be in addition to      Remaining Estate Funds
 6           certified public accountant     the $10,000 post-petition    upon completion of the
                                             retainer paid to BPE&H       various tasks BRE&H has
 7                                           by the Debtors as            been employed to perform
                                             authorized by the Court.     with no further Court
 8                                                                        order required
             Solomon & Cramer LLP,           $133,000 (est.)              Paid in full out of the
 9           special litigation counsel to                                Remaining Estate Funds
             the OCEH                                                     within five days following
10                                                                        the date of entry of an
                                                                          order of the Court
11                                                                        allowing such fees and
                                                                          expenses
12
             Skadden Skadden, Arps,          $107,858.21 as a fixed       Paid in full out of the
13           Slate, Meagher & Flom           allowed administrative       Remaining Esate Funds
             LLP                             claims pursuant to an        within five days following
14                                           agreement reached            the date of entry of an
                                             between Skadden, the         order of the Court
15                                           Debtors and the OCEH         allowing this fixed
                                             for post-petition services   administrative claim
16                                           provided by Skadden
             TOTAL                           $1,219,558.21-               Paid in the manner
17                                           $1,419,558.21est.            described above

18
             Court Approval of Professional Fees and Expenses Required and Source of Funding
19

20           Payment:

21           The Court must approve all professional fees and expenses listed in the chart above before

22    they may be paid. For all professional fees and expenses except fees owing to the Clerk of the
23    Bankruptcy Court and fees owing to the UST, the professional in question must file and serve a
24
      properly noticed final fee application, and the Court must rule on the final fee application. Only
25
      the amount of fees and expenses allowed by the Court will be paid under this Plan. The amounts
26
      set forth above simply represent the Plan Proponents’ best estimate as to the amounts of the
27

28    outstanding fees and expenses projected to be owed to the remaining professionals employed by


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     Case 1:17-bk-12408-MB         Doc 438 Filed 02/09/18 Entered 02/09/18 13:18:51             Desc
                                   Main Document    Page 41 of 111


 1    the Debtors, the UCUC and the OCEH (with input from the various professionals). The actual
 2    amounts of the outstanding fees and expenses to be owed to the remaining professionals
 3
      employed by the Debtors, the UCUC and the OCEH may be higher or lower than the figures set
 4
      forth above.    The actual amount of the fees and expenses to be owed to the remaining
 5
      professionals employed by the Debtors, the UCUC and the OCEH depends upon, among other
 6

 7    things, the fees incurred related to whether the Debtors and/or the OCEH engage in any

 8    substantial litigation regarding the confirmation of this Plan, the Radians Claim Objection and

 9    Lawsuit, objecting to claims or any other matter. To the extent the Debtors and/or the OCEH
10
      engage in any such substantial litigation, the professionals involved are likely to incur
11
      professional fees and expenses in excess (and possibly substantially in excess) of the estimated
12
      figures set forth above. By the Plan Proponents including these estimated figures in the above
13
      chart, creditors and Shareholders are not acknowledging the validity of, or consenting to the
14

15    amount of, any of these administrative claims, and creditors and Shareholders are not waiving any

16    of their rights to object to the allowance of any of these administrative claims. Similarly,
17    professionals who have been employed in the Cases are not being deemed to have agreed that the
18
      figures set forth above represent any ceiling on the amount of fees and expenses that they have
19
      incurred or are entitled to seek to be paid pursuant to Court order as such fees and expenses are
20
      just estimates provided by the Plan Proponents (with input from the various professionals) at the
21

22    time of the preparation of this Plan.

23           2.      Priority Tax Claims.

24           Priority tax claims include certain unsecured income, employment and other taxes
25    described by § 507(a)(8) of the Bankruptcy Code. Section 1129(a)(9)(C) of the Bankruptcy Code
26
      requires that each holder of such a § 507(a)(8) priority tax claim receive regular installment
27
      payments of a total value, as of the Effective Date, equal to the allowed amount of such allowed
28

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     Case 1:17-bk-12408-MB         Doc 438 Filed 02/09/18 Entered 02/09/18 13:18:51                Desc
                                   Main Document    Page 42 of 111


 1    tax claims, over a period ending not later than five years after the Petition Date. The limited
 2    number of potential priority tax claims are identified above and are included in the Claims Chart.
 3
      The Debtors are continuing with their review of the scheduled and filed priority tax claims. The
 4
      Debtors or the Trustee will file objections to any filed tax claims which the Debtors or the Trustee
 5
      believe are not valid. The Debtors are not agreeing to the allowance of any such filed tax claims,
 6

 7    and the Debtors reserves all rights to file and prosecute objections to any such filed tax claims.

 8    The Escrow Agent will pay all allowed priority tax claims in full out of the Remaining Estate

 9    Funds on the Effective Date unless there is a dispute with any such priority tax claim. If there is a
10
      dispute, the Escrow Agent will pay any such disputed priority tax claim out of the Residual Estate
11
      Funds within ten days following the date of entry of an order of the Court allowing such disputed
12
      priority tax claim, inclusive of interest accrued following the Effective Date at the statutory rate,
13
      and the amount of the Residual Estate Funds retained by the Escrow Agent will be increased by
14

15    the amount of any asserted disputed priority tax claims plus interest computed through December

16    31, 2018.
17    C.     Classified Claims and Interests.
18
             1.      Class of Secured Claims – Class 3.
19
             Class 3 is designated in this Plan as unimpaired.
20
             As described above, as result of the fact that Radians was paid in full in connection with
21

22    the Sale Closing, there is no remaining secured debt in the Cases. However, as also indicated

23    above, Radians contends that if it prevails in the Radians Claim Objection and Lawsuit, it will be

24    entitled to payment of its legal fees and costs incurred in connection with that litigation. The Plan
25    Proponents have classified this contingent and disputed claim of Radians as the sole class 3 claim
26
      under this Plan. In addition to the Residual Estate Funds, unless otherwise ordered by the Court,
27
      the Escrow Agent will retain the total sum of $600,000.00 (the “Class 3 Reserve Fund”) in a
28

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     Case 1:17-bk-12408-MB        Doc 438 Filed 02/09/18 Entered 02/09/18 13:18:51                 Desc
                                  Main Document    Page 43 of 111


 1    segregated trust account which will be used to pay any class 3 claim which is allowed by order of
 2    the Court (“Class 3 Allowed Claim”). The Escrow Agent will pay any Class 3 Allowed Claim
 3
      out of the Class 3 Reserve Fund within five business days following the entry of an order of the
 4
      Court allowing such Class 3 Allowed Claim and such order becoming a Final Order, and the
 5
      Escrow Agent will deliver the balance of the Class 3 Reserve Fund, if any, to the Trustee.
 6

 7           2.      Class of Priority Unsecured Claims – Class 4.

 8           Class 4 is designated in this Plan as unimpaired.

 9           Certain priority claims that are referred to in Bankruptcy Code §§ 507(a)(3), (4), (5), (6),
10
      and (7) are required to be placed in classes. These types of claims are entitled to priority
11
      treatment as follows: the Bankruptcy Code requires that each holder of such a claim receive cash
12
      on the Effective Date equal to the allowed amount of such claim. However, a class of unsecured
13
      priority claim holders may vote to accept deferred cash payments of a value, as of the Effective
14

15    Date, equal to the allowed amount of such claim. The limited number of potential non-tax

16    priority claims are identified above and are included in the Claims Chart. The Debtors are
17    continuing with their review of the scheduled and filed non-tax priority claims. The Debtors or
18
      the Trustee will file objections to any filed non-tax priority claims which the Debtors or the
19
      Trustee believe are not valid. The Debtors are not agreeing to the allowance of any such filed
20
      non-tax priority claims, and the Debtors reserve all rights to file and prosecute objections to any
21

22    such filed non-tax priority claims. The Escrow Agent will pay all allowed non-tax priority claims

23    in full out of the Remaining Estate Funds on the Effective Date unless there is a dispute with any

24    such non-tax priority claim. If there is a dispute, the Escrow Agent will pay any such disputed
25    non-tax priority claim out of the Residual Estate Funds within ten days following the date of entry
26
      of an order of the Court allowing such disputed non-tax priority claim. As indicated above, the
27
      only non-tax priority claims that the Debtors are aware of are the two priority wage claims in the
28

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     Case 1:17-bk-12408-MB         Doc 438 Filed 02/09/18 Entered 02/09/18 13:18:51             Desc
                                   Main Document    Page 44 of 111


 1    amount of $12,850 filed by Cordes and Aisenberg (the “Cordes and Aisenberg Priority Claims”).
 2    The OCEH has filed (i) an objection to the claims filed by Cordes and Aisenberg against the
 3
      Estates, and (ii) an action against Cordes and Aisenberg seeking damages for pre-petition harm
 4
      arising from their conduct.      The Plan Proponents have classified the disputed Cordes and
 5
      Aisenberg Priority Claims as part of class 4 under this Plan. In addition to the Residual Estate
 6

 7    Funds and the Class 3 Reserve Fund, unless otherwise ordered by the Court, the Escrow Agent

 8    will retain in a segregated trust account the total sum of $300,000.00 (the “Class 4 Reserve

 9    Fund”) which will be used to pay the Cordes and Aisenberg Priority Claims to the extent allowed
10
      by the Court plus any indemnification claims of Cordes and Aisenberg to the extent allowed by
11
      the Court and not otherwise satisfied by the Debtors’ D&O Insurance. The Escrow Agent will
12
      pay any such allowed claims of Cordes and Aisenberg (“Cordes and Aisenberg Allowed Claims”)
13
      out of the Class 4 Reserve Fund within five business days following the entry of an order of the
14

15    Court allowing any such Cordes and Aisenberg Allowed Claims and such order becoming a Final

16    Order, and the Escrow Agent will deliver the balance of the Class 4 Reserve Fund, if any, to the
17    Trustee.
18
             3.       Class of General Unsecured Claims – Class 1.
19
             Class 1 is designated in this Plan as unimpaired.
20
             General unsecured claims are pre-petition unsecured claims which are not entitled to
21

22    priority under Bankruptcy Code §507(a). The treatment of any remaining pre-petition unsecured

23    claims is explained above.[ See Section III.E. General Unsecured Claims and Claims Allowance

24    Protocol at pp. 28-32, supra.]
25                Since these are solvent Estates, the Plan Proponents agree that pursuant to the Ninth
26
      Circuit case of In re Cardelucci, 285 F.3d 1231 (9th Cir. 2002) and other prevailing law, all
27
      general unsecured creditors existing as of the Petition Date that ultimately became, or which
28

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     Case 1:17-bk-12408-MB         Doc 438 Filed 02/09/18 Entered 02/09/18 13:18:51                 Desc
                                   Main Document    Page 45 of 111


 1    ultimately become, Allowed Class 1 Claims, are entitled to be paid post-petition interest from the
 2    Petition Date through the date that they were paid or will be paid the full principal amount of their
 3
      Allowed Class 1 Claim, with the rate of post-petition interest that they are entitled to be paid to be
 4
      calculated at the federal interest rate for judgments as of the Petition Date as explained above. All
 5
      non-disputed general unsecured claims have already been paid by the Debtors with post-petition
 6

 7    interest in accordance with prior orders of the Court and the Court order granting the Claim

 8    Protocol Motion.

 9           Class 1 claims are not impaired by this Plan and therefore do not vote on this Plan because
10
      they are conclusively presumed to have accepted this Plan, and solicitation of acceptances to this
11
      Plan from class 1 claim holders is not required, pursuant to § 1126(f) of the Bankruptcy Code.
12
             4.      Class of Shareholders – Class 2.
13
             Class 2 is designated in this Plan as unimpaired.
14

15           Class 2 consists of the Shareholders, who are the equity holders of ICPW Nevada as of the

16    Record Date. After all allowed post-bankruptcy claims have been paid in full, including the final
17    fees and expenses of all professionals employed in the Cases, and a reserve maintained of the
18
      Residual Estate Funds to be used to pay the Disputed Class 1 Claims that become Allowed Class
19
      1 Claims, the balance of the funds in the Estates will be transferred to the Trust and ultimately
20
      distributed to the record Shareholders of ICPW Nevada.
21

22           On the Effective Date, a trust (the “Trust”) will be created pursuant to this Plan and the

23    Trust Agreement solely for the benefit of the Shareholders. The Effective Date of this Plan shall

24    also be the effective date of the Trust. It is currently anticipated that the members of the OCEH
25    (Scott Jarus, Ron Chez and Patrick O’Brien) will serve as the initial members of the Trust Board
26
      (the “Trust Board Members”). The Trustee of the Trust will be proposed by the OCEH and is
27
      subject to approval by the Court at or prior to the Plan Confirmation Hearing. The Trustee’s
28

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     Case 1:17-bk-12408-MB         Doc 438 Filed 02/09/18 Entered 02/09/18 13:18:51               Desc
                                   Main Document    Page 46 of 111


 1    identity and background will be identified in a filing with the Court by the OCEH prior to the
 2    Plan Confirmation Hearing. A copy of the Trust Agreement is attached as Exhibit “2” to this
 3
      Plan. The following is just a summary of the Trust, the Trust Agreement and the treatment of
 4
      Shareholders under this Plan. Shareholders should read the Trust Agreement and this Plan if they
 5
      want to understand more details.
 6

 7           The record date for distributions to Shareholders proposed as part of this Plan will be the

 8    later of (i) the date on which the Plan confirmation hearing is held (which is expected to be on

 9    February 12, 2018 – the “Plan Confirmation Hearing”), (ii) the date on which the Court enters an
10
      order confirming this Plan, and (iii) such other date not less than two days after FINRA has
11
      agreed to halt trading in shares of ICPW Nevada (the “Record Date”). It is the intention of the
12
      Debtors, with the full support of OECH, to advise FINRA of the proposed Record Date not less
13
      than ten (10) days in advance of such date. The period of time between the Plan Confirmation
14

15    Hearing but prior to the Effective Date is hereafter referred to as the “Gap Period”.

16           Under this Plan, all of the outstanding shares of common stock of ICPW Nevada (the
17    “Common Stock”) existing on the Effective Date will be cancelled, and the Record Holders who
18
      owned shares of Common Stock on the Record Date will become holders of non-transferable
19
      beneficial interests in the Trust in exchange for those shares. The Debtors or the Trustee will seek
20
      to terminate the reporting obligations of ICPW Nevada in compliance with federal and state
21

22    securities laws.

23           Pursuant to this Plan, the Board of Directors of ICPW Nevada, acting in its capacity as the

24    administrator of ICPW Nevada’s 2006 Stock Incentive Plan, as amended (the “SIP”), will
25    exercise its authority under the SIP, in connection with the Sale Closing and ICPW’s liquidation
26
      and dissolution pursuant to this Plan, to cancel on the date that is two business days prior to the
27
      Record Date (the “Option Cancellation Date”) outstanding options to purchase Common Stock
28

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     Case 1:17-bk-12408-MB         Doc 438 Filed 02/09/18 Entered 02/09/18 13:18:51               Desc
                                   Main Document    Page 47 of 111


 1    issued under the SIP without payment of any consideration, and to notify (at least 10 days prior to
 2    the Option Cancellation Date) each holder of such outstanding options of such holder’s right to
 3
      exercise the vested portion of such outstanding options by the earlier of (x) their current
 4
      expiration date or (y) the Option Cancellation Date. Subject to the terms of the SIP, the Trustee
 5
      will recognize all authorized shares of Common Stock issued to holders of Options that have been
 6

 7    exercised and fully paid prior to the Option Cancellation Date (the “Option Shares”) as belonging

 8    to Record Holders. The Option Shares will be included in the total of Record Shares to be

 9    cancelled as of the Effective Date.
10
             The Trust is being established for the exclusive benefit of the Record Holders, net of
11
      claims and expenses payable under the express terms of the Trust. All claims and causes of
12
      action that belong to the Estates are being assigned under this Plan to the Trust for the exclusive
13
      benefit of the Record Holders, and any net proceeds from such claims and causes of action will be
14

15    for the exclusive benefit of Record Holders.

16           As indicated above, on not less than ten (10) days advance notice, the Plan Proponents
17    will seek FINRA’s approval of a halt in trading of the Common Stock during the Gap Period.
18
      The Plan Proponents believe that a trading halt during the Gap Period is necessary to protect
19
      investors and the public interest. The Plan Proponents believe that the cancellation of the
20
      Common Stock as of the Effective Date constitutes an extraordinary event that is likely to have a
21

22    material effect on the market for the Common Stock, with the potential to cause major disruption

23    to the marketplace or significant uncertainty in the settlement and clearance process. Since only

24    Record Holders will receive distributions from the Estates based on the shares of the Common
25    Stock they hold as of the Record Date, the Plan Proponents believe that it would be untenable to
26
      allow trading in the Common Stock following the Record Date (since purchasers of such shares
27
      will receive no right to receive distributions from the Estates as a result of such purchases).
28

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     Case 1:17-bk-12408-MB        Doc 438 Filed 02/09/18 Entered 02/09/18 13:18:51                Desc
                                  Main Document    Page 48 of 111


 1    While the Debtors intend to notify the market, through Current Reports on Form 8-K and
 2    concurrently issued press releases, of the process for determining Record Holders, the Record
 3
      Date, and the estimated initial distribution to Record Holders, the Plan Proponents believe that an
 4
      extraordinary event trading halt is the most effective method for protecting investors who may
 5
      seek to trade in the Common Stock from and after the Record Date. Finally, neither the market,
 6

 7    nor investors nor the Debtors would benefit from trading what would clearly be a worthless

 8    security.

 9           In order to effectuate the establishment of a Record Date prior to the Effective Date, (a)
10
      the Plan Proponents are in the process of requesting guidance from FINRA regarding
11
      implementing an extraordinary event trading halt during the Gap Period, and any additional
12
      advance disclosure that FINRA may require in connection with such trading halt; and (b)
13
      consistent with this Plan, the Debtors, acting as Plan Administrator of the SIP, will cancel
14

15    outstanding options under the SIP and will notify the holders of such options of their right to

16    exercise such options for Option Shares pursuant to the terms of the SIP.
17           The Plan Proponents have preliminarily estimated an initial distribution to the Record
18
      Holders of approximately 11.28 cents per current outstanding share of Common Stock, without
19
      considering the effect of authorized Option Shares issued between the date of this Plan and the
20
      Record Date. Depending upon the results resolution of claim objections and expected pursuit of
21

22    transferred estate causes of action, it is possible that there may be one or more secondary

23    distributions to the Record Holders of amounts not currently subject to reasonable estimation.

24    The preliminary estimate is based upon the following estimates and assumptions: (1) the
25    Remaining Estate Funds are in the amount of $13,829,001 as of December 31, 2017; (2) there will
26
      be approximately $350,000 of funds remaining in the Debtors’ debtor-in-possession account on
27
      February 28, 2018 that will be turned over to the Trust on the Effective Date; (3) the Effective
28

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     Case 1:17-bk-12408-MB        Doc 438 Filed 02/09/18 Entered 02/09/18 13:18:51                Desc
                                  Main Document    Page 49 of 111


 1    Date will be on or about February 28, 2018; (4) there will be approximately $1,419,558 of final
 2    fees and expenses of the professionals employed by the Estates allowed by the Court through
 3
      February 28, 2017; (5) there will be a reserve of $379,774 maintained by the Disbursing Agent
 4
      for Disputed Class 1 Claims computed at the amounts asserted by the holders of the Disputed
 5
      Class 1 Claims with post-petition interest through December 31, 2018; (6) there will be $195,000
 6

 7    of taxes owing from the Debtors’ prior asset sale to BBI between federal and state taxes; (7) there

 8    will be a total of $25,000 of additional taxes owing by the Debtors; (8) the Trustee will retain an

 9    initial reserve of $2,500,000 to fund the Trust and the prosecution of transferred estate claims and
10
      causes of action. Although the results of litigation cannot be reasonably estimated at this time,
11
      the Trust provides for the possibility of one or more secondary distributions to the Record Holders
12
      after the Trustee has completed the prosecution of all claims and causes of action and wound
13
      down the affairs of the Trust and dissolved the Debtors.
14

15           The Plan Proponents have preliminarily estimated an initial distribution of 11.28 cents per

16    share by the Trustee based upon available funds of $9,659,669 to the Record Holders and
17    cancellation of 85,646,354 Record Shares on the Effective Date. If any of these assumptions
18
      proves to be inaccurate, that will necessarily effect on a dollar-for-dollar basis (higher or lower)
19
      the amount of the initial distribution to be made to the Record Holders and the availability of one
20
      or more secondary distributions.
21

22           However, this Plan is not a solicitation for acceptances by Record Holders. The

23    information contained in this Plan are preliminary estimates based upon all of the

24    assumptions above and is being provided by the Plan Proponents in good faith only for
25    information purposes. It should not be relied upon by any Shareholder in making any
26
      investment decision. Many factors which are not yet fully known could result in an increase or
27
      decrease in these estimated figures, including, but not limited to: (1) the ultimate allowed amount
28

                                                      44
     Case 1:17-bk-12408-MB        Doc 438 Filed 02/09/18 Entered 02/09/18 13:18:51                Desc
                                  Main Document    Page 50 of 111


 1    of pre-bankruptcy and post-bankruptcy claims, including the additional fees and expenses
 2    incurred by the professionals employed in the Cases, (2) the fees and expenses incurred by the
 3
      professionals employed by the OCEH in prosecuting or defending against litigation, including the
 4
      current litigation involving Cordes and Aisenberg and the Radians Claim Objection and Lawsuit;
 5
      (3) the fees and expenses of the Trustee and his/her professionals; (4) any reserve decisions made
 6

 7    by the Trustee; (5) whether any additional taxes are owing as a result of the Debtors’ asset sale to

 8    BBI; (6) the outcome of the claims objections already filed by the Debtors; (7) the outcome of any

 9    claims objections bought by the OCEH or the Trustee or any additional claim settlements
10
      negotiated by the OCEH or the Trustee; and (8) the extent of any net recoveries obtained by the
11
      OCEH or the Trustee from the pursuit of any claims or causes of action, all of which will be
12
      distributed to the Shareholders. But even this list is not exhaustive as there are many other
13
      factors, some which may not even be known today, that could alter the amount of any initial
14

15    distribution by the Trust to the Record Holders.

16           The Plan Proponents believe that Shareholders are not impaired under this Plan and
17    therefore don’t vote on this Plan because they are conclusively presumed to have accepted this
18
      Plan, and solicitation of acceptances of this Plan from the Shareholders is not required, pursuant
19
      to § 1126(f) of the Bankruptcy Code. See In re Acequia, Inc., 787 F.2d 1352, 1363 (9th Cir.
20
      1986); In re Nickels Midway Pier, LLC, 452 B.R. 156 (D.N.J. 2011).
21

22     V.     MEANS OF EFFECTUATING THIS PLAN AND IMPLEMENTATION OF THIS
                                      PLAN
23
      A.     Funding for this Plan.
24
             This Plan will be funded from the following five sources: (i) the Remaining Estate Funds;
25
      (ii) any funds remaining in the Debtors’ operating accounts on the Effective Date; (iii) any
26
      refunds or other monies owing to the Debtors which were not sold to BBI; (iv) any net proceeds
27

28    obtained by the OCEH or the Trust from the pursuit of any claims or causes of action and from


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     Case 1:17-bk-12408-MB         Doc 438 Filed 02/09/18 Entered 02/09/18 13:18:51                Desc
                                   Main Document    Page 51 of 111


 1    “Retained Assets” as defined under the APA; (v) any other monetary recoveries obtained by the
 2    Debtors prior to the Effective Date; and (vi) any other monetary recoveries obtained by the OCEH
 3
      before the Effective Date or the Trust after the Effective Date.
 4
      B.      Effective Date Resignation of the Management and Board of Directors of the
 5
      Debtors.
 6

 7            The Debtors currently anticipate that effective as of the close of business on the Effective

 8    Date, at the request of the OCEH, Mr. Geoff Greulich will resign from his position as the

 9    Debtors’ Chief Executive Officer; Mr. Matthew Pliskin will resign from his position as the
10
      Debtors’ Chief Financial Officer; Mr. Ben Padnos will resign from his position as a Board
11
      member; and Mr. Mike DiGregorio will resign from his position as a Board member. The Trustee
12
      shall have the right, but not the obligation, to employ any of these people to assist the Trustee to
13
      carry out his/her duties as Trustee if he/she so desires (with the approval of the Trust Board) and
14

15    is able to reach an agreement with any of these individuals on mutually agreeable terms.

16    C.      Dissolution of the OCUC.
17            In the event the OCUC is still in existence by the Effective Date, on the Effective Date,
18
      the OCUC shall be deemed automatically dissolved without the need for any further order of the
19
      Court, and all remaining members of the OCUC shall be automatically deemed discharged of any
20
      further duties involving the Estates.
21

22    D.      Dissolution of the OCEH.

23            On the Effective Date, the OCEH shall be deemed automatically dissolved without the

24    need for any further order of the Court, and all members of the OCEH shall be automatically
25    deemed discharged of any further duties involving the Estates in their capacity as members of the
26
      OCEH.
27
      E.      Dissolution of the Debtors.
28

                                                       46
     Case 1:17-bk-12408-MB          Doc 438 Filed 02/09/18 Entered 02/09/18 13:18:51                Desc
                                    Main Document    Page 52 of 111


 1           At such time as the Trustee deems appropriate, the Trustee will cause the Debtors to be
 2    dissolved for all purposes under applicable non-bankruptcy law without the necessity for any
 3
      other or further actions to be taken by or on behalf of the Debtors, or payment of any fees,
 4
      charges, penalties or other amounts required by applicable non-bankruptcy law. Notwithstanding
 5
      the foregoing, the Trustee shall be authorized to take any actions, including the filing or recording
 6

 7    of any documents and the making of any applicable tax filings, and the payment of any fees,

 8    charges or other amounts necessary or appropriate, in the reasonable opinion of the Trustee or as

 9    otherwise ordered by the Court or other judicial or administrative body, to dissolve all of the
10
      Debtors and to pay any such fees, charges or other amounts from the Trust Property, provided,
11
      however, that the Trustee may file on behalf of the Debtors, with the official public office for
12
      keeping corporate records in its state or district of organization, a certificate of dissolution or
13
      equivalent document. The Trustee will take all actions on behalf of either or both of the Debtors
14

15    to effectuate the dissolution of such Debtor or including, without limitation, the execution and

16    filing or recording of such a certificate of dissolution.
17    F.     Creation of the Trust.
18
             On the Effective Date, a trust (the “Trust”) will be created pursuant to this Plan and the
19
      Trust Agreement solely for the benefit of the Shareholders. The Effective Date of this Plan shall
20
      also be the effective date of the Trust. It is currently anticipated that the three current members of
21

22    the OCEH (Scott Jarus, Ron Chez and Patrick O’Brien) will serve as the initial members of the

23    Trust Board (the “Trust Board Members”).

24    G.     Appointment of Disbursing Agent.
25           LNBYB (solely in its capacity as Escrow Agent) will serve as the initial disbursing agent
26
      for the Estates at no charge to the Estates for the sole remaining purpose of (1) distributing funds
27
      from the Remaining Estate Funds to pay any Allowed Claims existing on the Effective Date; (2)
28

                                                         47
     Case 1:17-bk-12408-MB        Doc 438 Filed 02/09/18 Entered 02/09/18 13:18:51               Desc
                                  Main Document    Page 53 of 111


 1    to pay the allowed final fees and expenses of the professionals employed in the Cases
 2    (recognizing that the amount of the final fees and expenses of the professionals employed in the
 3
      Cases will only become known following the final fee hearing which will occur after the Effective
 4
      Date); (3) maintaining in the Trust Account the Residual Estate Funds and paying Allowed Class
 5
      1 Claims and any allowed tax claims in the manner described above; (4) maintain the Class 3
 6

 7    Reserve Fund and pay any Class 3 Allowed Claim out of the Class 3 Reserve Fund; and (5)

 8    maintain the Class 4 Reserve Fund and pay any Cordes and Aisenberg Allowed Claims out of the

 9    Class 4 Reserve Fund.7
10
             As an accommodation to the Estates, the Escrow Agent will not be paid any disbursing
11
      agent’s or escrow fee for making any disbursements under this Plan, but the Trustee will be
12
      required to pay LNBYB out of the Trust Property the reasonable fees and expenses that LNBYB
13
      incurs after the Effective Date at LNBYB’s regular hourly rates related to time spent by LNBYB
14

15    after the Effective Date in regards to this entire claims process established for dealing with all

16    disputed claims. Any dispute which arises or exists between the Trustee and LNBYB over the
17    amount of fees and expenses incurred by LNBYB after the Effective Date in this regard shall be
18
      resolved solely by the Court after notice and a hearing. LNBYB shall be entitled to charge its
19
      fees and expenses incurred in regards to any such dispute only if LNBYB is successful at any
20
      such contested hearing.
21

22           All payments to be made under this Plan by the Escrow Agent shall, unless agreed by the

23    Escrow Agent otherwise or as otherwise ordered by the Court, be delivered by the Escrow Agent

24    by regular mail, postage prepaid, to the address shown in the Debtors’ bankruptcy schedules, as
25
      7
26      The OCEH reserves the right, with the consent of the Debtors which is hereby granted, to
      change the identity of the Escrow Agent who shall maintain in the Trust Account the Residual
27    Estate Funds, the Class 3 Reserve Funds, the Class 4 Reserve Funds and pay the Allowed Class 1
      Claims, any Class 3 Allowed Claim, any Cordes and Aisenberg Allowed Claims, and any allowed
28    tax claims in the manner described above.

                                                     48
     Case 1:17-bk-12408-MB          Doc 438 Filed 02/09/18 Entered 02/09/18 13:18:51               Desc
                                    Main Document    Page 54 of 111


 1    they may from time-to-time be amended in accordance with Bankruptcy Rule 1000, or, if a
 2    different address is stated in a proof of claim timely filed with the Bankruptcy Court, to such
 3
      address. Checks issued to pay Allowed Claims shall be null and void (and may be voided by the
 4
      Escrow Agent) if not negotiated by the recipient within sixty (60) days after the date of issuance
 5
      thereof, with all funds related to such voided checks to be delivered by the Escrow Agent to the
 6

 7    Trust.

 8             As soon after the Effective Date as possible, the Escrow Agent will transfer to the Trustee

 9    in accordance with the manner as directed by the Trustee and in accordance with this Plan, all of
10
      the Remaining Estate Funds after deducting or reserving for each of the following: (1) all disputed
11
      tax claims in the amounts asserted by the taxing agencies; (2) all Disputed Class 1 Claims in the
12
      amounts asserted by the class 1 claimants; (3) the full amount of the fees and expenses requested
13
      by all of the professionals employed in the Cases (recognizing that these figures will not become
14

15    known until all such professionals filed their final applications for fees and expenses incurred

16    through the Effective Date which necessarily will occur at some point after the Effective Date);
17    (4) the Class 3 Reserve Fund; and (5) the Class 4 Reserve Fund.
18
               Once the Escrow Agent has paid (1) all Allowed Claims existing on the Effective Date;
19
      (2) the final fees and expenses of the professionals employed in the Cases the amounts allowed by
20
      the Court at a final fee hearing; and (3) all Allowed Class 1 Claims and all allowed priority tax
21

22    claims, the Escrow Agent will transfer the balance of all of the remaining Residual Estate Funds

23    to the Trustee in accordance with the manner as directed by the Trustee and in accordance with

24    this Plan. Once the class 3 claim has been resolved to Final Order, the Escrow Agent will transfer
25    any remaining balance in the Class 3 Reserve Fund to the Trustee in accordance with the manner
26
      as directed by the Trustee and in accordance with this Plan. Once the claims of Cordes and
27
      Aisenberg have been resolved to Final Order, the Escrow Agent will transfer any remaining
28

                                                       49
     Case 1:17-bk-12408-MB         Doc 438 Filed 02/09/18 Entered 02/09/18 13:18:51                Desc
                                   Main Document    Page 55 of 111


 1    balance in the Class 4 Reserve Fund to the Trustee in accordance with the manner as directed by
 2    the Trustee and in accordance with this Plan. Thereafter, the Escrow Agent shall be absolved of
 3
      any further responsibility, obligation or liability to the Estates resulting from service as the
 4
      Escrow Agent and/or the Disbursing Agent.
 5
             After the Escrow Agent has paid the final fees and expenses of the professionals employed
 6

 7    in the Cases the amounts allowed by the Court at a final fee hearing, or at any time thereafter that

 8    the Trustee so desires, subject to the approval of the Trust Board and an order of the Court and

 9    payment of any fees and expenses owing to the Escrow Agent for serving as the Disbursing Agent
10
      as described above, the Trustee may appoint a different disbursing agent (“Alternative Disbursing
11
      Agent”) for the purpose of making the distributions under this Plan as described above. The
12
      Alternative Disbursing Agent shall be a person or entity satisfactory to the Trust Board and
13
      approved by the Court and shall serve without a bond. The Alternative Disbursing Agent shall be
14

15    entitled to reasonable compensation and reimbursement of all reasonable and actual costs and

16    expenses incurred in performing its duties under this Plan. Following the appointment of any
17    Alternative Disbursing Agent, the Escrow Agent shall thereafter be absolved of any further
18
      responsibility, obligation or liability to the Estates resulting from serving as the Escrow Agent
19
      and/or the Disbursing Agent.
20
      H.     Exemption from Transfer Taxes.
21

22           Pursuant to § 1146(c) of the Bankruptcy Code, the issuance, transfer or exchange of a

23    security, or the making or delivery of an instrument of transfer under a plan confirmed under §

24    1129 of the Bankruptcy Code, may not be taxed under any law imposing a stamp tax or similar
25    tax. Transfers under this Plan that are exempt from taxes under § 1146(c) of the Bankruptcy
26
      Code include all transfers by the Debtors after the commencement of the Cases in contemplation
27
      of this Plan but prior to the Effective Date, and all transfers to and by the Trustee as contemplated
28

                                                       50
     Case 1:17-bk-12408-MB         Doc 438 Filed 02/09/18 Entered 02/09/18 13:18:51                Desc
                                   Main Document    Page 56 of 111


 1    by this Plan and the Trust, including all payments made to claim holders and Shareholders in
 2    accordance with the terms of this Plan and the Trust. The taxes from which such transfers are
 3
      exempt include stamp taxes, recording taxes, sales and use taxes, transfer taxes, and other similar
 4
      taxes.
 5
      I.       Executory Contracts and Unexpired Leases.
 6

 7             As indicated above, pursuant to the Sale Order, all of the Debtors’ executory contracts and

 8    unexpired leases that were not assumed and assigned to BBI were deemed rejected as of the Sale

 9    Closing, with the exception of the two supplier agreements with GGS and Grainger whose
10
      rejection can happen only following the entry of an order of the Court approving such rejection.
11
      In accordance with the Sale Order, the Debtors have already provided notice to all counter-parties
12
      to all rejected executory contracts and unexpired leases of their bar date for filing any rejection
13
      damage claims against the Estates. That rejection bar date is December 27, 2017, with one
14

15    exception involving an executory contract that the Debtors only recently learned about who has

16    been served with a separate rejection bar date notice. Following the entry of the Court order
17    approving the Debtors’ rejection of the two supplier agreements with GGS and Grainger, the
18
      Debtors will provide GGS and Grainger with a thirty-day notice to file any contract rejection
19
      claim they wish to assert.
20
      J.       Changes in Rates Subject to Regulatory Commission Approval.
21

22             The Debtors are not subject to any governmental regulatory commission approval of their

23    rates.

24    K.       Administrative Claims Bar Date.
25             In connection with the confirmation of this Plan, the Plan Proponents will be requesting
26
      the Court to establish the date that is thirty days following the date of entry of the Plan
27
      Confirmation Order as the deadline for any creditor to assert an administrative claim against the
28

                                                       51
     Case 1:17-bk-12408-MB         Doc 438 Filed 02/09/18 Entered 02/09/18 13:18:51                  Desc
                                   Main Document    Page 57 of 111


 1    Estates (the “Administrative Claims Bar Date”). Provided the Court agrees, the Administrative
 2    Claims Bar Date and the procedure that creditors will be required to follow in order to assert a
 3
      timely administrative claim against the Estates will be included in the Plan Confirmation Order.
 4
      As part of the notice of Plan confirmation that the Debtors will distribute to all creditors and
 5
      Shareholders, the Debtors will provide notice of the Administrative Claims Bar Date.       In order to
 6

 7    assert a timely administrative claim, a creditor must file a pleading with the Court by the

 8    Administrative Claims Bar Date in which the creditor indicates the amount of its asserted

 9    administrative claim and attaches as an exhibit all documentary evidence in support of its asserted
10
      administrative claim and serve that pleading on counsel for the Debtors and counsel for the
11
      Trustee. The creditor is not required to set the matter for hearing. Any creditor who fails to file a
12
      timely administrative claim shall be forever barred from asserting any administrative claim
13
      against the Debtors, the Estates, or the Trust. The Trustee shall be required to file with the Court
14

15    any objection to any asserted administrative claim by the date that is ninety days after the

16    Effective Date and to set the matter for hearing. If the Trustee and the creditor are able to resolve
17    any dispute consensually, the Trustee may file a stipulation and proposed order with the Court
18
      without the need to set the matter for hearing, with the stipulation to be signed by the Trustee and
19
      the creditor. If the Trustee fails to file a timely objection to any timely filed administrative claim,
20
      the timely filed administrative claim shall be deemed permanently allowed and must be paid in
21

22    full by the Trustee out of the Trust Property.         The foregoing deadlines for the filing of

23    administrative claims by the Administrative Claims Bar Date shall not apply to the professionals

24    employed in the Cases by the Debtors, the OCUC or the OCEH.                   The deadline for such
25    professionals to file their final applications for fees and expenses shall be set by the Court in the
26
      Plan Confirmation Order.
27
      L.     Assignment of all Causes of Action, Including Avoidance Actions, to the Trust.
28

                                                        52
     Case 1:17-bk-12408-MB        Doc 438 Filed 02/09/18 Entered 02/09/18 13:18:51                Desc
                                  Main Document    Page 58 of 111


 1           On the Effective Date, pursuant to § 1123(b)(3) of the Bankruptcy Code, the standing and
 2    the exclusive authority to assert, prosecute, defend and/or settle on behalf of the Estates any and
 3
      all claims and causes of action that belong to the Estates, including the Radians Claim Objection
 4
      and Lawsuit, will be automatically assigned and transferred to the Trust (the “Transferred Claims
 5
      and Causes of Action”). Thereafter, the Trustee, with all powers and authority of a debtor in
 6

 7    possession or trustee under the Bankruptcy Code, will be the sole representative of the Estates

 8    with the standing and authority to assert, prosecute, defend and/or settle the Transferred Claims

 9    and Causes of Action. In the course of any ongoing investigations, the Trustee shall have the
10
      right post-confirmation to utilize Bankruptcy Rule 2004 examinations, to be enforced pursuant to
11
      Bankruptcy Rule 2005.
12
             On November 21, 2017, as docket number 244, the Debtors and the OCEH filed a joint
13
      motion with the Court seeking an order of the Court: (1) granting leave, standing, and exclusive
14

15    authority to the OCEH to assert, prosecute and/or settle on behalf of the Estates, subject to Court

16    approval, any and all claims, objections and causes of action against Cordes and Aisenberg (the
17    Debtors’ former officers), and counter claims and defenses against any of the claims asserted by
18
      Cordes and Aisenberg, including those claims asserted in their proofs of claim against the
19
      Debtors; and (2) approving that certain Stipulation Granting Standing To Pursue Certain Estate
20
      Based Claims For The Benefit Of The Debtors’ Estates (the “Cordes/Aisenberg Assignment
21

22    Stipulation”) filed concurrently therewith. The hearing on that motion is scheduled to be held on

23    December 12, 2017. That motion was granted by the Court. As a result, all rights assigned to the

24    OCEH by the Cordes/Aisenberg Assignment Stipulation will, on the Effective Date, be
25    automatically assigned and transferred to the Trust and are included within the Transferred
26
      Claims and Causes of Action.
27

28

                                                      53
     Case 1:17-bk-12408-MB         Doc 438 Filed 02/09/18 Entered 02/09/18 13:18:51                Desc
                                   Main Document    Page 59 of 111


 1            Without limiting the foregoing, the Trustee, acting on behalf of the Liquidating Debtor,
 2    shall accede to and become the holder of all rights in and to any confidentiality agreements, joint
 3
      defense agreements, and privilege agreements. Any proceeds received from or on account of the
 4
      Transferred Claims and Causes of Action shall constitute assets of the Estates and shall vest
 5
      entirely in the Trust.
 6

 7            Because these are solvent Estates, no preference actions may be pursued because the

 8    Estates would not be able to satisfy the condition of § 547(b)(3) or (5) of the Bankruptcy Code.

 9    As a result, it is not necessary for the Debtors, the Trustee or any other party to perform any
10
      preference analysis.
11
      M.      Objections to Claims.
12
              On and following the Effective Date, the Trustee shall be the sole party with the standing
13
      to commence or to continue with the prosecution of any objections to claims in the Cases with
14

15    respect to any remaining outstanding claims existing on the Effective Date (the “Disputed

16    Claims”). The Trustee shall be required to file objections to all Disputed Claims by no later than
17    ninety days following the Effective Date (unless the Trustee deems the amount in dispute to be
18
      insignificant and not warrant further objection), provided that, such date shall not bar later
19
      objections. The Trustee shall be required to file with the Court all objections to all Disputed
20
      Claims by the date that is ninety days after the Effective Date and to set the matter for hearing. If
21

22    the Trustee and the creditor holding the Disputed Claim are able to resolve any dispute

23    consensually, the Trustee may file a stipulation and proposed order with the Court without the

24    need to set the matter for hearing, with the stipulation to be signed by the Trustee and the creditor
25    holding the Disputed Claim. If the Trustee fails to file a timely objection to any Disputed Claim,
26
      the Disputed Claim shall be deemed permanently allowed and must be paid in full by the Trustee
27
      out of the Trust Property.
28

                                                       54
     Case 1:17-bk-12408-MB         Doc 438 Filed 02/09/18 Entered 02/09/18 13:18:51                Desc
                                   Main Document    Page 60 of 111


 1           The Trustee will continue with the prosecution of any objections to claims (the “Pending
 2    Claims Objections”) that were commenced by the Debtors, the OCEH or any other party in
 3
      interest prior to the Effective Date but not yet resolved by the Effective Date. The Trustee will
 4
      have the authority, in the Trustee’s sole discretion and in the reasonable exercise of the Trustee’s
 5
      business judgment (subject to the Trust Board’s approval), to withdraw any such pending
 6

 7    objections or settle or compromise any Pending Claims Objections following the Effective Date

 8    without further notice to creditors or Shareholders or authorization of the Court, in which event

 9    such claim shall be deemed to be an Allowed Claim in the amount compromised for purposes of
10
      this Plan and paid in full by the Trustee from the Trust Property, provided however, pursuant to
11
      Article 11(a) of this Plan, the Court shall retain jurisdiction to hear and adjudicate the allowance
12
      or disallowance of all Pending Claims Objections.
13
             As provided by § 502(c) of the Bankruptcy Code, the Court may estimate for purpose of
14

15    allowance any contingent or unliquidated claim, the fixing or liquidation of which, as the case

16    may be, would unduly delay the administration of the Cases. As more fully set forth below in
17    Article 11(a) of this Plan, the Court shall retain jurisdiction over the Liquidating Debtor, the
18
      Trust, the Cases and the Estates to resolve or adjudicate all such objections to claims following
19
      the Effective Date regardless of whether such objections to claims were first commenced before
20
      or after the Effective Date. Nothing contained in this Plan shall constitute a waiver or release by
21

22    the Trustee of any rights of setoff or recoupment, or of any defense, the Trustee may have with

23    respect to any claim or interest.

24                                          VI.     THE TRUST
25    A.     Transfer of Property to the Trust.
26
             On the Effective Date, or as soon thereafter as is reasonably practicable, the Escrow Agent
27
      will transfer to the Trustee for deposit into the Trust all of the Remaining Estate Funds after
28

                                                      55
     Case 1:17-bk-12408-MB         Doc 438 Filed 02/09/18 Entered 02/09/18 13:18:51                  Desc
                                   Main Document    Page 61 of 111


 1    deducting or reserving for each of the following: (1) all disputed tax claims in the amounts
 2    asserted by the taxing agencies; (2) all Disputed Class 1 Claims in the amounts asserted by the
 3
      class 1 claimants; and (3) the full amount of the fees and expenses requested by all of the
 4
      professionals employed in the Cases (recognizing that these figures will not become known until
 5
      all such professionals filed their final applications for fees and expenses incurred through the
 6

 7    Effective Date which necessarily will occur at some point after the Effective Date). If the Trustee

 8    chooses a disbursing agent other than the Escrow Agent, the Escrow Agent shall, in accordance

 9    with an order of the Court, transfer all of the Residual Estate Funds to the new disbursing agent.
10
             On the Effective Date, except as otherwise provided above, the Debtors will transfer to the
11
      Trustee for deposit into or for the benefit of the Trust all (1) funds remaining in the Debtors’
12
      operating accounts on the Effective Date (after taking into account any outstanding issued but not
13
      yet cleared checks and any normal operating expenses incurred through the Effective Date but not
14

15    yet paid by the Effective Date), (2) all rights of the Estates to any refunds or other monies owing

16    to the Debtors which were not sold to BBI, and (3) all rights of the Estates to any other monetary
17    recoveries obtained by the Trust after the Effective Date. All of the foregoing property, plus any
18
      other assets owned by the Debtors or the Estates, including, without limitation, the “Retained
19
      Assets” under the APA, including (i) the equity securities and other interests of ICPW Nevada in
20
      ICPW California, (ii) insurance policies and all rights, claims, creditors or causes of action
21

22    thereunder or in connection with, and (iii) all right, title and interest in all claims and causes of

23    action (including the Transferred Claims and Causes of Action, together with all rights of

24    recovery or set-off, shall constitute property of the Trust (collectively, the “Trust Property”).
25           The Trust Property shall be transferred to the Trust created pursuant to the Trust
26
      Agreement. All payments to Shareholders shall be paid by the Trustee from cash on hand and
27
      such payments will be made as and when provided in and in accordance with the Trust
28

                                                        56
     Case 1:17-bk-12408-MB        Doc 438 Filed 02/09/18 Entered 02/09/18 13:18:51                Desc
                                  Main Document    Page 62 of 111


 1    Agreement.
 2    B.       The Trust Agreement.
 3
               An initial draft of the Trust Agreement is attached hereto as Exhibit “2.” The Trust
 4
      Agreement, including the designation of the trustee (the “Trustee”) thereunder, shall be approved
 5
      by the Court, and the designated Trustee shall accept his or her duties thereunder on or before the
 6

 7    Plan Confirmation Hearing. The Trust Agreement shall, among other matters, create the Trust,

 8    identify the Trustee as the initial trustee of the Trust, identify the compensation of the Trustee,

 9    and specify the authorities and powers of the Trustee and the Trust Board consistent with this
10
      Plan. The Plan Proponents will file the final version of the Trust Agreement with the Court and
11
      the proposed initial compensation of the Trustee at least ten days prior to the Plan Confirmation
12
      Hearing.
13
      C.       Funding of the Trust.
14

15             The Trust will be funded with the Trust Property. It will be the responsibility of the

16    Trustee at all times to maintain a sufficient amount of Trust Property to enable the Trustee to pay
17    from the Trust Property all taxes owing by the Estates, including any taxes owing by the Estates
18
      from the Debtors’ asset sale to BBI. That portion of the Remaining Estate Funds transferred by
19
      the Escrow Agent to the Trust shortly after the Effective Date will serve as the primary funding of
20
      the Trust.
21

22    D.       Management of the Liquidating Debtor by the Trustee and Primary Functions of the

23    Trust.

24             (1)    Powers and Duties. On and after the Effective Date, the Trustee shall be
25    responsible for implementation of this Plan, including with respect to the management, control
26
      and operation of the Liquidating Debtor. The appointment, duties and powers of the Trustee are
27
      as set forth in Article III of the Trust Agreement. The establishment and role of the Trust Board
28

                                                      57
     Case 1:17-bk-12408-MB         Doc 438 Filed 02/09/18 Entered 02/09/18 13:18:51                 Desc
                                   Main Document    Page 63 of 111


 1    are as set forth in Article IV of the Trust Agreement. The administration of the Trust, including
 2    the rights, powers and privileges of the Trustee, is as set forth in Article V of the Trust
 3
      Agreement. The distributions from the Trust are as set forth in Article VI of the Trust Agreement.
 4
      An explanation of the Trust Beneficiaries is as set forth in Article VII of the Trust Agreement.
 5
      An explanation of the third party rights, limitation of liability and indemnity provisions is as set
 6

 7    forth in Article VIII of the Trust Agreement. An explanation of the selection, removal and

 8    compensation of the Trustee is as set forth in Article IX of the Trust Agreement.

 9           (2)     Tax Treatment. (A) The Trust is intended to be treated for federal income tax
10
      purposes as a liquidating trust within the meaning of Treasury Regulation section 301.7701-4(d),
11
      for the benefit of the holders of Class 2 interests. The Trust shall be a grantor trust as defined in
12
      Section 671 of the Code with each holder of Class 2 interests treated as a grantor of the Trust.
13
             (B) For all U.S. federal income tax purposes, all parties shall treat the transfer of assets by
14

15    the Debtors to the Trust for the benefit of the holders of Class 2 interests, as (i) a transfer of the

16    assets of the Debtors directly to the holders of Class 2 interests, followed by (ii) the transfer by
17    such persons to the Trust of such assets in exchange for beneficial interests in the Trust.
18
      Accordingly, the holders of Class 2 interests shall be treated for federal income tax purposes as
19
      the grantors and owners of their respective shares of the applicable assets of the Trust.
20
             (C) The Trust Agreement provides for (i) the Trust to determine the fair market value of
21

22    the Trust Assets, (ii) the Trust to provide the fair market value determinations to each Trust

23    Beneficiary, and (iii) consistent valuation of the Trust Assets by the Trustee and the Trust

24    Beneficiaries for federal income tax purposes.
25    E.     Operations of the Trust.
26
             From and after the Effective Date, the Trust may use and dispose of Trust Property, and
27
      take any of the actions consistent with this Plan and/or the Trust Agreement without the approval
28

                                                       58
     Case 1:17-bk-12408-MB        Doc 438 Filed 02/09/18 Entered 02/09/18 13:18:51               Desc
                                  Main Document    Page 64 of 111


 1    of the Court and free of the restrictions of the Bankruptcy Code, the Bankruptcy Rules, and the
 2    Local Bankruptcy Rules, provided that the Trust will be administered so that it qualifies as a
 3
      liquidating trust under Treasury Regulation § 301.7701-4(d). The actions of the Trust and the
 4
      Trustee shall be subject to the supervision and approval of the Trust Board as provided in this
 5
      Plan and the Trust Agreement.
 6

 7           In addition to all other powers and authorities provided to the Trustee under the Trust

 8    Agreement, under this Plan and subject to the Trust Agreement, the Trustee, with the oversight of

 9    the Trust Board, shall have the power and authority to perform the following acts:
10           (1)     Manage and protect the Trust Property;
11           (2)     Administer the Stock Incentive Plan;
12           (3)     Effectuate the wind down and ultimate dissolution of the Debtors as legal entities
                     as set forth above)
13
             (4)     Address any outstanding issues with the SEC;
14
             (5)     Analyze the Transferred Claims and Causes of Action, and any other claims,
15                   counterclaims and defenses the Trustee deems appropriate, and decide (i) whether
                     to pursue any of the foregoing, and (ii) how to pursue them, all with the goal of
16                   maximizing the net recovery for the Trust for the Record Holders, provided,
                     however, that the Trust Board must unanimously take any decision to initiate,
17                   settle or compromise any litigation in the name of the Trust or the Debtors against
                     any former officer or director of the Debtors;
18
             (6)     File and prosecute objections to all Disputed Claims as the Trustee deems
19                   appropriate;
20           (7)     Pursue claims, counterclaims, and causes of action assigned to the Trust or the
                     control of which is assumed by the Trust pursuant to this Plan, as the designated
21                   representative of the Estates, and compromise or adjust, by arbitration or
                     otherwise, any claims, disputes or controversies in favor of or against the Trust;
22
             (8)     Institute on behalf of the Trust all claims and causes of action which could be
23                   brought by a trustee or debtor-in-possession under the Bankruptcy Code, and
                     prosecute or defend all appeals on behalf of the Debtors, as representative of the
24                   Debtors within the meaning of § 1123(b)(3)(B) of the Bankruptcy Code;
25           (9)     Settle, compromise or adjust, by arbitration or otherwise, any claims, disputes or
                     controversies in favor of or against the Trust;
26
             (10)    Waive or release rights of any kind;
27
             (11)    Deposit Trust Property and make disbursements thereof;
28

                                                      59
     Case 1:17-bk-12408-MB         Doc 438 Filed 02/09/18 Entered 02/09/18 13:18:51                 Desc
                                   Main Document    Page 65 of 111


 1
             (12)    Employ and have such professionals, including, without limitation, attorneys and
 2                   accountants, and such other agents, consultants and employees on behalf of the
                     Trust as the Trustee shall deem necessary, provided that the Trustee's authority to
 3                   pay such professionals shall be governed by the provisions of this Plan and the
                     Trust Agreement.
 4
             (13)    Exercise any and all powers granted to the Trustee by any agreements or by
 5                   common law or any statute which serves to increase the extent of the powers
                     granted to the Trustee hereunder and in the Trust Agreement;
 6
             (14)    Take any action required or permitted by this Plan;
 7
             (15)    Negotiate, renegotiate and enter into contracts and execute obligations negotiable
 8                   and non-negotiable;

 9           (16)    Pay post-Effective Date quarterly fees to the U.S. Trustee from Trust Property;

10           (17)    Prepare and file post-confirmation quarterly reports with the U.S. Trustee and post-
                     confirmation status reports with the Court as required;
11
             (18)    Retain a sufficient amount of Trust Funds equal to the amount of any estimated
12                   post-petition tax obligations until such time as the exact amount of such estimated
                     post-petition tax obligations is determined and paid by the Trustee out of the Trust
13                   Property; and
14           (19)    File and obtain final decrees closing the Cases.
15
      F.     Limitation of Liability of the Trustee and the Trust Board.
16
             The Trustee and the Trust Board Members, and their attorneys, accountants, consultants,
17

18    employees, agents and assignees, shall have no liability for any error of judgment made in good

19    faith other than as a result of gross negligence or willful misconduct. The Trustee and the Trust
20    Board shall not be liable for any action taken or omitted in good faith and believed to be
21
      authorized within the discretion or rights or powers conferred upon them by this Plan and the
22
      Trust Agreement.     In performing their duties hereunder and in accordance with the Trust
23
      Agreement, the Trustee and the Trust Board Members may consult with counsel selected by them,
24

25    at the expense of the Trust. No provisions of this Plan shall require the Trustee or any of the

26    Trust Board Members to expend or risk his/her own funds or otherwise incur personal financial

27    liability in the performance of any of his/her duties under this Plan or in the exercise of any of the
28

                                                       60
     Case 1:17-bk-12408-MB         Doc 438 Filed 02/09/18 Entered 02/09/18 13:18:51                Desc
                                   Main Document    Page 66 of 111


 1    Trustee’s and the Trustee Board Members’ rights and powers. The Trust shall indemnify and
 2    hold the Trustee and Trust Board Members harmless, from and against any damages, costs, claims
 3
      and other liabilities incurred by any of them in connection with their respective duties and
 4
      responsibilities hereunder, other than those damages, costs, claims and other liabilities that result
 5
      from such party’s gross negligence or willful misconduct. The Trustee may purchase errors and
 6

 7    omissions insurance to cover potential liabilities that may be incurred in the Cases, and such cost

 8    shall be paid for by the Trust.

 9    G.      Compensation for the Trustee and the Trust Board Members after the Effective
10
      Date.
11
              The Trustee and each of the Trust Board Members shall be entitled to reasonable
12
      compensation for their activities on behalf of the Trust. The terms of such compensation shall be
13
      subject to the approval of the Court on or prior to the Effective Date after notice and hearing upon
14

15    the joint motion of the Plan Proponents, but shall not be subject to the limitations of § 326 of the

16    Bankruptcy Code.
17    H.      Employment of Professionals By the Trustee and Payment of Professional Fees and
18
      Expenses By the Trustee Incurred after the Effective Date.
19
              After the Effective Date, the Trust Board and the Trustee may retain any existing
20
      professionals and hire additional professionals they desire and deem appropriate to represent
21

22    them, including any professionals employed by the OCEH, without the need for any further

23    employment agreements or Court orders. The Trustee, under the supervision of the Trust Board,

24    shall have the right to cause the Trust to employ any other professionals that the Trustee deems
25    appropriate to represent the Trust to assist the Trustee to carry out the Trustee’s duties in
26
      accordance with the Trust Agreement and to compensate such professionals out of the Trust
27
      Property without any further order of or supervision by the Court.           The OCEH currently
28

                                                       61
     Case 1:17-bk-12408-MB        Doc 438 Filed 02/09/18 Entered 02/09/18 13:18:51               Desc
                                  Main Document    Page 67 of 111


 1    anticipates that the Trustee and the Trust Board will retain Dentons US LLP as its bankruptcy and
 2    general counsel and Solomon & Cramer LLP as its special litigation counsel.
 3
             Additionally, after the Effective Date, the Trustee may hire professionals without the
 4
      requirement that such professionals file employment applications for Court approval of their
 5
      employment, whether on an hourly, contingency fee or other basis, and without the requirement
 6

 7    that such professionals file applications for payment of post-Effective Date fees and expenses on

 8    an interim basis; provided, however, that no less frequently than every 180 days, such post-

 9    Effective Date professionals and the Trustee shall each file an application with the Court seeking
10
      final approval of their respective fees and expenses as previously invoiced or paid by the Trustee
11
      on an interim basis, as the case may be. Such applications shall be served on the UST; provided,
12
      however, such applications need not be separately served on parties in interest nor be in the
13
      format required by the Local Rules of the Bankruptcy Court or the UST’s Guidelines, but shall be
14

15    sufficiently detailed to identify the hours worked, the rates charged and the work performed

16    without disclosure of privileged information. In the case of fees or expenses paid on a basis
17    which is not by billable hours, the application shall include such other, sufficiently specific
18
      information so that the Court can otherwise determine the reasonableness of such fees and
19
      expenses.
20
                      VII.    PAYMENTS AND DISTRIBUTIONS IN GENERAL
21

22    A.     Distribution Procedures & Reserve Provisions.

23           The Trustee, under the supervision of the Trust Board, will determine the timing and

24    amount of distributions that the Trustee will make to the Shareholders from the Trust Property.
25    B.     Delivery of Payments.
26
             All payments to be made by the Trustee to the Shareholders shall be made to the best
27
      known address on the Record Date by checks issued by regular mail, postage prepaid or by wire
28

                                                     62
     Case 1:17-bk-12408-MB         Doc 438 Filed 02/09/18 Entered 02/09/18 13:18:51              Desc
                                   Main Document    Page 68 of 111


 1    transfer or other electronic transfer as appropriate.       All checks issued by the Trustee to
 2    Shareholders shall be null and void (and may be voided by the Trustee) if not negotiated by the
 3
      recipient within ninety (90) days after the date of issuance thereof.
 4
      C.     Rounding.
 5
             Whenever any payment of a fraction of a cent would otherwise be called for the actual
 6

 7    distribution shall reflect a rounding of such fraction down to the nearest cent.

 8    D.     Unclaimed Property.

 9           Shareholders have the obligation to provide the Trustee with written notice of any change
10
      to their address, which shall be told to the Shareholders in the Plan confirmation notice. Any
11
      Shareholder who fails to negotiate a check sent to them by the Trustee for 90 days after the date
12
      of issuance thereof shall forfeit all rights to any distribution under this Plan, and shall not be
13
      subject to the unclaimed property or escheat laws of any governmental unit. Upon forfeiture, such
14

15    cash (including interest thereon) shall be made available for re-distribution to all other

16    Shareholders. The Trustee may but is not required, to undertake reasonable efforts, in the
17    Trustee’s business judgment, to locate Shareholders whose distributions are returned or whose
18
      checks are not negotiated within 90 days after the date of issuance thereof.
19
                                 VIII. TAX CONSEQUENCES OF THIS PLAN
20
             CREDITORS AND SHAREHOLDERS CONCERNED WITH HOW THIS PLAN MAY
21

22    AFFECT      THEIR      TAX     LIABILITY       SHOULD       CONSULT        WITH    THEIR    OWN

23    ACCOUNTANTS, ATTORNEYS, AND/OR ADVISORS (INCLUDING TAX ADVISORS). The

24    following disclosure of possible tax consequences is intended solely for the purpose of alerting
25    readers about possible tax issues this Plan may present to the Estates. The Plan Proponents
26
      CANNOT and DO NOT represent that the tax consequences contained below are the only tax
27
      consequences of this Plan because the Tax Code embodies many complicated rules which make it
28

                                                       63
     Case 1:17-bk-12408-MB          Doc 438 Filed 02/09/18 Entered 02/09/18 13:18:51                   Desc
                                    Main Document    Page 69 of 111


 1    difficult to state completely and accurately all of the tax implications of any action.
 2            The Plan Proponents do not anticipate that confirmation of this Plan will have any
 3
      significant or materially negative effect on any tax liability of the Estates. However, the Plan
 4
      Proponents do believe that it is possible or even likely that the confirmation of this Plan may serve
 5
      to reduce or eliminate all or a portion of the Debtors’ current net operating loss carry forward
 6

 7    (NOL). The Plan Proponents have not performed any detailed analysis of the extent to which, if

 8    any, the confirmation of this Plan may have on the retention or loss of NOL or ability of any party

 9    to use any such NOL in the future. Any NOL which may be preserved through Plan confirmation
10
      shall be preserved under and by this Plan. The Plan Proponents have not performed any analysis of,
11
      and make no representations regarding, the potential tax consequences to creditors or Shareholders
12
      from the confirmation of or implementation of this Plan. Creditors and Shareholders who wish to
13
      understand the potential tax consequences to them from the confirmation of or implementation of
14

15    this Plan should consult with their own personal accountants, attorneys and/or advisors. The

16    various tax related services to be provided by BPE&H, including computing whether the Debtors’
17    prior sale to BBI resulted in any tax consequences to the Estates, is described above.
18
                   IX.     CONFIRMATION REQUIREMENTS AND PROCEDURES
19
              PERSONS OR ENTITIES CONCERNED WITH CONFIRMATION OF THIS PLAN
20
      SHOULD CONSULT WITH THEIR OWN ATTORNEYS BECAUSE THE LAW ON
21

22    CONFIRMING A PLAN OF REORGANIZATION IS VERY COMPLEX.                                      The following

23    discussion is intended solely for the purpose of alerting readers about basic confirmation issues,

24    which they may wish to consider, as well as certain deadlines for filing claims. The Plan
25    Proponents CANNOT and DO NOT represent that the discussion contained below is a complete
26
      summary of the law on this topic.
27

28

                                                         64
     Case 1:17-bk-12408-MB         Doc 438 Filed 02/09/18 Entered 02/09/18 13:18:51                 Desc
                                   Main Document    Page 70 of 111


 1            Many requirements must be met before the Court can confirm a plan. Some of the
 2    requirements include that this Plan must be proposed in good faith, acceptance of this Plan (which
 3
      does not apply to this Plan), whether this Plan pays creditors at least as much as creditors would
 4
      receive in a chapter 7 liquidation, and whether this Plan is feasible. These requirements are not
 5
      the only requirements for confirmation.
 6

 7    A.      Who May Vote to Accept/Reject this Plan.

 8            A creditor or interest holder has a right to vote for or against this Plan if that creditor or

 9    interest holder has a claim or interest which is both (1) allowed or allowed for voting purposes
10
      and (2) classified in an impaired class. As indicated above, all creditors and all Shareholders are
11
      not impaired and therefore are not entitled to vote on this Plan because they are conclusively
12
      presumed to have accepted this Plan.
13
      B.      What Is an Allowed Claim/Interest.
14

15            Generally, any proof of claim or interest will be allowed, unless a party in interest files an

16    objection to the claim or interest. THE BAR DATE FOR FILING A PROOF OF CLAIM IN
17    THE CASES WAS OCTOBER 20, 2017. A creditor or interest holder may have an allowed
18
      claim or interest even if a proof of claim or interest was not timely filed. A claim is deemed
19
      allowed if (1) it is scheduled on the Debtors’ schedules and such claim is not scheduled as
20
      disputed, contingent, or unliquidated, and (2) no party in interest has objected to the claim. A
21

22    claim is also deemed allowed if (1) it was timely filed, and (2) no party in interest has objected to

23    the claim. An interest is deemed allowed if it is scheduled and no party in interest has objected to

24    the interest.
25    C.      What Is an Impaired Claim/Interest.
26
              A class is impaired if this Plan alters the legal, equitable, or contractual rights of the
27
      members of that class. For example, a class comprised of general unsecured claims is impaired if
28

                                                       65
     Case 1:17-bk-12408-MB        Doc 438 Filed 02/09/18 Entered 02/09/18 13:18:51                Desc
                                  Main Document    Page 71 of 111


 1    this Plan fails to pay the members of that class 100% of what they are owed. As indicated above,
 2    the Plan Proponents believe that there are no impaired classes under this Plan.          The Plan
 3
      Proponents believe that both class 1 (general unsecured creditors) and class 2 (Shareholders) are
 4
      not impaired. Parties who dispute the Plan Proponents’ characterization of their claim or interest
 5
      as being impaired or unimpaired may file an objection to this Plan contending that the Plan
 6

 7    Proponents have incorrectly characterized the class.

 8    D.     Who Is Not Entitled to Vote.

 9           The following four types of claims are not entitled to vote on any plan: (1) claims that
10
      have been disallowed; (2) claims in unimpaired classes; (3) claims entitled to priority pursuant to
11
      Bankruptcy Code §§ 507(a)(2), (a)(3), and (a)(8); and (4) claims in classes that do not receive or
12
      retain any value under this Plan. Claims in unimpaired classes are not entitled to vote because
13
      such classes are deemed to have accepted this Plan. Claims entitled to priority pursuant to
14

15    Bankruptcy Code §§ 507(a)(2), (a)(3), and (a)(8) are not entitled to vote because such claims are

16    not placed in classes and they are required to receive certain treatment specified by the
17    Bankruptcy Code. Claims in classes that do not receive or retain any value under this Plan do not
18
      vote because such classes are deemed to have rejected this Plan. EVEN IF YOUR CLAIM IS OF
19
      THE TYPE DESCRIBED ABOVE, YOU MAY STILL HAVE A RIGHT TO OBJECT TO THE
20
      CONFIRMATION OF THIS PLAN.
21

22    E.     Treatment of Non-Accepting Classes.

23           As noted above, even if all impaired classes do not accept this Plan, the Court may

24    nonetheless confirm this Plan if the non-accepting classes are treated in the manner required by
25    the Bankruptcy Code. The process by which non-accepting classes are forced to be bound by the
26
      terms of a plan is commonly referred to as “cramdown.” The Bankruptcy Code allows this Plan
27
      to be “crammed down” on non-accepting classes of claims or interests if it meets all consensual
28

                                                      66
     Case 1:17-bk-12408-MB          Doc 438 Filed 02/09/18 Entered 02/09/18 13:18:51                 Desc
                                    Main Document    Page 72 of 111


 1    requirements except the voting requirements of 1129(a)(8) and if this Plan does not “discriminate
 2    unfairly” and is “fair and equitable” toward each impaired class that has not voted to accept this
 3
      Plan as referred to in 11 U.S.C. § 1129(b) and applicable case law. The Plan Proponents believe
 4
      that no “cram down” needs to occur in the Cases because there are no impaired classes under this
 5
      Plan.
 6

 7    F.      Request for Confirmation Without Any Voting on this Plan.

 8            Under this Plan, there will be no impaired class of creditors because the only class of

 9    creditors under this Plan is class 1 (general unsecured creditors), and the class 1 claims are not
10
      impaired by this Plan and therefore do not vote on this Plan. Under this Plan, there will be no
11
      impaired class of Shareholders because the only class of interests under this Plan is class 2 (the
12
      Shareholders), and the class 2 Shareholders are not impaired by this Plan and therefore do not
13
      vote on this Plan. Even if the class 2 Shareholders were impaired by this Plan and were entitled
14

15    to vote on this Plan, and, as a class, did not vote to accept this Plan (despite the fact that the

16    interests of the class 2 Shareholders are represented by the OCEH; the OCEH is a co-proponent of
17    this Plan; and the OCEH would recommend that all class 2 Shareholders vote to accept this Plan),
18
      the Plan Proponents believe that this Plan would nevertheless be confirmable by “cramdown”
19
      because the conditions of § 1129(b)(2)(C)(ii) will have been satisfied in that no holder of any
20
      interest that junior to the interests of the class 2 Shareholders will receive or retain any property
21

22    under this Plan on account of any such junior interest. In fact, there are no interests that are junior

23    to the interests of the class 2 Shareholders.

24    G.      Liquidation Analysis.
25            Another confirmation requirement is the “Best Interest Test”, which requires a liquidation
26
      analysis. Under the Best Interest Test, if a claimant or interest holder is in an impaired class and
27
      that claimant or interest holder does not vote to accept this Plan, then that claimant or interest
28

                                                        67
     Case 1:17-bk-12408-MB         Doc 438 Filed 02/09/18 Entered 02/09/18 13:18:51                 Desc
                                   Main Document    Page 73 of 111


 1    holder must receive or retain under this Plan property of a value not less than the amount that
 2    such holder would receive or retain if the Debtors were liquidated under chapter 7 of the
 3
      Bankruptcy Code. The Plan Proponents contend that the “Best Interest Test” does not need to be
 4
      satisfied in the Cases because there are no claimants or interest holders in an impaired class and
 5
      there are no impaired classes under this Plan.
 6

 7            In a chapter 7 case, the Debtors’ assets would be liquidated by a chapter 7 trustee.

 8    Secured creditors are paid first from the sales proceeds of properties subject to their lien.

 9    Administrative claims are paid next. Next, unsecured creditors are paid from any remaining sales
10
      proceeds, according to their rights to priority. Unsecured creditors with the same priority share in
11
      proportion to the amount of their allowed claim in relationship to the amount of total allowed
12
      unsecured claims. Finally, Shareholders would receive the balance that remains after all creditors
13
      are paid in full.
14

15            The Plan Proponents contend that even if the class 2 Shareholders were impaired by this

16    Plan and the “Best Interest Test” had to be satisfied with respect to the class 2 Shareholders,
17    which would mean that the Plan Proponents would have to demonstrate that each class 2
18
      Shareholder who did not vote to accept this Plan must receive or retain under this Plan property of
19
      a value not less than the amount that such class 2 Shareholder would receive or retain if the
20
      Debtors were liquidated under chapter 7 of the Bankruptcy Code, the “Best Interest Test” would
21

22    clearly be met for at least the following three reasons: One, under this Plan, the Escrow Agent is

23    paying all Allowed Claims out of the Remaining Estate Funds without charging any disbursing

24    agent fee. In contrast, a chapter 7 trustee would be paid the trustee’s fee (frequently referred to as
25    the trustee’s “handle”) in accordance with the percentage formula set forth in § 326 of the
26
      Bankruptcy Code. This is very significant. As indicated above, there is currently approximately
27
      $13,829,001 of Remaining Estate Funds, and the Debtors project having approximately $350,000
28

                                                       68
     Case 1:17-bk-12408-MB         Doc 438 Filed 02/09/18 Entered 02/09/18 13:18:51                  Desc
                                   Main Document    Page 74 of 111


 1    in their debtor-in-possession account at the time of the Plan Confirmation Hearing. If the Cases
 2    were converted to chapter 7 instead of this Plan being confirmed, and the chapter 7 trustee
 3
      distributed this total sum of $14,179,001, the chapter 7 trustee’s statutory fee under § 326 of the
 4
      Bankruptcy Code (i.e., the trustee’s “handle”) would be approximately $448,620. In contrast,
 5
      under this Plan, the Escrow Agent is charging no fee at all for making the payments the Escrow
 6

 7    Agent will be making, and the fee structure being charged by the Trustee (even after taking into

 8    account the expected compensation to be paid to the Trust Board Members) for making

 9    distributions from the Trust will be substantially lower than the percentage formula set forth in §
10
      326 of the Bankruptcy Code.        Two, a chapter 7 trustee would hire the trustee’s own new
11
      professionals, which would create great expense and inefficiency of introducing new
12
      professionals into the Cases with no familiarity or background of the Cases, rather than the
13
      smooth transition of the use by the Estates of the existing professionals who are already intimately
14

15    familiar with the Cases. Three, Shareholders will receive their money under this Plan much faster

16    than they would in a chapter 7 bankruptcy simply because of the time it takes for a chapter 7
17    trustee to close out a chapter 7 bankruptcy estate and distribute funds. Conversely, the Plan
18
      Proponents submit that there would be no advantage of any conversion of the Cases to chapter 7.
19
      The Plan Proponents therefore believe that it is clear that Shareholders will receive more under
20
      this Plan than they would receive in any chapter 7 liquidation of the Debtors.
21

22    H.     Feasibility.

23           Another requirement for confirmation involves the feasibility of this Plan, which means

24    that confirmation of this Plan is not likely to be followed by the liquidation, or the need for further
25    financial reorganization, of the Debtors.
26
             There are at least two important aspects of a feasibility analysis. The first aspect considers
27
      whether the Debtors will have enough cash on hand on the Effective Date to pay all the claims
28

                                                        69
     Case 1:17-bk-12408-MB             Doc 438 Filed 02/09/18 Entered 02/09/18 13:18:51                Desc
                                       Main Document    Page 75 of 111


 1    and expenses which are entitled to be paid on such date. Since the Debtors already have enough
 2    cash on hand (through the Remaining Estate Funds) to pay all the claims and expenses which are
 3
      entitled to be paid on the Effective Date, this first aspect of Plan feasibility has clearly been
 4
      satisfied. The second aspect considers whether there will be enough cash over the life of this Plan
 5
      to make the required Plan payments. Since this Plan is a liquidating Plan, where all Remaining
 6

 7    Estate Funds and other funds that are in the Estates or will come into the Estates will all be

 8    distributed to holders of allowed claims, with any remaining balance to be paid to Shareholders,

 9    this second aspect of Plan feasibility has, by definition, been satisfied.
10
                            X.         RISK FACTORS REGARDING THIS PLAN
11
             Since this Plan is a liquidating Plan, where all Remaining Estate Funds and any other
12
      recoveries by or funds in the Estates will be distributed to holders of allowed claims in
13
      accordance with the terms of this Plan, with the net balance to Shareholders, there is no traditional
14

15    “risk” to the ability of the Debtors or the Trust to perform under this Plan.

16                         XI.      EFFECT OF CONFIRMATION OF THIS PLAN
17    A.     Retention of Jurisdiction.
18
             After confirmation of this Plan and the occurrence of the Effective Date, in addition to
19
      jurisdiction which exists in any other court, the Court will retain such jurisdiction as is legally
20
      permissible including for the following purposes:
21

22                   i.          to resolve any and all disputes regarding the operation and interpretation of

23    this Plan and the Plan Confirmation Order;

24                   ii.         to determine the allowance, classification, or priority of claims and
25    interests upon objection by the Debtors, the OCEH or the Trustee, and to consider any objection
26
      to claims filed before or after the Effective Date;
27

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                                                          70
     Case 1:17-bk-12408-MB          Doc 438 Filed 02/09/18 Entered 02/09/18 13:18:51                Desc
                                    Main Document    Page 76 of 111


 1                   iii.    to determine the extent, validity and priority of any lien asserted against
 2    any property of the Debtors, property of the Estates or any Trust Property;
 3
                     iv.     to construe and take any action to enforce this Plan, the Plan Confirmation
 4
      Order, and any other order of the Court, including the Bar Date Order, and to issue such orders as
 5
      may be necessary for the implementation, execution, performance, and consummation of this
 6

 7    Plan, the Plan Confirmation Order and all matters referred to in this Plan and the Plan

 8    Confirmation Order, and to determine all matters that may be pending before the Court in the

 9    Cases on or before the Effective Date with respect to any person or entity related thereto;
10
                     v.      to determine (to the extent necessary) any and all applications for
11
      allowance of compensation and reimbursement of expenses of professionals for the period on or
12
      before the Effective Date;
13
                     vi.     to determine any request for payment of administrative expenses;
14

15                   vii.    to determine motions for the rejection, assumption, or assignment of

16    executory contracts or unexpired leases filed before the Effective Date and the allowance of any
17    claims resulting therefrom;
18
                     viii.   to determine all applications, motions, adversary proceedings, contested
19
      matters, and any other litigated matters instituted during the pendency of the Cases whether
20
      before, on, or after the Effective Date;
21

22                   ix.     to determine such other matters and for such other purposes as may be

23    provided in the Plan Confirmation Order;

24                   x.      to modify this Plan under § 1127 of the Bankruptcy Code in order to
25    remedy any apparent defect or omission in this Plan or to reconcile any inconsistency in this Plan
26
      so as to carry out its intent and purpose;
27

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                                                       71
     Case 1:17-bk-12408-MB         Doc 438 Filed 02/09/18 Entered 02/09/18 13:18:51                Desc
                                   Main Document    Page 77 of 111


 1                   xi.     except as otherwise provided in this Plan or the Plan Confirmation Order,
 2    to issue injunctions, to take such other actions or make such other orders as may be necessary or
 3
      appropriate to restrain interference with this Plan, the Plan Confirmation Order, any other order of
 4
      the Court including the Bar Date Order, or the execution or implementation by any person or
 5
      entity of this Plan or the Plan Confirmation Order;
 6

 7                   xii.    to issue such orders in aid of consummation of this Plan and the Plan

 8    Confirmation Order, notwithstanding any otherwise applicable non-bankruptcy law, with respect

 9    to any person or entity, to the fullest extent authorized by the Bankruptcy Code or Bankruptcy
10
      Rules; and
11
                     xiii.   to enter final decrees closing the Cases.
12
      B.     Discharge.
13
             The Debtors will not receive a discharge under this Plan because the requirements of §
14

15    1141 of the Bankruptcy Code necessary for the Debtors to receive a discharge are not present.

16    C.     Binding Effect of this Plan.
17           The provisions of the confirmed Plan shall bind the Debtors, the Liquidating Debtor, the
18
      Trustee, the Trust Board, the Trust Board Members, and any creditor or Shareholder, whether or
19
      not such creditor or Shareholder has filed a proof of claim or proof of interest in the Cases. With
20
      respect to any taxes of the kind specified in Bankruptcy Code § 1146(c), this Plan shall also bind
21

22    any taxing authority, recorder of deeds or similar official for any county, state, or governmental

23    unit or parish in which any instrument related to under this Plan or related to any transaction

24    contemplated under this Plan is to be recorded.
25    D.     Revesting of Property Free and Clear.
26
             Upon the Effective Date, except as otherwise provided in this Plan, title to all assets of the
27
      Estates (“Estate Assets”) shall vest in the Trust for the purposes contemplated under this Plan and
28

                                                        72
     Case 1:17-bk-12408-MB        Doc 438 Filed 02/09/18 Entered 02/09/18 13:18:51                Desc
                                  Main Document    Page 78 of 111


 1    shall no longer constitute property of the Estates. Except as otherwise provided by this Plan, and
 2    to the full extent allowed by §§ 1141(b) and (c) of the Bankruptcy Code, upon the Effective Date,
 3
      all Estate Assets shall be free and clear of all claims, liens and interests, including unsecured
 4
      claims. All unsecured claims against the Debtors or the Estates shall be of no further force or
 5
      effect except with respect to the rights of holders of Allowed Claims to received payments or
 6

 7    distributions as set forth herein. Following the Effective Date, the Trustee may use, acquire or

 8    dispose of any Trust Property free of any restrictions imposed by the Court, the Bankruptcy Code

 9    or the Bankruptcy Rules and without further approval of the Court, except as may otherwise be
10
      required under this Plan, the Plan Confirmation Order or the Trust Agreement.            Except as
11
      otherwise expressly provided in this Plan, the Plan Confirmation Order or the Trust Agreement,
12
      all rights or causes of action belonging to the Estates or the Debtors are hereby preserved and
13
      retained for enforcement solely and exclusively by and at the discretion of the Trustee in
14

15    accordance with the Trust Agreement.

16    E.     Exculpations and Releases.
17           To the maximum extent permitted by law, neither the Debtors, the post-petition officers
18
      and directors of the Debtors, the Liquidating Debtor, the OCUC, the OCEH, the Trustee, the Trust
19
      Board Members, nor any of their employees, officers, directors, shareholders, agents, members,
20
      representatives, or professionals employed or retained by any of them, shall have or incur liability
21

22    to any person or entity for any act taken or omission made in good faith in connection with or

23    related to the Cases or the formulation and implementation of this Plan, or a contract, instrument,

24    release, or other agreement or document created in connection therewith, the solicitation of
25    acceptances for or confirmation of this Plan, or the consummation and implementation of this
26
      Plan and the transactions contemplated therein; provided, however, that nothing in this
27

28

                                                      73
     Case 1:17-bk-12408-MB         Doc 438 Filed 02/09/18 Entered 02/09/18 13:18:51                  Desc
                                   Main Document    Page 79 of 111


 1    Exculpation and Release shall release any party for actions or omissions occurring prior to the
 2    commencement of the Cases.
 3
      F.     Injunctions.
 4
             Subject to, and limited to, the provisions of Section XI.E. above, the Plan Confirmation
 5
      Order shall enjoin the prosecution, whether directly, derivatively or otherwise, of any claim,
 6

 7    obligation, suit, judgment, damage, demand, debt, right, cause of action, liability or interest

 8    released or terminated pursuant to Section XI.E of this Plan. As of the Effective Date, all entities

 9    that have held, currently hold or may hold a claim or other debt or liability that is released or
10
      terminated or an interest or other right of a creditor or equity security holder that is released,
11
      terminated or extinguished pursuant to the terms of Section XI.E of this Plan are permanently
12
      enjoined from taking any of the following actions against the Debtors, the Liquidating Debtor, the
13
      OCUC, the OCEH, the Trustee, the Trust Board Members, and any of their employees, officers,
14

15    directors, shareholders, agents, members, representatives, or professionals employed or retained

16    by any of them, or their property on account of any such released, terminated or extinguished
17    claims, debts or liabilities or extinguished interests or rights: (i) commencing or continuing, in
18
      any manner or in any place, any action or other proceeding; (ii) enforcing, attaching, collecting or
19
      recovering in any manner any judgment, award, decree or order; (iii) creating, perfecting or
20
      enforcing any lien or encumbrance; and (iv) commencing or continuing any action in any manner,
21

22    in any place, that does not comply with or is inconsistent with the provisions of Section XI.E of

23    this Plan. By accepting a distribution made pursuant to this Plan, each holder of an allowed claim

24    and each Shareholder which receives a distribution pursuant to this Plan or the Trust Agreement
25    shall be deemed to have specifically consented to the injunctions set forth in this Section.
26
      G.     Exclusions to Exculpations, Releases and Injunctions Under this Plan.
27
             Notwithstanding any language to the contrary contained in this Plan and/or the Plan
28

                                                       74
     Case 1:17-bk-12408-MB           Doc 438 Filed 02/09/18 Entered 02/09/18 13:18:51            Desc
                                     Main Document    Page 80 of 111


 1    Confirmation Order, no provision of this Plan or the Plan Confirmation Order shall (i) preclude
 2    the United States Securities and Exchange Commission (“SEC”) or any other governmental
 3
      agency, including the UST, from enforcing its police or regulatory powers; or, (ii) enjoin, limit,
 4
      impair or delay the SEC or any other governmental agency, including the UST, from commencing
 5
      or continuing any claims, causes of action, proceedings or investigations against any non-debtor
 6

 7    person or non-debtor entity in any forum.

 8    H.     Modification of this Plan.

 9           The Plan Proponents reserve the right to modify this Plan at any time before confirmation
10
      and seek confirmation of such modified Plan consistent with the Bankruptcy Code. The Plan
11
      Proponents may also seek to modify this Plan at any time after confirmation of this Plan but
12
      before the Effective Date so long as (1) this Plan has not been substantially consummated and (2)
13
      the Court authorizes the proposed modifications after notice and a hearing. Notwithstanding the
14

15    foregoing, any modification of this Plan, whether before or after confirmation, shall require the

16    consent of both the Debtors or the Liquidating Debtor, as the case may be, and the OCEH or the
17    Trustee, as the case may be.
18
      I.     Post-Confirmation Status Reports.
19
             Until final decrees closing the Cases are entered, the Trustee shall file quarterly status
20
      reports with the Court explaining what progress has been made toward consummation of the
21

22    confirmed Plan, and the Trustee shall pay the post-confirmation quarterly fees to the UST out of

23    the Trust Property.

24    J.     Post-Confirmation Conversion/Dismissal.
25           A creditor or any other party in interest may bring a motion to convert or dismiss the
26
      Cases under § 1112(b) of the Bankruptcy Code after this Plan is confirmed if there is a default in
27
      performing this Plan, with the Trustee (and the Liquidating Debtor if the motion is brought before
28

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     Case 1:17-bk-12408-MB         Doc 438 Filed 02/09/18 Entered 02/09/18 13:18:51                Desc
                                   Main Document    Page 81 of 111


 1    the Effective Date) reserving all rights to oppose any such motion. If the Court orders the Cases
 2    converted to chapter 7 after this Plan is confirmed, then all property that had been property of the
 3
      Estates, and that has not been disbursed pursuant to this Plan, will revest in the chapter 7 estates,
 4
      and the automatic stay will be reimposed upon the revested property, but only to the extent that
 5
      relief from stay was not previously authorized by the Court during the Cases.              The Plan
 6

 7    Confirmation Order may also be revoked under very limited circumstances. The Court may

 8    revoke the Plan Confirmation Order if it was procured by fraud and if a party in interest brings an

 9    adversary proceeding to revoke confirmation within 180 days after the date of entry of the Plan
10
      Confirmation Order.
11
      K.     Final Decrees.
12
             Once the Estates have been fully administered as referred to in Bankruptcy Rule 3022,
13
      the Trustee will file a motion with the Court to obtain final decrees to close the Cases. The
14

15    Trustee shall be responsible for the timely payment of all fees incurred pursuant to 28 U.S.C. §

16    1930(a)(6) and shall pay all such fees out of the Trust Property.
17

18
                                        XII.    MISCELLANEOUS
19
      A.     Severability of Plan Provisions.
20
             In the event that, prior to the Plan Confirmation Hearing, any term or provision of this
21

22    Plan is held by the Court to be invalid, void or unenforceable, the Court shall have the power to

23    alter and interpret such term or provision to make it valid or enforceable to the maximum extent

24    practicable, consistent with the original purpose of the term or provision held to be invalid, void
25    or unenforceable, and such term or provision shall then be applicable as altered or interpreted.
26
      Notwithstanding any such holding, alteration or interpretation, the remainder of the terms and
27
      provisions hereof shall remain in full force and effect and shall in no way be affected, impaired
28

                                                       76
     Case 1:17-bk-12408-MB         Doc 438 Filed 02/09/18 Entered 02/09/18 13:18:51                 Desc
                                   Main Document    Page 82 of 111


 1    or invalidated by such holding, alteration or interpretation. The Plan Confirmation Order shall
 2    constitute a judicial determination and shall provide that each term and provision hereof, as it
 3
      may have been altered or interpreted in accordance with the foregoing, is valid and enforceable
 4
      pursuant to its terms.
 5
      B.     Governing Law and Headings.
 6

 7           Except to the extent that the Bankruptcy Code or other federal law is applicable, the

 8    rights, duties and obligations arising under this Plan shall be governed by, and construed and

 9    enforced in accordance with, the laws of the State of California. The headings contained in this
10
      Plan are for convenience of reference only and shall not limit or otherwise affect in any way the
11
      meaning or interpretation of this Plan.
12
      C.     Language Interpretation.
13
             In the interpretation of this Plan, unless the context otherwise requires, references in this
14

15    Plan to the singular shall be construed to include references to the plural and vice versa; words

16    importing the singular shall be deemed to import the plural and vice versa; words denoting
17    gender shall include all genders; references to sections, schedules, and exhibits shall mean
18
      sections, schedules, and exhibits of and to this Plan; references to part includes the whole, except
19
      where the context clearly requires otherwise “or” has the inclusive meaning represented by the
20
      phrase “and/or,” and the words “hereof,” “herein,” “hereunder,” and similar terms in this Plan
21

22    refer to this Plan as a whole and not to any particular provision of this Plan.

23    D.     Exhibits.

24           All exhibits attached to this Plan are, by this reference, hereby incorporated into this Plan.
25    The final version of all exhibits to this Plan will be substantially in the forms attached hereto or
26
      thereto. The Plan Proponents reserve the right to make non-substantive changes and corrections
27
      to such exhibits in advance of the Plan Confirmation Hearing. If any exhibits are changed or
28

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     Case 1:17-bk-12408-MB         Doc 438 Filed 02/09/18 Entered 02/09/18 13:18:51                 Desc
                                   Main Document    Page 83 of 111


 1    corrected, the replacement exhibits will be filed with the Court prior to the commencement of the
 2    Plan Confirmation Hearing.
 3
      E.     Notices.
 4
             All notices required or permitted to be made in accordance with this Plan shall be in
 5
      writing and shall be delivered personally or by nationally recognized overnight or next-day
 6

 7    courier service, first class mail or via facsimile with electronic confirmation of receipt as follows

 8    (but all such notices must also be provided by email as indicated below):

 9           If to the Debtors:
             Levene, Neale, Bender, Yoo & Brill L.L.P.
10           10250 Constellation Blvd., Suite 1700
             Los Angeles, CA 90067
11           Email: rb@lnbyb.com
             Attention: Ron Bender
12
             If to the Equity Committee:
13           Dentons US LLP
             601 S. Figueroa Street, Suite 2500
14           Los Angeles, CA 90017-5704
             Email: tania.moyron@dentons.com
15           Attention: Tania Moyron
16

17

18    F.     Computation of Time Periods.
19
             In computing any period of time prescribed or allowed by this Plan, the day of the act,
20
      event, or default from which the designated period of time begins to run shall not be included.
21
      The last day of the period so computed shall be included unless it is a Saturday, a Sunday, or a
22
      legal holiday, or, when the act to be done is the filing of a paper in the Court, a day on which
23

24    weather or other conditions have made the clerk’s office inaccessible, in which event the period

25    runs until the end of the next day which is not one of the aforementioned days.
26    G.     Defects, Omissions and Amendments.
27

28

                                                       78
     Case 1:17-bk-12408-MB         Doc 438 Filed 02/09/18 Entered 02/09/18 13:18:51                 Desc
                                   Main Document    Page 84 of 111


 1            The Plan Proponents, with the approval of the Court and without notice to all holders of
 2    claims or interests, insofar as it does not materially and adversely affect holders of claims or
 3
      interests, may correct any defect, omission or inconsistency in this Plan in such manner and to
 4
      such extent as may be necessary or desirable to expedite the execution of this Plan. This Plan
 5
      may be altered or amended before or after the Plan Confirmation Hearing as provided in § 1127
 6

 7    of the Bankruptcy Code.

 8    H.      Filing of Additional Documents.

 9            The Plan Proponents shall file with the Court such agreements or other documents as
10
      may be necessary or appropriate to effectuate and further evidence the terms and conditions of
11
      this Plan.
12
      I.      Successors and Assigns.
13
              The rights, benefits and obligations of any entity named or referred to in this Plan shall be
14

15    binding on, and shall inure to the benefit of, the heirs, executors, administrators, successors

16    and/or assigns of such entity.
17

18

19
      J.      Implementation.
20
              Upon the confirmation of this Plan and the occurrence of the Effective Date, the Debtors
21

22    and the OCEH shall be authorized to take all steps and execute all documents necessary to

23    effectuate the provisions contained in this Plan.

24    K.      Certain Actions.
25            By reason of entry of the Plan Confirmation Order, prior to, on or after the Effective Date
26
      (as appropriate), all matters provided for under this Plan that would otherwise require approval
27
      of the owners, stockholders, shareholders, members, directors, managers, or officers of the
28

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     Case 1:17-bk-12408-MB         Doc 438 Filed 02/09/18 Entered 02/09/18 13:18:51                 Desc
                                   Main Document    Page 85 of 111


 1    Debtors under this Plan, including, without limitation, (i) the distribution of cash pursuant to this
 2    Plan, (ii) the adoption, execution, delivery, and implementation of all contracts, leases,
 3
      instruments, releases, and other agreements or documents related to this Plan, and (iii) the
 4
      adoption, execution, and implementation of other matters provided for under this Plan involving
 5
      the company or organizational structure of the Debtors, shall be deemed to have occurred and
 6

 7    shall be in effect prior to, on or after the Effective Date (as appropriate), pursuant to the

 8    applicable general corporation, limited liability, or partnership law of the state in which the

 9    Debtors or the Liquidating Debtor is chartered, organized or incorporated, without any
10
      requirement of further action by the owners, stockholders, shareholders, members, directors,
11
      managers, or officers of the Debtors.
12
      ///
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      ///
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15    ///

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17    ///
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     Case 1:17-bk-12408-MB        Doc 438 Filed 02/09/18 Entered 02/09/18 13:18:51               Desc
                                  Main Document    Page 86 of 111


 1    L.     Waiver of Ten (10) Day Stay.
 2           The Plan Proponents request as part of the Plan Confirmation Order a waiver from the
 3
      Court of the ten (10) day stay of Bankruptcy Rule 3020(e) and, to the extent applicable, a waiver
 4
      of the ten (10) day stay of Bankruptcy Rule 6004(g).
 5

 6    Dated: February 9, 2018

 7    Presented By:
 8
      LEVENE, NEALE, BENDER, YOO & BRILL L.L.P.
 9

10    By:    /s/ Ron Bender
             RON BENDER
11
             MONICA Y. KIM
12           KRIKOR J. MESHEFEJIAN
             Attorneys for Chapter 11 Debtors and Plan Proponents
13
      ICPW Liquidation Corporation, a California corporation, formerly known as Ironclad
14    Performance Wear Corporation, a California corporation, and ICPW Liquidation Corporation, a
      Nevada corporation, formerly known as Ironclad Performance Wear Corporation, a Nevada
15    corporation
16

17    By:
             GEOFF GREULICH, Chief Executive Office
18

19
      Presented By:
20
      DENTONS US LLP
21

22    By:    /s/ Tania M. Moyron
             SAMUEL R. MAIZEL
23
             TANIA M. MOYRON
24           Attorneys for Official Committee of Equity Security Holders

25
      Official Committee of Equity Security Holders
26

27
      By:
28           SCOTT JARUS, Chairman


                                                      81
Case 1:17-bk-12408-MB   Doc 438 Filed 02/09/18 Entered 02/09/18 13:18:51   Desc
                        Main Document    Page 87 of 111
                                                                         Case 1:17-bk-12408-MB                         Doc 438 Filed 02/09/18 Entered 02/09/18 13:18:51                                                Desc
                                                                                                                       Main Document    Page 88 of 111
                                                                                                                                                                                        PAYMENTS MADE
                                                                                                                                                                                         POST-PETITION,
                                                                                                                                                                             ALLOWED
                                                                                                                                                                                       INCLUDING POST-                                                          Total Remaining
                                                                                                                                                                                 CLAIM                                                       Claims Remaining                       Total Remaining
                                                                                                                                                                                               PETITION  REMAINING          REMAINING                           Disputed Claims
                                                                                                                                                                          AMOUNT, NOT                                                        as of February 9,                    Disputed Claims with
                                                                              FILED CLAIM                                          SCHEDULED CLAIM                                     INTEREST TO THE CLAIM (best case    CLAIM (worst                           with Interest
                                                                                                                                                                            INCLUDING                                                          2018, without                        Interest through
                                                                                                                                                                                                EXTENT    scenario)        case scenario)                      through February
                                                                                                                                                                         POST-PETITION                                                            interest                         December 31, 2018
                                                                                                                                                                                             CLAIMANT                                                               28, 2018
                                                                                                                                                                              INTEREST
                                                                                                                                                                                           ENTITLED TO
                                                                                                                                                                                              INTEREST

                 Creditor                     Case in Which Claim Nos.    Secured       Priority      General        Schedule "D" Schedule       Schedule "F"    C/U/D
                                                   Claim                                             Unsecured         Secured    "E" Priority    Unsecured
                                             Filed/Scheduled
1920 Hutton Court                                   NV                                                                                              $13,257.09               $13,257.09       $13,287.45           $0.00             $0.00               $0.00
Account Temps                                       CA          26                                      $5,662.28                                    $5,662.28                $5,662.28        $5,682.49           $0.00             $0.00               $0.00
Advantage Media Services                            CA           4        $178,522.75                                                              $178,522.75              $178,522.75      $178,931.56           $0.00             $0.00               $0.00
American Alternative Insurance Corporation          CA           1                                    $400,000.00                                                                     0            $0.00           $0.00             $0.00               $0.00
AML United Limited                                  CA                                                                                              $28,330.56               $28,330.56       $28,395.44           $0.00             $0.00               $0.00
Amster, Rothstein & Ebenstein, LLP                  CA          11                                     $11,395.96                                   $11,395.96               $11,395.96       $11,436.64           $0.00             $0.00               $0.00
Atmos Energy                                        CA                                                                                                  $51.98                   $51.98           $52.17           $0.00             $0.00               $0.00
BDO USA, LLP                                        CA                                                                                              $10,000.00                     TBD             $0.00      $10,000.00        $10,000.00          $10,000.00       $10,058.60              $10,161.64
Ben Padnos                                          CA                                                                                               $1,304.35                $1,304.35        $1,309.01           $0.00             $0.00               $0.00
BIC ALLIANCE                                        CA                                                                                               $5,800.00                $5,800.00        $5,820.70           $0.00             $0.00               $0.00
BNSF                                                CA          15                                     $14,788.95                                   $14,788.95               $14,788.95       $14,841.74           $0.00             $0.00               $0.00
Broadridge                                          CA                                                                                               $2,110.51                $2,110.51        $2,118.04           $0.00             $0.00               $0.00
Broussard,Ronald Roy                                CA                                                                                              $40,000.00               $40,000.00       $40,000.00           $0.00             $0.00               $0.00
Burkhard,Kerri                                      CA                                                                                               $2,500.00                $2,500.00        $2,500.00           $0.00             $0.00               $0.00
Business Systems Integrators, LLC                   CA                                                                                                 $695.00                  $695.00          $697.48           $0.00             $0.00               $0.00
(Assigned to CRG Financial LLC)
California Board of Equalization                  CA                                                                                   $600.00        $291.40                   $891.40         $894.58            $0.00             $0.00               $0.00
Capital One Bank                                  CA                                                                                                $15,471.81                      TBD            $0.00      $15,471.81        $15,471.81          $15,471.81       $15,562.47              $15,721.90
Chang Bang Gloves (Hong Kong) Co.,               CA/NV         17,6                                                                              $1,228,307.56             $1,245,562.50   $1,248,413.87           $0.00             $0.00               $0.00
                                                                                                     $1,410,219.16
Limited
Charles Giffen                                    CA                                                                                                 $4,402.17                     TBD             $0.00       $4,402.17         $4,402.17           $4,402.17        $4,427.96               $4,473.33
Commerce Technologies, Inc.                       CA                                                                                                   $288.10                  $288.10          $289.13           $0.00             $0.00               $0.00
Custom Information Sevices                        NV            5                                       $3,546.45                                    $3,546.45                $3,546.45        $3,559.11           $0.00             $0.00               $0.00
David Jacobs                                      CA                                                                                                 $5,706.52                     TBD             $0.00       $5,706.52         $5,706.52           $5,706.52        $5,739.96               $5,798.76
Daylight Transport                                CA                                                                                                   $355.09                  $355.09          $356.36           $0.00             $0.00               $0.00
DESIGN GALLERY (PVT.) LTD.                        CA                                                                                                $12,801.60               $12,801.60       $12,830.91           $0.00             $0.00               $0.00
DESUN GARMENTS, LTD. (Assigned to                 CA            18                                                                                   $7,691.75                $7,691.75        $7,709.36           $0.00             $0.00               $0.00
                                                                                                       $11,135.00
CRG Financial LLC)
Dival Safety & Supplies                          CA                                                                                                  $2,095.00                $2,095.00        $2,102.48          $0.00              $0.00               $0.00
DRG Strategic, LLC - Bob Goldstein               CA                                                                                                   $556.75                   $556.75          $558.74          $0.00              $0.00               $0.00
DTM Sales                                        CA                                                                                                  $3,184.26                $3,184.26        $3,195.63          $0.00              $0.00               $0.00
Emmett Murphy                                    CA                                                                                                  $1,304.35                $1,304.35        $1,309.01          $0.00              $0.00               $0.00
Emslie, Mike                                     CA                                                                                                 $35,000.00               $35,000.00       $35,000.00          $0.00              $0.00               $0.00
Eshleman,Derek G                                 CA                                                                                                 $20,000.00               $20,000.00       $20,000.00          $0.00              $0.00               $0.00
Federal Insurance Company                        NV             3                                      $14,385.50                                                                 $0.00            $0.00          $0.00              $0.00               $0.00
FedEx                                            CA             24                                     $18,551.03                                   $14,795.67               $18,551.03       $18,617.25          $0.00              $0.00               $0.00
Feld,Abraham Hagen                               CA                                                                                                  $5,000.00                $5,000.00        $5,000.00          $0.00              $0.00               $0.00
Fowler,Michael J                                 CA                                                                                                 $40,000.00               $40,000.00       $40,000.00          $0.00              $0.00               $0.00
Franchise Tax Board                              CA             27                        $829.28                                                                                  TBD             $0.00          $0.00               TBD TBD
Geoff Greulich                                   CA                                                                                                $147,500.00              $147,500.00      $147,500.00          $0.00              $0.00               $0.00
Ginger Collier                                   CA                                                                                                   $797.81                   $797.81          $800.66          $0.00              $0.00               $0.00
GT Graphics of Sheboygan LLC                    CA, NV         10, 4                                      $759.07                                     $759.07                  $759.07          $761.78           $0.00              $0.00               $0.00
Guo, Xin                                         CA                                                                                                 $10,000.00                                $10,000.00          $0.00              $0.00               $0.00
Hewlett Packard                                  CA                                                                                                   $364.80                  $364.80           $366.10          $0.00              $0.00               $0.00
Internal Revenue Service                         CA             6               $0.00        $0.00          $0.00                                                                  TBD             $0.00          $0.00               TBD TBD
Internal Revenue Service                         NV             2                        $2,000.00                                                                                 TBD             $0.00          $0.00               TBD TBD
IPFS Corporation                                 CA             3          $30,725.49                                                                                        $12,541.02       $12,541.02          $0.00              $0.00               $0.00            $0.00                   $0.00
Jaeger,Eric                                      CA                                                                                                 $40,000.00               $40,000.00       $40,000.00          $0.00              $0.00               $0.00
Jeffrey Cordes                                   CA             8                       $12,850.00    $154,056.75                                                                  TBD             $0.00          $0.00        $166,906.75         $166,906.75      $167,884.75            $169,604.68
KA HUNG GLOVE INUSTRIAL CO. LTD.                 CA                                                                                                 $49,957.73               $49,957.73       $50,111.48          $0.00              $0.00               $0.00
Konica Minolta Business Solutions                CA                                                                                                  $1,152.31                $1,152.31        $1,154.95          $0.00              $0.00               $0.00
LAB Sales Agency                                 CA                                                                                                     $54.92                   $54.92           $55.12          $0.00              $0.00               $0.00
Laubert,Matthew Palmer                           CA                                                                                                 $10,000.00               $10,000.00       $10,000.00          $0.00              $0.00               $0.00
LF Logistics                                     CA                                                                                                     $69.10                   $69.10           $69.35          $0.00              $0.00               $0.00
Liaison Technologies, Inc.                       CA             23                                        $945.00                                Page 1$945.00
                                                                                                                                                        of 2                   $945.00          $948.37           $0.00              $0.00               $0.00
Lien Shun Yang Leather Co., Ltd.                 CA                                                                                                     $34.59                   $34.59           $34.71          $0.00              $0.00               $0.00
Marshall, Russell                                CA                                                                                                  $5,000.00                $5,000.00        $5,000.00          $0.00              $0.00               $0.00
                                                                            Case 1:17-bk-12408-MB                           Doc 438 Filed 02/09/18 Entered 02/09/18 13:18:51                                        Desc
                                                                                                                            Main Document    Page 89 of 111
                  Creditor                       Case in Which Claim Nos.   Secured         Priority      General        Schedule "D" Schedule       Schedule "F"    C/U/D
                                                      Claim                                              Unsecured         Secured    "E" Priority    Unsecured
                                                Filed/Scheduled
MARUSAN - MIMASU TSHUSHO CO. LTD.                      CA                                                                                              $382,811.28            $382,811.28      $383,687.89         $0.00         $0.00         $0.00
Matt Pliskin                                           CA                                                                                               $27,000.00             $27,000.00       $27,000.00         $0.00         $0.00         $0.00
Mediant                                                CA                                                                                                 $253.09                $253.09          $253.09          $0.00         $0.00         $0.00
MERCINDO GLOBAL MANUFAKTUR                             CA                                                                                              $453,831.81            $453,831.81      $454,882.78         $0.00         $0.00         $0.00
Metzler,Stacy Marie                                    CA                                                                                                $7,500.00              $7,500.00        $7,500.00         $0.00         $0.00         $0.00
Michael DiGregorio                                     CA                                                                                                $6,847.83                   TBD             $0.00     $6,847.83     $6,847.83     $6,847.83     $6,887.96     $6,958.52
Morris,Chartrice Holt                                  CA                                                                                                $7,500.00              $7,500.00        $7,500.00         $0.00         $0.00         $0.00
Nacion,Markham                                         CA                                                                                               $18,000.00             $18,000.00       $18,000.00         $0.00         $0.00         $0.00
National Safety Council                                CA                                                                                                 $395.00                $395.00          $396.41          $0.00         $0.00         $0.00
nChannel, Inc.                                         CA                                                                                                    $0.00                  $0.00            $0.00         $0.00         $0.00         $0.00
Net Pack (Assigned to Argo Partners)                   CA                                                                                                $3,554.60              $3,554.60        $3,567.29         $0.00         $0.00         $0.00
Office Depot Acct 31A                                  CA                                                                                                 $317.44                $317.44          $318.57          $0.00         $0.00         $0.00
Pacific Stock Transfer Company                         CA                                                                                                 $958.00                $958.00          $961.42          $0.00         $0.00         $0.00
Perry HVAC                                             CA                                                                                                $1,264.09              $1,264.09        $1,268.60         $0.00         $0.00         $0.00
Pestilli & Associates                                  CA                                                                                                 $157.46                $157.46          $158.02          $0.00         $0.00         $0.00
Pitney Bowes Credit Corp.                              CA                                                                                                 $452.99                $452.99          $454.03          $0.00         $0.00         $0.00
Precision Testing Laboratories (Assigned to            CA                                                                                                $1,500.00              $1,500.00        $1,505.35         $0.00         $0.00         $0.00
CRG Financial LLC)
Progroup Incorporated                               CA             22                                       $1,000.00                                     $500.00               $1,000.00         $1,003.57        $0.00         $0.00         $0.00
PT JJ GLOVES INDO                                   CA                                                                                                 $162,917.76            $162,917.76      $163,290.83         $0.00         $0.00         $0.00
PT SEOK HWA INDONESIA                               CA                                                                                                  $13,174.86             $13,174.86        $13,205.03        $0.00         $0.00         $0.00
PT SPORT GLOVE INDONESIA                            CA                                                                                                 $144,238.66            $144,238.66      $144,568.96         $0.00         $0.00         $0.00
Quill Corporation                                   CA                                                                                                      $67.46                 $67.46            $67.70        $0.00         $0.00         $0.00
Radians Wareham Holding, Inc.                      CA, NV         20, 7     $3,464,093.28                                $3,397,406.95                                               TBD      $5,343,988.19        $0.00         $0.00         $0.00
RD Pete Bloomer                                     CA                                                                                                   $4,350.00                   TBD              $0.00    $4,350.00     $4,350.00     $4,350.00     $4,375.49     $4,420.31
Republic Services                                   CA                                                                                                     $341.10                $341.10           $342.32        $0.00         $0.00         $0.00
Resources Global Professionals                     NV, CA          1                                       $80,767.00                                   $80,727.00             $80,767.00        $81,055.31        $0.00         $0.00         $0.00
Risk Consulting Partners                            CA                                                                                                       $0.00                  $0.00             $0.00        $0.00         $0.00         $0.00
Robert Steckler                                     CA                                                                                                   $1,304.35              $1,304.35         $1,309.01        $0.00         $0.00         $0.00
Russ McDonald                                       CA                                                                                                      $98.65                 $98.65            $99.00        $0.00         $0.00         $0.00
Safeco Building Maintenance                         CA                                                                                                     $646.35                $646.35           $648.66        $0.00         $0.00         $0.00
Shur-Sales & Marketing, Inc.                        CA                                                                                                  $16,125.00             $16,125.00        $16,182.56        $0.00         $0.00         $0.00
Skadden Arps Slate Meagher & Flom LLP               CA             21                                     $342,141.79                                  $231,848.92            $342,141.79      $342,141.79         $0.00         $0.00         $0.00
SPS Commerce                                        CA                                                                                                   $1,022.55              $1,022.55         $1,026.20        $0.00         $0.00         $0.00
Stubbs, Alderton & Markiles, LLP                    CA                                                                                                 $331,893.44            $206,893.44      $206,893.44         $0.00         $0.00         $0.00
Superior Printing, Inc.                             CA                                                                                                     $162.23                $162.23           $162.81        $0.00         $0.00         $0.00
Synetra                                             CA                                                                                                   37,972.33              37,972.33        $38,059.28        $0.00         $0.00         $0.00
TAB Sales Soulutions                                CA                                                                                                     $430.52                $430.52           $432.06        $0.00         $0.00         $0.00
Tamer Shiha                                         CA                                                                                                  $12,500.00             $12,500.00        $12,500.00        $0.00         $0.00         $0.00
Three Part Advisors, LLC                            CA             2                                        $6,900.00                                    $6,900.00              $6,900.00         $6,924.63        $0.00         $0.00         $0.00
Three Part Advisors, LLC                            CA             5                                        $6,900.00                                                               $0.00             $0.00        $0.00         $0.00         $0.00
TRI/AUSTIN, INC                                     CA                                                                                                    $350.00                $350.00            $351.25        $0.00         $0.00         $0.00
TXU Energy                                          CA             9                                        $1,752.73                                    $1,430.11              $1,752.73         $1,758.99        $0.00         $0.00         $0.00
Tyco Integrated Security, LLC                       CA                                                                                                     $279.06                $279.06           $280.06        $0.00         $0.00         $0.00
Uline                                               CA                                                                                                    $710.49                $710.49            $713.03        $0.00         $0.00         $0.00
University of Milwaukee                             CA                                                                                                  $33,333.00             $33,333.00        $33,451.99        $0.00         $0.00         $0.00
UPS Freight                                         CA                                                                                                    $504.55                $504.55            $506.35        $0.00         $0.00         $0.00
Urena,Daniel                                        CA                                                                                                   $7,500.00              $7,500.00         $7,500.00        $0.00         $0.00         $0.00
Vane Clayton                                        CA                                                                                                   $7,630.43                   TBD              $0.00    $7,630.43     $7,630.43     $7,630.43     $7,675.14     $7,753.77
Vonalman,Turner J                                   CA                                                                                                  $10,000.00             $10,000.00        $10,000.00        $0.00         $0.00         $0.00
W.W. Grainger. Inc.                                 CA             19                                     $963,708.03                                                         $180,000.00      $180,000.00         $0.00         $0.00         $0.00         $0.00         $0.00
Washington,Cheryl                                   CA             13                                      $10,000.00                                   $10,000.00             $10,000.00        $10,000.00        $0.00         $0.00         $0.00
Weispfenning,Daniel Walton                          CA                                                                                                   $2,500.00              $2,500.00         $2,500.00        $0.00         $0.00         $0.00
Werner Logistics (assigned to ASM Capital           CA                                                                                                   $7,375.00              $3,825.00         $3,838.65        $0.00     $3,550.00     $3,550.00     $3,570.80     $3,607.38
V, L.P.)
William M. Aisenberg                                 CA            7                        $12,850.00    $116,556.75                                                                TBD             $0.00        $0.00    $129,406.75   $129,406.75   $130,165.02   $131,498.52
Windstream                                           CA            14                                       $1,739.59                                    $1,739.59              $1,739.59        $1,745.80        $0.00          $0.00         $0.00
WINSPEED SPORTS SHANGHAI CO., LTD.                   CA            12                                     $152,830.45                                  $144,198.43            $152,830.45      $153,180.42        $0.00          $0.00         $0.00
WONEEL MIDAS LEATHERS                                CA            16                                     $896,382.28                                  $785,358.50            $810,055.88      $811,942.46        $0.00          $0.00         $0.00
Yellow and Roadway                                   CA                                                                                                 $12,391.41             $12,391.41       $12,435.64        $0.00          $0.00         $0.00
California Dept of Tax and Fee Administration        CA            25                         $573.60                                                                             $573.60          $575.65        $0.00          $0.00         $0.00
Comptroller of Public Accounts                       NV            8                         $1,000.00                                                                          $1,000.00        $1,003.57        $0.00          $0.00         $0.00
Comptroller of Public Accounts                       NV            9                         $3,844.52        $263.72                    $2,294.00                              $4,108.24        $4,122.90        $0.00          $0.00         $0.00

                                                                 TOTALS:    $3,673,341.52   $33,947.40   $4,626,387.49   $3,397,406.95   $2,894.00   $4,966,718.58           $5,138,077.87   $10,501,514.23   $54,408.76   $354,272.26   $354,272.26   $356,348.14   $359,998.81

                                                                                                                                                     Page 2 of 2
Case 1:17-bk-12408-MB   Doc 438 Filed 02/09/18 Entered 02/09/18 13:18:51   Desc
                        Main Document    Page 90 of 111
Case 1:17-bk-12408-MB        Doc 438 Filed 02/09/18 Entered 02/09/18 13:18:51              Desc
                             Main Document    Page 91 of 111




                                                                   DRAFT
                                   TRUST AGREEMENT

        This Trust Agreement (the “Agreement”), dated as of __________ __, 2018, is by and
among ICPW Liquidation Corporation, a California corporation, formerly known as Ironclad
Performance Wear Corporation, a California corporation (“ICPW California”), and ICPW
Liquidation Corporation, a Nevada corporation, formerly known as Ironclad Performance Wear
Corporation, a Nevada corporation (“ICPW Nevada” and collectively with ICPW California, the
“Debtors”), as settlors, and Mathew Pliskin, as the trustee of the Trust referred to herein (the
“Trustee”), and is executed in connection with and pursuant to the terms of the Joint Plan of
Liquidation Dated January 12, 2018 (“Plan”) that was jointly proposed by the Debtors and the
Official Committee of Equity Security Holders (the “OCEH”), which provides for, among other
things, the establishment of a trust evidenced hereby (the “Trust”).

                                     WITNESSETH

      WHEREAS, on September 8, 2017, the Debtors filed voluntary petitions pursuant to
Chapter 11 of the Bankruptcy Code with the Bankruptcy Court;

       WHEREAS, on February __________, 2018, the Bankruptcy Court entered its order
confirming the Plan (the “Confirmation Order”);

       WHEREAS, the Trust is created pursuant to the Plan;

       WHEREAS, the Trust is created on behalf, and for the sole benefit, of the shareholders of
ICPW Nevada (the “Shareholders” or the “Trust Beneficiaries”), as set forth in the Plan and
provided herein;

        WHEREAS, the Trust is established for the purpose of collecting, distributing and
liquidating all of the funds and property assigned to the Trust and pursuing claims and causes of
action assigned to the Trust under the Plan (the “Trust Corpus”) for the benefit of the Trust
Beneficiaries in accordance with the terms of this Agreement and the Plan;

      WHEREAS, the Trust shall have no objective or authority to continue or to engage in the
conduct of any trade or business;

       WHEREAS, the Plan provides that the Trust Beneficiaries are entitled to their applicable
share of the Trust Corpus, all as described generally in the Plan;

       WHEREAS, concurrently with the effectiveness of this Agreement, the Effective Date
under the Plan has occurred, the Plan has become effective, and the Debtors have been
conclusively deemed to have conveyed the assets of the Debtors’ estates (the “Trust Property”)


                                               1
Case 1:17-bk-12408-MB         Doc 438 Filed 02/09/18 Entered 02/09/18 13:18:51                 Desc
                              Main Document    Page 92 of 111



to the Trust (except as specifically set forth in the Plan), and the Trustee will cause the Debtors
to be dissolved pursuant to the terms of the Plan;

        WHEREAS, pursuant to the Plan, the Debtors, the Trustee, and the Trust Beneficiaries
are required to treat, for all federal income tax purposes, the transfer of the Trust Property to the
Trust as a transfer of the Trust Property by the Debtors to the Trust Beneficiaries in satisfaction
of their class 2 interests under the Plan, followed by a transfer of the Trust Property by the Trust
Beneficiaries to the Trust in exchange for the beneficial interest herein, and to treat the Trust
Beneficiaries as the grantors and owners of the Trust for federal income tax purposes;

        WHEREAS, the Trust is intended to qualify as a liquidating trust for federal income tax
purposes pursuant to Treasury Regulation Section 301.7701-4(d), and to be treated as a grantor
trust for federal income tax purposes pursuant to Sections 671 through 679 of the Internal
Revenue Code;

       WHEREAS, pursuant to the Plan and the Plan Confirmation Order, the Bankruptcy Court
has approved Mathew Pliskin to serve as the Trustee of the Trust;

       WHEREAS, pursuant to the Plan and the Plan Confirmation Order, the Bankruptcy Court
has approved Scott Jarus, Ron Chez, and Patrick O'Brien to serve as the members of the Trust
Board;

        WHEREAS, the Bankruptcy Court shall have jurisdiction over the Trust, the Trustee, the
Trust Property, including, without limitation, any claims and causes of action, as provided herein
and in the Plan; and

       NOW, THEREFORE, in consideration of the promises and the mutual covenants
contained herein and in the Plan, the Debtors and the Trustee agree as follows:

                                     ARTICLE I
                         DEFINITIONS AND INTERPRETATIONS

        1.1    Definitions.

               1.1.1   “Agreement” shall have the meaning set forth in the introductory
paragraph to this Agreement.

               1.1.2   “Bankruptcy Court” shall have the meaning set forth in the introductory
paragraph to this Agreement.

              1.1.3     “Debtors” shall have the meaning set forth in the introductory paragraph
to this Agreement.

               1.1.4    “Effective Date” shall have the meaning set forth in the Plan.

              1.1.5    “Trust Property” shall mean the Trust Corpus (as defined in the Recitals
to this Agreement) and shall include all of the assets assigned to the Trust under the Plan.


                                                 2
Case 1:17-bk-12408-MB         Doc 438 Filed 02/09/18 Entered 02/09/18 13:18:51                Desc
                              Main Document    Page 93 of 111



             1.1.6      “Trust” shall have the meaning set forth in the introductory paragraph to
this Agreement.

              1.1.7    “Trustee” shall mean (x) initially, the person named in the introductory
paragraph to this Agreement as the Trustee, and (y) any successors or replacements duly
appointed under the terms of this Agreement.

             1.1.8    “Trust Beneficiaries” shall have the meaning set forth in the Recitals to
this Agreement, or any successors to such Trust Beneficiaries pursuant to Section 7.6 of this
Agreement.

             1.1.9      “Plan” shall have the meaning set forth in the introductory paragraph to
this Agreement.

        1.2     Use of Plan Definitions. All capitalized terms which are used in this Agreement
and not otherwise defined herein shall have the same meaning set forth in the Plan. In the case
of any inconsistency between the terms of this Agreement and the terms of the Plan, the terms of
the Plan shall govern and control.

         1.3     Certain References. Reference in this Agreement to any Section or Article is,
unless otherwise specified, to such section or article under this Agreement. The words “hereof,”
“herein,” and similar terms shall refer to this Agreement and not to any particular section or
article of this Agreement.

                                 ARTICLE II
                ESTABLISHMENT, PURPOSE AND FUNDING OF TRUST

       2.1   Creation and Name. There is hereby created the Trust, referred to in the Plan.
The Trustee may conduct the affairs of the Trust under the name of the “ICPW Nevada Trust.”

         2.2    Purpose of the Trust. The Debtors and the Trustee, pursuant to the Plan and in
accordance with Title 11 of the United States Code (the “Bankruptcy Code”), hereby create the
Trust for the purpose of (i) collecting, distributing, liquidating and otherwise disposing of all of
the funds and property in the Trust for the benefit of the Trust Beneficiaries in accordance with
the terms of this Agreement and the Plan, (ii) causing all proceeds of Trust Property to be
deposited into the Trust in accordance with the Plan and this Agreement, (iii) controlling,
defending, prosecuting settling, and/or pursuing the resolution or litigation of all claims, rights,
Transferred Claims and Causes of Action included in the Trust Property, in each such case, in
accordance with the Plan and this Agreement, (iv) overseeing and, where appropriate, directly
initiating actions to resolve any remaining issues regarding the allowance and payment of
Disputed Claims or any other claims that require resolution, including, as necessary, initiation
and/or participation in proceedings before the Bankruptcy Court, and (v) taking such actions
permitted hereunder that are necessary or useful to maximize the value of the Trust including,
without limitation, the borrowing of funds and the retention of employees. The activities of the
Trust shall be limited to those activities set forth herein and as otherwise contemplated by the
Plan. The Trustee understands and agrees that the Trust has no objective to continue or engage
in the conduct of any trade or business, except to the extent reasonably necessary to, and
consistent with, the liquidating purpose of the Trust.
                                                 3
Case 1:17-bk-12408-MB         Doc 438 Filed 02/09/18 Entered 02/09/18 13:18:51                 Desc
                              Main Document    Page 94 of 111



        2.2    Transfer of Trust Property.

                 2.2.1   The Debtors hereby grant, release, assign, convey, transfer and deliver,
for the benefit of the Trust Beneficiaries, pursuant to Sections 1123(a)(5)(B) and 1123(b)(3)(B)
of the Bankruptcy Code and in accordance with the Plan and the Plan Confirmation Order, the
Trust Property to the Trust for the uses and purposes as specified in this Agreement and the Plan,
free and clear of any and all liens, claims, encumbrances and interests (legal, beneficial or
otherwise) of all other entities to the maximum extent contemplated by and permissible under
Section 1141(c) of the Bankruptcy Code. The Debtors or the Liquidating Debtor shall from time
to time as and when reasonably requested by the Trustee execute and deliver or cause to be
executed and delivered all such documents (in recordable form where necessary or appropriate),
and the Debtors or the Liquidating Debtor shall take or cause to be taken such further action as
the Trustee may reasonably deem necessary or appropriate, to vest or perfect in or confirm to the
Trustee title to and possession of the Trust Property.

              2.2.2    Except as expressly provided herein or as provided in the Plan
Confirmation Order, in no event shall any part of the Trust Property revert to or be distributed to
any of the Debtors.

               2.2.3     For all federal, state and local income tax purposes, the Debtors, the
Trust Beneficiaries, and the Trustee shall treat the transfer of the Trust Property to the Trust as a
transfer of the Trust Property by the Debtors to the Trust Beneficiaries in satisfaction of their
class 2 interests under the Plan, followed by a transfer of the Trust Property by the Trust
Beneficiaries to the Trust in exchange for their beneficial interests in the Trust. Thus, the Trust
Beneficiaries shall be treated as the grantors and owners of the Trust.

         2.3 Securities Law. Under Section 1145 of the Bankruptcy Code, the issuance of
beneficial interests in the Trust to the Trust Beneficiaries under the Plan, to the extent such
interests are deemed to be “securities,” shall be exempt from registration under the Securities Act
of 1933, as amended, and all applicable state and local laws requiring registration of securities.
If the Trustee determines, with the advice of counsel, that the Trust is required to comply with
the registration and reporting requirements of the Securities and Exchange Act of 1934, as
amended, or the Investment Company Act of 1940, as amended, then the Trustee shall take any
and all actions to comply with such reporting requirements and file necessary periodic reports
with the Securities and Exchange Commission.

                                ARTICLE III
              APPOINTMENT, DUTIES, AND POWERS OF THE TRUSTEE.

       3.1      Appointment. Mathew Pliskin hereby acknowledges his acceptance of his
appointment as the Trustee, to serve pursuant to the terms of the Plan and this Agreement, until
such time as he resigns, is removed or discharged, or this Agreement and the Trust terminate as
hereinafter set forth.

       3.2     Trustee’s Duties. The duties, obligations, and responsibilities of the Trustee shall
include, but not be limited to, the following: (a) oversee the preservation, holding, management
and maximization of all Trust Property and distribute them to the Trust Beneficiaries; (b) take or
not take those actions which the Trustee in his business discretion believes to be in accordance

                                                 4
Case 1:17-bk-12408-MB         Doc 438 Filed 02/09/18 Entered 02/09/18 13:18:51                  Desc
                              Main Document    Page 95 of 111



with the best interests of the Trust Beneficiaries and which actions or inactions are consistent
with the Plan.

        The Trustee’s responsibilities, duties and obligations are solely to the Trust Beneficiaries.
The Trustee shall have an independent right and standing to request relief from the Bankruptcy
Court which the Trustee believes to be in accordance with the best interests of the Trust
Beneficiaries. For purposes of performing his duties and fulfilling his obligations under the Plan,
this Agreement, and the Plan Confirmation Order, the Trustee shall be deemed to be a “party in
interest” within the meaning of Section 1109(b) of the Bankruptcy Code and a representative of
the Debtors’ bankruptcy estates under Bankruptcy Code section 1123(b)(3) and 1129(a)(5).

       Within thirty (30) days following the end of each calendar quarter, the Trustee shall
provide each member of the Trust Board with the actual Trust expenses paid or incurred during
the preceding calendar quarter, from time to time, such other financial information the Trust
Board may reasonably request.

        The Trustee shall be available from time to time on reasonable notice to report to the
Trust Board regarding the status of (i) the administration of the Trust, (ii) the collection and
distribution of the Trust Property, and (iii) the status of all litigation. Upon reasonable request by
the Trust Board, the Trustee shall promptly prepare, or cause to be prepared, such statistical data
and written and oral reports as are reasonably necessary to keep the Trust Board or the Trust
Beneficiaries, as the case may be, fully apprised of the condition and status of the Trust Property
and any other activities of the Trust hereunder

       3.3     Trustee’s Rights, Powers and Privileges and Limitations Thereto.

        The Trustee’s rights, powers and privileges and the limitations thereto are set forth below
in Sections 5.1 and 5.4, respectively.

                                          ARTICLE IV
                                         TRUST BOARD

        4.1    Trust Board. The initial members of the board of the Trust (the “Trust Board”)
shall be Scott Jarus, Ron Chez and Patrick O'Brien (the “Trust Board Members”). The Trust
Board shall make certain determinations, in accordance with this Agreement and the Plan.
Approval of a majority of the Trust Board Members shall be required for the Trust Board to act,
provided that the Trust Board may delegate responsibility for discrete issues or decisions to one
or more of the Trust Board Members. The Trust Board shall have the rights and powers set forth
herein. In the event that a Trust Board shall not continue to exist under this Agreement, all
references herein to required approval or other action of such Trust Board shall be of no force or
effect. The Trust Board Members, by a majority vote, shall have the right to increase or to
decrease the number of the Trust Board Members.

         4.2    Approval of the Trust Board. Notwithstanding anything in this Agreement to the
contrary, the Trustee shall submit to the Trust Board for its review and prior approval the matters
set forth in Section 5.4 and any other matters that the Trust Board may direct the Trustee to
submit for its approval or that expressly require the approval of the Trust Board pursuant to the
terms of this Agreement.
                                                  5
Case 1:17-bk-12408-MB        Doc 438 Filed 02/09/18 Entered 02/09/18 13:18:51                Desc
                             Main Document    Page 96 of 111



        4.3   Resignation/Replacement of a Trust Board Member. In the event that a Trust
Board Member resigns, the remaining Trust Board Members, along with the Trustee, shall by
majority vote select a replacement to serve on the Trust Board, if they deem it advisable and
practicable.

         4.4    Compensation and Indemnification. Each of the Trust Board Members shall be
entitled to reasonable compensation for their activities on behalf of the Trust. The terms of such
compensation shall be subject to the approval of the Court on or prior to the Effective Date after
notice and hearing upon the joint motion of the Plan Proponents, but shall not be subject to the
limitations of § 326 of the Bankruptcy Code. Each of the Trust Board Members shall be
indemnified as set forth below in Section 8.3.

         4.5    Confidentiality. Each of the Trust Board Members shall, while serving as a Trust
Board Member under this Agreement and for a period of twelve (12) months following the
termination of this Agreement or following his removal or resignation from the Trust Board,
hold strictly confidential and not use for personal gain any material, non-public information of or
pertaining to any entity to which any of the Trust Property relate or of which he/she has become
aware in his capacity as a Trust Board Member.

                                     ARTICLE V
                            ADMINISTRATION OF THE TRUST

        5.1     Rights, Powers and Privileges. The Trustee shall have only the rights, powers and
privileges expressly provided in this Agreement and the Plan. Subject to the Trust Board’s right
of advice and comment discussed herein, the Trustee shall have the power to take the actions
granted in the subsections below and any powers reasonably incidental thereto, which the
Trustee, in his reasonable discretion, deems necessary or appropriate to fulfill the purpose of the
Trust, unless otherwise specifically limited or restricted by the Plan or this Agreement:

                5.1.1   make continuing efforts to collect on, sell, or otherwise liquidate or
dispose of Trust Property, and take any of the actions set forth in this Agreement without the
approval of the Bankruptcy Court and free of the restrictions of the Bankruptcy Code, the
Bankruptcy Rules, and the Local Bankruptcy Rules, other than restrictions expressly imposed by
the Plan, the Plan Confirmation Order or this Agreement;

               5.1.2    file, initiate, analyze, investigate, compromise and settle all causes of
action that are Trust Property, including all Transferred Claims and Causes of Action, which
could be brought by a trustee or debtor-in-possession under the Bankruptcy Code, and prosecute
or defend all appeals on behalf of any of the Debtors, as representative of the Debtors within the
meaning of section 1123(b)(3)(B) of the Bankruptcy Code; provided, however, that the Trust
Board must unanimously take any decision to initiate, settle or compromise any litigation in the
name of the Trust or the Debtors against any former officer or director of the Debtors;

              5.1.3    subject to the proviso contained in Section 5.1.2, commence and/or
pursue any and all actions involving Trust Property that could arise or be asserted at any time,
unless otherwise waived or relinquished in the Plan, including all Transferred Claims and Causes
of Action;

                                                6
Case 1:17-bk-12408-MB         Doc 438 Filed 02/09/18 Entered 02/09/18 13:18:51                 Desc
                              Main Document    Page 97 of 111



               5.1.4     hold legal title to any and all rights of the Debtors and the Trust
Beneficiaries in or arising from the Trust Property;

                5.1.5   subject to the proviso contained in Section 5.1.2, protect and enforce the
rights to the Trust Property (including, without limitation, any and all causes of action, including
the Transferred Claims and Causes of Action, that are Trust Property) vested in the Trustee by
this Agreement and the Plan by any method deemed appropriate including, without limitation, by
judicial proceedings or otherwise;

                5.1.6   subject to the proviso contained in Section 5.1.2, compromise, adjust,
arbitrate, sue on or defend, abandon, or otherwise deal with and settle, in accordance with the
terms of this Agreement, claims in favor of or against the Trust;

              5.1.7 exercise any and all powers granted to the Trustee by any agreements or
by common law or any statute which serves to increase the extent of the powers granted to the
Trustee hereunder;

               5.1.8   subject to the proviso contained in Section 5.1.2, manage all litigation
instituted by or against the Trust or the Trustee, and administer the Trust expenses related
thereto;

               5.1.9    determine and satisfy any and all liabilities created or incurred by the
Trust;

               5.1.10   administer the Stock Incentive Plan;

               5.1.11   effectuate the wind down and ultimate dissolution of the Debtors as legal
entities;

               5.1.12   address any outstanding issues with the SEC;

               5.1.13 file, if necessary, any and all tax and information returns with respect to
the Trust and pay taxes properly payable by the Trust, if any;

               5.1.14   request any appropriate tax determination with respect to the Trust;

                5.1.15 in reliance upon the official claims register maintained in the Debtors’
chapter 11 cases, maintain on the Trustee’s books and records a schedule evidencing the
beneficial interest herein held by each of the Trust Beneficiaries;

              5.1.16 make timely distributions to the Trust Beneficiaries of Trust Property in
accordance with this Agreement;

               5.1.17   open and maintain bank accounts on behalf of or in the name of the
Trust;

               5.1.18 make all tax withholdings, file tax information returns, make tax
elections by and on behalf of the Trust and file returns for the Trust;

                                                 7
Case 1:17-bk-12408-MB         Doc 438 Filed 02/09/18 Entered 02/09/18 13:18:51                Desc
                              Main Document    Page 98 of 111



                5.1.19 establish such reserves for, among other things, payment of taxes,
assessments, Trustee’s fees and professional fees and other expenses of administration of the
Trust as the Trustee deems to be necessary and appropriate for the proper operation of matters
incident to the Trust;

               5.1.20 pay all expenses and make all other payments relating to the Trust
Property and the administration of the Trust;

               5.1.21   retain and pay third parties pursuant to Section 5.2 hereof;

                5.1.22 obtain insurance coverage or a bond with respect to the liabilities and
obligations of the Trustee and the Trust Board Members under this Agreement (in the form of an
errors and omissions policy or otherwise) and use Trust Property to obtain and maintain the
same;

              5.1.23    employ and compensate professionals as the Trustee deems necessary
and appropriate;

               5.1.24   pay post-Effective Date quarterly fees to the U.S. Trustee;

               5.1.25 prepare and file post-confirmation quarterly reports with the U.S. Trustee
and post-confirmation status reports with the Bankruptcy Court as required;

               5.1.26   all powers provided under the Plan to the Trustee;

               5.1.27 invest any moneys held as part of the Trust Property in accordance with
the terms of Section 5.3 hereof; and

              5.1.28 terminate the Trust consistent with the terms of this Agreement and the
Plan and not unduly prolong the duration of the Trust.

        5.2     Agents and Professionals. The Trustee may, but shall not be required to, consult
with and retain attorneys, accountants, appraisers, or other parties deemed by the Trustee to have
qualifications necessary to assist in the proper administration of the Trust. The Trustee may pay
the reasonable salaries, fees and expenses of such persons (including himself), including
contingency fees, out of the Trust Property in the ordinary course to the extent permitted herein.

         5.3 Investment and Safekeeping of Trust Property. All monies and other Trust
Property received by the Trustee shall, until distributed or paid over as herein provided, be held
in the Trust for the benefit of the Trust Beneficiaries, but need not be segregated from other Trust
Property, unless and to the extent required by law or the Plan. The Trustee shall be under no
liability for interest or producing income on any moneys received by the Trust and held for
distribution or payment to the Trust Beneficiaries, except as such interest shall actually be
received by the Trustee. Investments of any moneys held by the Trustee shall be administered in
view of the manner in which individuals of ordinary prudence, discretion and judgment would
act in the management of their own affairs. For the removal of doubt, the investment powers of
the Trustee, other than those reasonably necessary to maintain the value of the Trust Property
and to further the liquidating purpose of the Trust, are limited to powers to invest in demand and

                                                 8
Case 1:17-bk-12408-MB         Doc 438 Filed 02/09/18 Entered 02/09/18 13:18:51                  Desc
                              Main Document    Page 99 of 111



time deposits, such as short-term certificates of deposits, in banks or other savings institutions, or
other temporary, liquid investments, such as treasury bills.

        5.4    Limitations on Trustee and Payment of Fees. The Trustee shall not at any time,
on behalf of the Trust or Trust Beneficiaries: (i) enter into or engage in any trade or business, and
no part of the Trust Property or the proceeds, revenue or income therefrom shall be used or
disposed of by the Trust in furtherance of any trade or business, or (ii) except as provided below,
reinvest any Trust Property.

       In the event of (a) compromises of pending litigation, (b) sales, transfers or abandonment
of property with a value of more than $50,000, or (c) claim settlements in which the amount
conceded to be due and owing by the Trustee exceeds $100,000, the Trustee shall (i) obtain the
approval of the Trust Board of the intended action, and (ii) file with the Bankruptcy Court and
serve upon the Office of the United States Trustee and any other party filing a request for special
notice after the Plan’s Effective Date a notice of intended action describing the Trustee’s
intended course of action and the justifications therefor, and providing a 10-day period from the
date of such notice for the filing of an objection and request for hearing on the same. In the
absence of any objection and request for hearing, the Trustee shall be free to take the action
described in the notice without further order of the Bankruptcy Court. If an objection and
request for hearing is filed, the Trustee will give at least 7 days’ notice of the hearing date
obtained from the Bankruptcy Court. Additionally, in all such matters the Trustee shall look to
the Trust Board for advice and comment prior to filing any notice of intended action.

               5.4.1     Trustee’s Fees. The Trustee and any of his professionals shall prepare
monthly an invoice detailing hours, rate, employee and tasks performed and submit a copy of the
monthly invoice via email to the Trust Board in order to consult with them and obtain their
comments, if any. A majority of the Trust Board shall have ten days from the receipt of the
invoice to object in writing to the payment of the Trustee’s fees/expenses and the fees/expenses
of any professionals retained by the Trustee stating in writing the reason for the objection in
detail. If there is no timely objection to any such fees and expenses, the Trustee can pay the
monthly invoice immediately out of the Trust Property. If there is a timely objection, the Trustee
has five days to consult with the Trust Board and if they cannot resolve the objection, the Trustee
can file a notice with the Bankruptcy Court setting a hearing for the Bankruptcy Court to
determine whether to allow any such disputed fees/expenses. Any such hearing shall not be on
less than seven days’ notice.

               5.4.2    The Trustee may invest funds held in the Trust consistent with the
requirements of this Agreement and the prudent person standard of care, provided that the
Trustee shall have no liability in the event of insolvency of any financial institution in which
he/she has invested any funds of the Trust to the extent such institution, is on the list of approved
depositories by the United States Trustee.

               5.4.3    The Trustee shall hold, collect, conserve, protect and administer the Trust
in accordance with the provisions of this Agreement and the Plan, and pay and distribute
amounts as set forth herein for the purposes set forth in this Agreement. Any determination by
the Trustee as to what actions are in the best interests of the Trust shall be determinative, except


                                                  9
Case 1:17-bk-12408-MB        Doc 438 Filed 02/09/18 Entered 02/09/18 13:18:51                  Desc
                             Main Document   Page 100 of 111



to the extent this Agreement requires Trustee to obtain the prior approval of, or to consult with,
the Trust Board.

         5.5     Bankruptcy Court Approval of Trustee Actions. Except as provided in the Plan or
otherwise specified in this Agreement, the Trustee need not obtain the approval of the
Bankruptcy Court in the exercise of any power, rights, or discretion conferred hereunder or
account to the Bankruptcy Court. The Trustee shall exercise his business judgment for the
benefit of the Trust Beneficiaries in order to maximize the value of the Trust Property and
distributions, giving due regard to the cost, risk, and delay of any course of action.
Notwithstanding the foregoing, the Trustee shall have the right to submit to the Bankruptcy
Court any question or questions regarding which the Trustee may desire to have explicit
direction and/or approval of the Bankruptcy Court with respect to the Trust Property, the Trust,
this Agreement, the Plan, or the Debtors. The Trustee also shall have the authority, but not the
obligation, to seek Bankruptcy Court approval to sell any Trust Property free and clear of any
and all liens, claims and encumbrances.

        5.6    Valuation of Trust Property. The Trustee shall make best efforts to understand
and apprise the Trust Beneficiaries of the fair market value of the Trust Property. The valuation
shall be used consistently by all parties (including the Trustee and Trust Beneficiaries) for all
federal income tax purposes. Any dispute regarding the valuation of Trust Property shall be
resolved by the Bankruptcy Court.

                                     ARTICLE VI
                            DISTRIBUTIONS FROM THE TRUST

        6.1    Distributions. The Trustee shall distribute at least annually to the Trust
Beneficiaries all net cash income plus all net cash proceeds from the liquidation of Trust
Property; provided, however, that the Trustee shall maintain at all times adequate cash or
marketable securities as reserves as may be reasonably necessary to maintain the value of the
Trust Property, satisfy projected expenses and to meet claims and contingent liabilities of the
Trust. . The Trustee shall consult with the Trust Board as to the amounts of any reserve, and
subject to Section 5.5 of this Agreement may request the Bankruptcy Court to to resolve any
dispute regarding the adequacy of reserves.

         6.2    Pro Rata Share of Distributions. Each of the Trust Beneficiaries shall receive its
share or pro rata share (as applicable) of any and all distributions made by the Trustee. The
Trustee may withhold from amounts distributable to any Trust Beneficiary any and all amounts,
determined in the Trustee’s reasonable sole discretion to be required by any law, regulation, rule,
ruling, directive or other governmental requirement.

         6.3   Delivery of Distributions. All distributions to be made to the Trust Beneficiaries
shall be made by the Trustee to the best known address of the Trust Beneficiaries.

        6.4    Undelivered Property. Any Shareholder which fails to claim any cash within 180
days from the date upon which a distribution is first made to such entity shall forfeit all rights to
any distribution under the Plan, and shall not be subject to the unclaimed property or escheat
laws of any governmental unit. Upon forfeiture, such cash (including interest thereon) shall be

                                                 10
Case 1:17-bk-12408-MB        Doc 438 Filed 02/09/18 Entered 02/09/18 13:18:51                Desc
                             Main Document   Page 101 of 111



made available for re-distribution to all Shareholders. Shareholders or holders of Allowed
Claims under the Plan who fail to claim cash shall forfeit their rights thereto and shall have no
claim whatsoever against the Liquidating Debtor and/or the Trustee, as applicable, or any holder
of an Allowed Claim or interest to whom distributions are made under the Plan, provided,
however, that the Trustee may, but is not required to undertake reasonable efforts, in its business
judgment, to locate Shareholders whose distributions are returned as undeliverable or whose
checks are not timely cashed.

         6.5    De Minimis Distributions. No distribution shall be required to be made hereunder
to any Trust Beneficiary unless such distribution will amount to at least $25.00. Any Trust
Beneficiary on account of which the amount of cash to be distributed pursuant to any distribution
from the Trust is less than $25.00 shall be deemed to have no claim for such distribution against
the Debtors, the Trust, the Trustee or the Trust Property. Subject to Section 6.4 of this
Agreement, any cash not distributed pursuant to this Section 6.5 shall be the property of the Trust
free of any restrictions thereon.

         6.6   Payments Limited to Trust Property. All payments to be made by the Trustee to
or for the benefit of any Trust Beneficiary shall be made only to the extent that the Trustee has
sufficient reserves to make such payments in accordance with this Agreement and the Plan.
Each Trust Beneficiary shall have recourse only to the Trust Property for distribution under this
Agreement and the Plan.

        6.7    Fees and Expenses.

               6.7.1    Subject to the limitations set forth herein and in the Plan, the Trustee
shall pay and/or reserve for the operating and administrative expenses of the Trust before
approving distributions to or for the benefit of the Trust Beneficiaries.

               6.7.2    The Trustee shall satisfy any fees and expenses of the Trust with Trust
Property.

        6.8    Priority of Distributions. Any recovery by the Trust on account of the Trust
Property shall be applied in the following order:

                      (i)     first, to pay and/or reserve for any unpaid or reasonably anticipated
               costs and expenses of the Trust, including, without limitation, reasonable
               professional fees and expenses and court costs;

                      (ii)   second, distributed to the Trust Beneficiaries in accordance with
               this Agreement and the Plan.

         6.9    Compliance with Laws. Any and all distributions of Trust Property shall be in
compliance with applicable laws, including, but not limited to, applicable federal and state
securities laws.




                                                11
Case 1:17-bk-12408-MB         Doc 438 Filed 02/09/18 Entered 02/09/18 13:18:51                    Desc
                              Main Document   Page 102 of 111



                                        ARTICLE VII
                                    TRUST BENEFICIARIES

        7.1     Identification of the Trust Beneficiaries. Each of the Trust Beneficiaries shall be
recorded and set forth in a schedule (the “Schedule”) maintained by the Trustee expressly for
such purpose based upon the record holders of stock of ICPW Nevada on the later of (i) the date
on which the Plan confirmation hearing is held (which is expected to be on February 12, 2018 –
the “Plan Confirmation Hearing”), (ii) the date on which the Court enters an order confirming the
Plan, and (iii) such other date not less than two days after FINRA has agreed to halt trading in
shares of ICPW Nevada (the “Record Date”). As set forth in the Plan, the Debtors, with the full
support of OECH, will advise FINRA of the proposed Record Date not less than ten (10) days in
advance of such date. As set forth in the Plan, all of the outstanding shares of common stock of
ICPW Nevada (the “Common Stock”) existing on the Effective Date will be cancelled, and the
record holders who owned shares of Common Stock on the Record Date will become holders of
non-transferable beneficial interests in the Trust in exchange for those shares. In order to
determine the actual names and addresses of the Trust Beneficiaries, the Trustee may either (i)
rely upon the Schedule, or (ii) deliver a notice to the Trust Beneficiaries. Such notice will
include a form for each Trust Beneficiary to complete in order to be properly registered as a
Trust Beneficiary and be eligible for distributions under the Trust.

         7.2     Beneficial Interest Only. The ownership of a beneficial interest in the Trust shall
not entitle any Trust Beneficiary or the Debtors to any title in or to the Trust Property or to any
right to call for a partition or division of such Trust Property or to require an accounting, except
as specifically provided herein.

         7.3    Ownership of Beneficial Interests Hereunder. Subject to the requirements and
limitations of this Agreement, each Trust Beneficiary shall own a beneficial interest in the Trust
equal in proportion to such Trust Beneficiary’s pro rata share of the stock of ICPW Nevada
owned by such Trust Beneficiary.

        7.4    Evidence of Beneficial Interest. Ownership of a beneficial interest in the Trust
shall not be evidenced by any certificate, security, or receipt or in any other form or manner
whatsoever, except as maintained on the books and records of the Trust by the Trustee, including
the Schedule.

         7.5    Conflicting Claims. If any conflicting claims or demands are made or asserted
with respect to a beneficial interest, the Trustee shall be entitled, at its sole election, to refuse to
comply with any such conflicting claims or demands. In so refusing, the Trustee may elect to
make no payment or distribution with respect to the beneficial interest represented by the claims
or demands involved, or any part thereof, and the Trustee shall refer such conflicting claims or
demands to the Bankruptcy Court, which shall have exclusive jurisdiction over resolution of such
conflicting claims or demands. In so doing, the Trustee shall not be or become liable to any
party for his refusal to comply with any of such conflicting claims or demands. The Trustee shall
be entitled to refuse to act until either (a) the rights of the adverse claimants have been
adjudicated by a final order or (b) all differences have been resolved by a written agreement
among all of such parties and the Trustee, which agreement shall include a complete release of
the Trust and the Trustee (the occurrence of either (a) or (b) being referred to as a “Dispute

                                                  12
Case 1:17-bk-12408-MB        Doc 438 Filed 02/09/18 Entered 02/09/18 13:18:51                 Desc
                             Main Document   Page 103 of 111



Resolution” in this Section 7.5). Until a Dispute Resolution is reached with respect to such
conflicting claims or demands, the Trustee shall hold in a segregated interest-bearing account
with a United States financial institution any payments or distributions from the Trust to be made
with respect to the Beneficial Interest at issue. Promptly after a Dispute Resolution is reached,
the Trustee shall transfer the payments and distributions, if any, held in the segregated account,
together with any interest and income generated thereon, in accordance with the terms of such
Dispute Resolution.

         7.6     Limitation on Transferability. It is understood and agreed that the beneficial
interests in the Trust shall not be assignable, other than by operation of law.

                             ARTICLE VIII
      THIRD PARTY RIGHTS, LIMITATION OF LIABILITY AND INDEMNITY

        8.1    Parties Dealing With the Trustee. In the absence of actual knowledge to the
contrary, any person dealing with the Trust or the Trustee shall be entitled to rely on the
authority of the Trustee or any of the Trustee’s agents to act in connection with the Trust
Property. No person or entity dealing with the Trustee shall have any obligation to inquire into
the validity or expediency or propriety of any transaction by the Trustee or any agent of the
Trustee.

         8.2    Trustee’s Liability. In exercising the rights granted herein, the Trustee shall
exercise his best judgment to the end that the affairs of the Trust shall be properly managed and
the interests of all the Trust Beneficiaries and the Debtors are safeguarded.

         8.3 Indemnity. The Trustee, the members of the Trust Board (other than with respect
to expenses of counsel for the individual members), and each of their respective agents,
employees, officers, directors, professionals, attorneys, accountants, advisors, representatives
and principals (collectively, the “Indemnified Parties”) shall be indemnified and held harmless
by the Trust, to the fullest extent permitted by law, solely from the Trust Property for any losses,
claims, damages, liabilities and expenses, including, without limitation, reasonable attorneys’
fees, disbursements and related expenses which the Indemnified Parties may, incur or to which
the Indemnified Parties may become subject in connection with any action, suit, proceeding or
investigation brought or threatened against one or more of the Indemnified Parties on account of
the acts or omissions of an Indemnified Party solely in its capacity as such; provided, however,
that the Trust shall not be liable to indemnify any Indemnified Party for any act or omission
constituting bad faith, fraud or willful misconduct by such Indemnified Party. Notwithstanding
any provision herein to the contrary, the Indemnified Parties shall be entitled to obtain advances
from the Trust to cover their reasonable expenses of defending themselves in any action brought
against them as a result of the acts or omissions, actual or alleged, of an Indemnified Party in its
capacity as such; provided, however that the Indemnified Parties receiving such advances shall
repay the amounts so advanced to the Trust upon the entry of a Final Order finding that such
Indemnified Parties were not entitled to any indemnity under the provisions of this Section 8.3.
The foregoing indemnity in respect of any Indemnified Party shall survive the termination of
such Indemnified Party from the capacity for which it is indemnified.



                                                13
Case 1:17-bk-12408-MB        Doc 438 Filed 02/09/18 Entered 02/09/18 13:18:51                Desc
                             Main Document   Page 104 of 111



                                ARTICLE IX
              SELECTION, REMOVAL AND COMPENSATION OF TRUSTEE

        9.1    Initial Trustee. The Trustee shall be Mathew Pliskin.

        9.2     Term of Service. The Trustee shall serve until (a) the completion of all the
Trustee’s duties, responsibilities and obligations under this Agreement and the Plan; (b)
termination of the Trustee in accordance with this Agreement; or (c) the Trustee’s death,
resignation or removal.

        9.3     Removal of a Trustee. Any person serving as the Trustee may be removed, with
or without cause, by the Trust Board. The removal shall be effective on the date specified in
such action by the Trust Board, subject to the payment of all amounts owing to the Trustee as of
such date. Additionally, any person serving as Trustee may be removed at any time by an order
of the Bankruptcy Court on notice to the Trustee and the Trust Board, and a determination by the
Bankruptcy Court that such removal is appropriate upon a showing of good cause. The removal
shall be effective on the date specified in the order. In the event of any removal, the Trustee
shall render to the Trust Board a full and complete accounting of monies and Trust Property
received, disbursed, and held during the term of office of that Trustee.

        9.4      Resignation of Trustee. The Trustee may resign at any time by giving the Trust
Board at least ninety (90) days written notice of his intention to do so. In the event of a
resignation, the resigning Trustee shall render to the Trust Board a full and complete accounting
of monies and Trust Property received, disbursed, and held during the term of office of that
Trustee. The resignation shall be effective on the later to occur of: (i) the date specified in the
notice; or (ii) the appointment of a successor Trustee by the Trust Board and the acceptance by
such successor of such appointment; provided, that if a successor Trustee is not appointed or
does not accept his/her appointment within ninety (90) days following delivery of notice of
resignation, the resigning Trustee may petition the Bankruptcy Court for the appointment of a
successor Trustee.

        9.5    Appointment of Successor Trustee. Upon the resignation, death, incapacity, or
removal of the Trustee, the Trust Board shall nominate a successor Trustee to fill the vacancy so
created, which successor Trustee appointment shall be subject to the approval by the Bankruptcy
Court. Any successor Trustee so appointed shall consent to and accept in writing the terms of
this Agreement and agrees that the provisions of this Agreement and the Plan shall be binding
upon and inure to the benefit of the successor Trustee.

         9.6    Powers and Duties of Successor Trustee. A successor Trustee shall have all the
rights, privileges, powers, and duties of his/her predecessor under this Agreement and the Plan.
Notwithstanding anything to the contrary herein, a removed or resigning Trustee shall, when
requested in writing by the successor Trustee, execute and deliver an instrument or instruments
conveying and transferring to such successor Trustee under the Trust Agreement all the estates,
properties, rights, powers, and trusts of such predecessor Trustee.

        9.7   Trust Continuance. The death, resignation or removal of the Trustee shall not
terminate the Trust or revoke any existing agency created pursuant to this Agreement or

                                                14
Case 1:17-bk-12408-MB        Doc 438 Filed 02/09/18 Entered 02/09/18 13:18:51                  Desc
                             Main Document   Page 105 of 111



invalidate any action theretofore taken by the Trustee. In the event that a successor Trustee is
not appointed within thirty (30) days of when required under this Agreement, any Trust
Beneficiary may apply to the Bankruptcy Court for appointment of a successor Trustee upon
notice to the Trust Board.

        9.8   Compensation and Costs of Administration. The Trustee shall be entitled to
receive fair and reasonable compensation for his services, subject to Section 5.4 of this
Agreement and the limitations of any order of the Bankruptcy Court setting forth the terms and
conditions of Trustee compensation. Each of the Trust Board Members shall be entitled to
reasonable compensation for their activities on behalf of the Trust as costs of administration as
provided by Section 4.4 of this Agreement.

        9.9    Annual Reporting and Filing Requirements.

               9.9.1     Within 60 days after the end of each calendar year, the Trustee shall
furnish a report to the Trust Board of all Trust Property received by the Trust, all Trust Property
disbursed to Trust Beneficiaries, all Trust Property disbursed for professional fees and costs of
administering the Trust (including compensation paid to the Trustee), and all Trust Property held
by the Trust during the preceding calendar year. The Trustee’s report will be available and
provided to any Trust Beneficiary upon written request.

               9.9.2     The Trustee shall file tax returns for the Trust as a grantor trust pursuant
to Treasury Regulation Section 1.671-4(a) and any other applicable laws or regulations, and shall
furnish information statements to the Trust Beneficiaries setting forth their allocable share of the
income, loss, deduction or credit of the Trust and instruct them to report such items on their
federal income tax returns. The Trustee may withhold from amounts distributable to any Trust
Beneficiary any and all amounts, determined in the Trustee’s reasonable sole discretion, to be
required by any law, regulation, rule, ruling, directive or other governmental requirement. The
Trustee shall have the right to employ an accountant and any other professionals needed to assist
the Trustee for this purpose.

               9.9.3    The tax returns filed by the Trustee shall report all Trust earnings for the
taxable year being reported.

                9.9.4    All of the Trust's income shall be treated as subject to tax on a current
basis. For federal income tax purposes, items of income, gain, loss, and deduction of the Trust
will be allocated to the Trust Beneficiaries in a manner, to be determined by the Trustee, that is
consistent with applicable Treasury Regulations and that reflects the Trust Beneficiaries'
respective contributions and their respective interests in the interim and final distributions to be
made by the Trust, and such Trust Beneficiaries shall be responsible for the payment of taxes on
a current basis that result from such allocations.

         9.10 Confidentiality. The Trustee shall, while serving as Trustee under this Agreement
and for a period of twelve (12) months following the termination of this Agreement or following
his removal or resignation hereunder, hold strictly confidential and not use for personal gain any
material, non-public information of or pertaining to any entity to which any of the Trust Property
relate or of which he/she has become aware in his capacity as Trustee.

                                                 15
Case 1:17-bk-12408-MB        Doc 438 Filed 02/09/18 Entered 02/09/18 13:18:51                  Desc
                             Main Document   Page 106 of 111



                                     ARTICLE X
                               MAINTENANCE OF RECORDS

          10.1 The Trustee shall maintain books and records containing a description of all
property from time to time constituting the Trust Property and an accounting of all receipts and
disbursements. Upon 60 days’ prior written notice delivered to the Trustee, said books and
records shall be open to inspection by any Trust Beneficiary at any reasonable time during
normal business hours; provided that, if so requested, such Trust Beneficiary shall have entered
into a confidentiality agreement satisfactory in form and substance to the Trustee. The Trustee
shall furnish to any Trust Beneficiary upon written request an annual statement of receipts and
disbursements of the Trust. Such books and records may be destroyed without further notice to
parties or approval of the Bankruptcy Court five (5) years after the final report to the Bankruptcy
Court has been rendered by the Trustee (unless such records and documents are necessary to
fulfill the Trustee’s obligations pursuant to this Agreement).

                                       ARTICLE XI
                                    DURATION OF TRUST

        11.1 Duration. The Trust shall become effective upon the Effective Date of the Plan.
Thereupon, this Agreement shall remain and continue in full force and effect until the Trust is
terminated in accordance with the provisions of this Agreement and the Plan.

         11.2 Termination of the Trust. The Trust (and the duties, responsibilities and powers
of the Trustee) shall terminate on the later of (a) the date which is 5 years after the Effective
Date; and (b) the date when full resolution of all Trust Property transferred to the Trust have
occurred, including distribution of the Trust Property and the net proceeds thereof, in accordance
with the Plan and this Agreement, provided however, that for cause the Trustee may seek earlier
termination of the Trust upon application to the Bankruptcy Court. The Trustee shall not unduly
prolong the duration of the Trust and, subject to the proviso contained in Section 5.1.2 of this
Agreement, shall at all times endeavor to resolve, settle, or otherwise dispose of all claims that
constitute Trust Property and to effect the distribution of the Trust Property to the Trust
Beneficiaries in accordance with the Plan and terminate the Trust as soon as practicable. Upon
such termination, except as set forth in Section 11.3 below, the Trustee shall be discharged from
his position as Trustee and from all further duties, obligations and responsibilities under the Plan.

         11.3 Continuance of Trust for Winding Up. After the termination of the Trust and for
the purpose of liquidating and winding up the affairs of the Trust, the Trustee shall continue to
act as such until his duties have been fully performed, including, without limitation, such post-
distribution tasks as necessary to windup the affairs of the Trust. After the termination of the
Trust, the Trustee shall retain for a period of five (5) years the books, records, Beneficiary lists,
and certificates and other documents and files which shall have been delivered to or created by
the Trustee. At the Trustee’s discretion, all of such records and documents may, but need not, be
destroyed at any time after five (5) years from the completion and winding up of the affairs of
the Trust. Except as otherwise specifically provided herein, upon the discharge of all liabilities
of the Trust and final distribution of the Trust, the Trustee shall have no further duties or
obligations hereunder. The Trustee may pay in advance from the Trust Property all costs of
document management.

                                                 16
Case 1:17-bk-12408-MB        Doc 438 Filed 02/09/18 Entered 02/09/18 13:18:51                  Desc
                             Main Document   Page 107 of 111



                                          ARTICLE XII
                                        MISCELLANEOUS

         12.1 Preservation of Privilege. In connection with the rights, claims, and causes of
action that constitute the Trust Property, any attorney-client privilege, work product privilege, or
other privilege or immunity attaching to any documents or communications (whether written or oral)
transferred to the Trust pursuant to the terms of the Plan or otherwise shall vest in the Trustee and
his representatives, and the Debtors, the Liquidating Debtor, and the Trustee are authorized to
take all necessary actions to effectuate the transfer of such privileges, as necessary.

        12.2 Notices. Any notice or other communication which may be or is required to be
given, served, or sent to the Trustee or the Trust Board, as applicable, shall be in writing and
shall be sent by Federal Express and email, or transmitted by hand delivery, addressed as
follows:

               If to the Trustee:

                       Matthew Pliskin
                       2718 West Terrace Drive
                       Tampa, Florida 33609
                       Or e-mail: matthewpliskin@gmail.com

                       With a copy to:

                       Dentons US LLP
                       601 South Figueroa Street, Suite 2500
                       Los Angeles, California 90017-5704
                       Telephone: (213) 623-9300; Facsimile: (213) 623-9924
                       Attn: Samuel R. Maizel/Tania M. Moyron
                       Email: samuel.maizel@dentons.com; tania.moyron@dentons.com

               If to the Trust Board:

                       Attn: Scott Jarus
                       938 Duncan Avenue
                       Manhattan Beach, CA 90266
                       Email: scott.jarus@verizon.net


                       With a copy to:

                       Dentons US LLP
                       601 South Figueroa Street, Suite 2500
                       Los Angeles, California 90017-5704
                       Telephone: (213) 623-9300; Facsimile: (213) 623-9924
                       Attn: Samuel R. Maizel/Tania Moyron
                       Email: samuel.maizel@dentons.com; tania.moyron@dentons.com

                                                 17
Case 1:17-bk-12408-MB        Doc 438 Filed 02/09/18 Entered 02/09/18 13:18:51                Desc
                             Main Document   Page 108 of 111




       12.3 No Bond. Notwithstanding any state law to the contrary, the Trustee (including
any successor) shall be exempt from giving any bond or other security in any jurisdiction.

       12.4 Governing Law. This Agreement shall be governed by and construed in
accordance with the laws of the State of California without regard to principles of conflicts of
law.

        12.5 Successors and Assigns. This Agreement shall inure to the benefit of and shall be
binding upon the parties hereto and their respective successors and assigns.

        12.6 Headings. The various headings of this Agreement are inserted for convenience
only and shall not affect the meaning or understanding of this Agreement or any provision
hereof.

        12.7 No Execution. All Trust Property shall be deemed in custodia legis until such
times as the Trust Property has actually been paid to or for the benefit of a Beneficiary, and no
Beneficiary or any other Person can execute upon, garnish or attach the Trust Property or the
Trust in any manner or compel payment from the Trust except by an order of the Bankruptcy
Court that becomes a final order. Payment will be solely governed by this Agreement and the
Plan.

         12.8 Intention of Parties to Establish Grantor Trust. This Agreement is intended to
create a grantor trust for United States federal income tax purposes and, to the extent provided by
law, shall be governed and construed in all respects as such a grantor trust.

        12.9 Amendment. This Agreement may be amended at any time by written agreement
of the majority of the Trust Board Members, or by order of the Bankruptcy Court after motion by
the Trustee.

        12.10 Severability. If any term, provision covenant or restriction contained in this
Agreement is held by a court of competent jurisdiction or other authority to be invalid, void,
unenforceable or against its regulatory policy, the remainder of the terms, provisions, covenants
and restrictions contained in this Agreement shall remain in full force and effect and shall in no
way be affected, impaired or invalidated.

         12.11 Counterparts and Facsimile Signatures. This Agreement (or any amendment
thereto) may be executed in counterparts and a facsimile or other electronic form of signature
shall be of the same force and effect as an original.




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Case 1:17-bk-12408-MB    Doc 438 Filed 02/09/18 Entered 02/09/18 13:18:51       Desc
                         Main Document   Page 109 of 111



       IN WITNESS WHEREOF, the parties have executed this Agreement as of the day and
year written above.

                                ICPW NEVADA, INC.


                                By:_________________________________
                                Name: L. Geoffrey Greulich
                                Title: President and Chief Executive Officer


                                TRUSTEE

                                By:_________________________________
                                Name: Mathew Pliskin




                                         19
Case 1:17-bk-12408-MB               Doc 438 Filed 02/09/18 Entered 02/09/18 13:18:51                                        Desc
                                    Main Document   Page 110 of 111
                                    PROOF OF SERVICE OF DOCUMENT
  1
      I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business
  2   address is 10250 Constellation Boulevard, Suite 1700, Los Angeles, CA 90067

  3   A true and correct copy of the foregoing document entitled DEBTORS’ AND OFFICIAL COMMITTEE OF
      EQUITY SECURITY HOLDERS’ JOINT PLAN OF LIQUIDATION DATED FEBRUARY 9, 2018 will be
  4   served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d);
      and (b) in the manner stated below:
  5
      1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to
  6   controlling General Orders and LBR, the foregoing document will be served by the court via NEF and
      hyperlink to the document. On February 9, 2018, I checked the CM/ECF docket for this bankruptcy case
  7   or adversary proceeding and determined that the following persons are on the Electronic Mail Notice List
      to receive NEF transmission at the email addresses stated below:
  8
            Shiva D Beck sbeck@gardere.com, jcharrison@gardere.com
  9         Ron Bender rb@lnbyb.com
            Cathrine M Castaldi ccastaldi@brownrudnick.com
 10         Russell Clementson russell.clementson@usdoj.gov
            Aaron S Craig acraig@kslaw.com, lperry@kslaw.com
 11         Matthew A Gold courts@argopartners.net
            Monica Y Kim myk@lnbrb.com, myk@ecf.inforuptcy.com
 12         Jeffrey A Krieger jkrieger@ggfirm.com,
            kwoodson@greenbergglusker.com;calendar@greenbergglusker.com;jking@greenbergglusker.com
 13         Samuel R Maizel samuel.maizel@dentons.com,
            alicia.aguilar@dentons.com;docket.general.lit.LOS@dentons.com;tania.moyron@dentons.com;kath
 14         ryn.howard@dentons.com
            Krikor J Meshefejian kjm@lnbrb.com
 15         Tania M Moyron tania.moyron@dentons.com, chris.omeara@dentons.com
            S Margaux Ross margaux.ross@usdoj.gov
 16         Susan K Seflin sseflin@brutzkusgubner.com
            John M Stern john.stern@oag.texas.gov, bk-mbecker@oag.texas.gov
 17         United States Trustee (SV) ustpregion16.wh.ecf@usdoj.gov
            Sharon Z. Weiss sharon.weiss@bryancave.com,
 18         raul.morales@bryancave.com;geri.anderson@bryancave.com
            Douglas Wolfe dwolfe@asmcapital.com
 19
 20   2. SERVED BY UNITED STATES MAIL: On February 9, 2018, I served the following persons and/or
      entities at the last known addresses in this bankruptcy case or adversary proceeding by placing a true
 21   and correct copy thereof in a sealed envelope in the United States mail, first class, postage prepaid, and
      addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will be
      completed no later than 24 hours after the document is filed.
 22
      U.S. Securities and Exchange Commission
 23   Attn: Bankruptcy Counsel
      444 South Flower Street, Suite 900
 24   Los Angeles, CA 90071-9591
 25   Russell Clementson
      S Margaux Ross
 26   United States Trustee (SV)
      915 Wilshire Blvd, Suite 1850
 27   Los Angeles, CA 90017

 28                                                                           Service information continued on attached page

       This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

      June 2012                                                                    F 9013-3.1.PROOF.SERVICE
Case 1:17-bk-12408-MB               Doc 438 Filed 02/09/18 Entered 02/09/18 13:18:51                                        Desc
                                    Main Document   Page 111 of 111

  1   3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR
      EMAIL (state method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR,
  2   on February 9, 2018, I served the following persons and/or entities by personal delivery, overnight mail
      service, or (for those who consented in writing to such service method), by facsimile transmission and/or
  3   email as follows. Listing the judge here constitutes a declaration that personal delivery on, or overnight
      mail to, the judge will be completed no later than 24 hours after the document is filed.
  4
      Served via Attorney Service
  5   Hon. Martin R. Barash
      United States Bankruptcy Court
  6   21041 Burbank Boulevard, Suite 342
      Woodland Hills, CA 91367
  7
      I declare under penalty of perjury under the laws of the United States of America that the foregoing is
  8   true and correct.

  9    February 9, 2018                     John Berwick                                 /s/ John Berwick
       Date                                 Type Name                                    Signature
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       This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

      June 2012                                                                    F 9013-3.1.PROOF.SERVICE
